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        Exhibit 42
    (Filed Under Seal)
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ORDER




             EXPERT REPORT OF DR. FIONA M. SCOTT MORTON




                               February 4, 2019
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I.        INTRODUCTION
          A. QUALIFICATIONS
1.        My name is Fiona Scott Morton. I am the Theodore Nierenberg Professor of Economics at
the Yale School of Management, where I have taught since 1999. Between 2006 and 2010, I served
as the Senior Associate Dean for Faculty Development at Yale School of Management. In addition to
my time at Yale, I have also taught at the business schools of Stanford University and the University
of Chicago. I received a Ph.D. in Economics from MIT in 1994.

2.        At Yale University, I teach courses in the area of competitive strategy and competition
economics and policy. My research is in the area of empirical Industrial Organization, the sub-field
of microeconomics that includes competition economics and the study of firm behavior. I have
authored or co-authored almost 50 scholarly articles in a variety of areas of economics and law.
Those articles have been published in leading scholarly and professional journals, including the
American Economic Review, the RAND Journal of Economics, the Journal of Industrial Economics,
the Quarterly Journal of Economics, the Antitrust Law Journal, and the Yale Law Journal. A
particular focus of my research has been on the use of vertical contractual provisions, including the
circumstances when such provisions can be anticompetitive.

3.        From May 2011 through December 2012, I had the honor of serving as the Deputy Assistant
Attorney General for Economic Analysis with the Antitrust Division of the U.S. Department of
Justice. In this position, I was the highest-ranking economist in the Department of Justice. As the
chief economist in the Antitrust Division, I advised the Assistant Attorney General for Antitrust on a
wide range of enforcement matters and competition policy issues. I supervised approximately 50
Ph.D. economists in conducting investigations of mergers and non-merger cases. I also played a
leading role in formulating the Antitrust Division’s position on a wide range of competition policy
issues.

4.        In addition to my academic work, I have served as an economic consultant for private
clients and the Federal Trade Commission, providing both consulting and expert testimony. I have
been qualified as an economic expert and have provided testimony before the International Trade
Commission, in federal court, in state courts, and a variety of other venues.

5.        While my academic and consulting work has involved a wide range of industries, a
particular area of focus has been on pharmaceutical markets. I have published papers on


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innovation, entry, and branding decisions of pharmaceutical firms, the response of pharmaceutical
companies to Medicaid Most-Favored-Customer provisions, and analyses of the Medicaid and
Medicare programs on pharmaceutical pricing and access. I have testified about the Medicare
prescription drug program before committees of both the U.S. House and Senate, and have testified
as an economic expert in numerous proceedings involving pharmaceutical pricing, innovation, and
marketing practices in federal and state courts. I also provided educational materials to assist the
court in the Pharmaceutical Industry Average Wholesale Price litigation.

6.       My qualifications, along with a list of the matters in which I have provided testimony, are
set forth in greater detail in my CV, which is attached as Exhibit 1.

7.       I am being compensated for my work on this case at a rate of          per hour. This
compensation is not dependent in any way on the opinions I express or the outcome of this matter.
My work in this case has been supported by Charles River Associates (“CRA”), a consulting firm at
which I am a Senior Consultant. I also receive compensation from CRA based on CRA’s staff billings
on this case.

         B. ASSIGNMENT
8.       I have been asked by counsel for Sanofi-Aventis U.S. LLC (“Sanofi”) to: (1) provide an
overview of the economics of competition in the pharmaceutical industry generally, and in the
Epinephrine Auto-Injector (“EAI”) market more specifically; (2) determine the appropriate relevant
market within which to assess the extent of Mylan’s market power arising from its marketing and
sale of the EpiPen along with the competitive consequences of its actions; (3) assess Mylan’s market
power in that market; (4) assess the competitive consequences of Mylan’s actions on consumers
and the competitive process in that market; (5) evaluate the extent to which procompetitive
benefits (if any) outweigh any competitive harm caused by Mylan’s actions; and (6) quantify the
injury suffered by Sanofi (if any) from Mylan’s anticompetitive conduct.

         C. MATERIALS CONSIDERED
9.       In undertaking my economic analysis, I and those under my direct supervision have
reviewed court filings, case law, deposition testimony, documents and data produced in this
proceeding (to which we had complete access), publicly available documents and data, and the
relevant economic literature. In addition, I have had conversations with a current and a former




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Sanofi employee.1 My work in this matter is ongoing. I understand that expert discovery is not
complete. As new information warrants, I may update my conclusions. A listing of the materials
that I have considered to date in forming my opinions is attached as Exhibit 2.

           D. SUMMARY OF MAIN CONCLUSIONS
10.        Based on my review of the evidence in this case developed through discovery, my
understanding of the pharmaceutical industry, and my economic expertise, I am of the opinion that
Mylan successfully engaged in exclusionary anticompetitive conduct so as to maintain its monopoly
in the EAI market. In doing so, Mylan ensured that Sanofi’s competing product – Auvi-Q – would
never have a chance to gain a foothold in the U.S. EAI market, thereby preventing it from obtaining
significant market share and placing a meaningful competitive constraint on the EpiPen. As a result
of its actions, Mylan harmed consumers, the competitive process, and Sanofi. Consumers were
harmed by being deprived of choice between differentiated EAI devices and by being deprived of
innovation that likely would have occurred but for Mylan’s conduct. Sanofi was harmed, as Auvi-Q
was never able to become the significant player in the $1 billion annual EAI market that everyone –
including Mylan before it designed its anticompetitive course of conduct – believe it would be. As a
result of Mylan’s actions, Sanofi incurred damages of between                                 These
conclusions are based on the following key findings:

      a. The appropriate relevant market for purposes of antitrust analysis is the market for EAI
           devices in the United States.

      b. All throughout the relevant time-period, Mylan had monopoly power in the U.S. EAI market.
           Mylan maintained a dominant market share and was able to control and raise prices and
           exclude competitors, all without losing meaningful market share.

      c. In addition to having a dominant share of the U.S. EAI market, Mylan also benefited from the
           fact that, as a result of Mylan’s longstanding dominance of the EAI market and the nature of
           EAIs and anaphylaxis, a significant percentage of EpiPen consumers will not switch away
           from EpiPen in the short run, even in the presence of new innovative products. As a result,
           Mylan’s monopoly power was entrenched.

      d. When faced with the potential entry of Auvi-Q, the first meaningful competitive threat ever
           encountered by EpiPen, Mylan first sought to either purchase or license the new innovative



1   Specifically, I spoke with Dr. Phillip Huang and Mr. Bryan Downey.

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       product. Unsuccessful there, Mylan, with its manufacturing partner Meridian, tried to
       innovate and develop a smaller EpiPen that it believed would be more competitive with
       Auvi-Q. Mylan was similarly unsuccessful. At this point, recognizing the dramatic impact
       that Auvi-Q would have on its bottom line if given the opportunity to compete on the merits,
       Mylan dramatically changed its contracting practices with pharmacy benefit managers and
       other third-party payors (“PBMs”) – adopting anticompetitive exclusionary practices.

  e. The intent and effect of Mylan’s conduct was to                                by tilting the
       playing field dramatically in Mylan’s favor, so that Auvi-Q would never have a chance of
       gaining a significant foothold in the market. Preventing the growth of Auvi-Q would relegate
       it to niche status – or cause exit – so that Mylan would maintain its monopoly in the U.S. EAI
       market.

  f.   The crux of Mylan’s anticompetitive conduct was the leveraging of its entrenched market
       power to secure exclusionary contracts with PBMs – agreements that provided significant
       financial payments to the PBM if the PBM agreed to severely restrict or outright block Auvi-
       Q from its formulary. These agreements were intentionally structured to ensure both that
       PBMs had little choice but to accept Mylan’s exclusionary offers and to ensure that it would
       be prohibitively expensive for Sanofi to overcome them.

  g. To further ensure that its course of conduct would work, Mylan undertook numerous efforts
       to increase the percentage of EpiPen users that would not switch away from EpiPen in the
       shorter term. These included Mylan’s: (i) exploitation of so-called “spillover” effects to
       leverage the exclusionary restrictions it secured at some of the largest PBMs and in
       government programs and use them to foreclose patients that use other PBMs from
       procuring an Auvi-Q; (ii) marketing efforts to health care providers (HCPs) that flaunted the
       differences in formulary coverage of EpiPen and Auvi-Q (resulting from the exclusionary
       contracts Mylan secured), so as to convince HCPs that the path of least resistance is to stick
       with EpiPen and not even attempt to prescribe Auvi-Q; (iii) deceptive marketing campaign
       that implied – falsely – that large PBMs were excluding Auvi-Q, at least in part, because of
       concerns about its efficacy or safety relative to EpiPen; (iv) use of co-pay coupons to further
       entrench Mylan’s market share by increasing the cost to PBMs of rejecting an exclusionary
       offer from Mylan; and (v) use of the EpiPen4Schools program – a program designed in part
       to lock in parents and caregivers to EpiPen by curtailing availability of Auvi-Q at their
       children’s schools.


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  h. By leveraging its entrenched market share and through its use of exclusionary contracts,
       Mylan was able to effectively impose a significant tax on Auvi-Q that did not apply to
       EpiPen. As a result, Sanofi would have to offer Auvi-Q at dramatically lower prices than the
       EpiPen (and in some cases take a loss) just to make it worthwhile for PBMs to even consider
       not excluding Auvi-Q. EpiPen did not bear such a burden. This effective tax dramatically
       tilted the playing field in EpiPen’s favor and resulted in Auvi-Q never standing a chance to
       compete on the merits in the U.S. EAI market.

  i.   The relevant tools identified in the economics literature to ascertain whether exclusionary
       conduct such as that undertaken by Mylan rises to the level of being anticompetitive all
       point in the same direction – Mylan’s conduct is plainly anticompetitive.

          o   Perhaps of most relevance is whether the contracts at issue –Mylan’s contacts with
              PBMs – reference rivals. As the economics literature demonstrates, contracts used
              by a monopolist that reference rivals are far more suspect than contracts that do
              not. Here, Mylan modified its contracting strategy shortly before the launch of Auvi-
              Q to change from contracts that do not reference rivals, and only speak to the
              treatment of EpiPen, to those that do reference rivals, explicitly speaking to how the
              PBM must treat not just EpiPen, but also Auvi-Q, in order to receive rebates.

          o   A second tool that economists use is assessing whether the conduct at issue is
              anticompetitive is whether the conduct is undertaken on a one-off basis, customer
              by customer, or whether it applies more broadly across the market. Here, it is clear
              that Mylan was not simply competing for business patient by patient and PBM by
              PBM. Rather, Mylan used its entrenched market share, and the small initial share of
              Auvi-Q, to impede Sanofi from expanding its footprint in the overall marketplace.

          o   Third, economists often look to the strategic intent of a party that has engaged in
              questionable conduct. Here, it is abundantly clear that the intent throughout Mylan –
              including that of some of its most senior executives – was not to compete on the
              merits but rather, was to ensure that Auvi-Q would never gain a foothold in the
              marketplace.

          o   A final tool of relevance is the “profit sacrifice” or “no economic sense” test. While
              not necessary to demonstrate that Mylan’s behavior was anticompetitive, it is
              informative that, for the largest PBM (and its clients), Mylan was willing to accept
              lower profits by entering into an exclusionary contract rather than earn higher

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                   profits from a non-exclusionary contract. This behavior only makes sense if Mylan
                   takes into account the exclusionary effect that the exclusive offer would have on
                   Auvi-Q’s ability to compete market-wide.

      j.   There are no pro-competitive justifications for Mylan’s actions. This is most plainly
           demonstrated by the fact that, despite its claims that it was engaging in price competition by
           offering higher rebates than it previously had offered, these higher rebates, which were
           conditioned on securing exclusivity,
                                                                                                       . And,
           Mylan had available to it many ways to its lower prices (for example, simply lowering the
           price per pen) that do not place a tax on rivals.

      k. As a result of Mylan’s actions, Sanofi was harmed. It was foreclosed from selling a product
           that everyone – including Mylan – believed would be popular and successful. Had Auvi-Q
           performed as expected, as it did in areas where Mylan was not able to fully exploit its
           market power, Sanofi would have earned                     in profits during the period when
           Auvi-Q was on the market. In present value terms, this amounts to                      Had Sanofi
           relaunched Auvi-Q after its voluntary recall, as Sanofi’s senior executives made clear it
           surely would have done absent Mylan’s conduct, and as Mylan itself anticipated, Sanofi
           would have continued to earn substantial profits through the life of the Auvi-Q patent. In
           total, damages for this period amount to between                                      in present
           value terms. When combined with the damages for the earlier period, the total harm to
           Sanofi in present value terms resulting from Mylan’s conduct currently amounts to between
           approximately                                .



II.        PHARMACEUTICAL INDUSTRY BACKGROUND
11.        There are a number of attributes of pharmaceutical drug markets that together make them
somewhat unique. One such attribute is the considerable fixed costs that are associated with
developing new products, getting regulatory approval to sell those products, and promoting those
products to health care professionals and consumers. The high costs associated with the research
and development of new drugs have been well documented.2 The costs of negotiating the
regulatory approval process generally are also sizeable. An indication of this cost is provided by

2   Joseph A. DiMasi and Henry G. Grabowski, “The Cost of Biopharmaceutical R&D: Is Biotech Different?,” 28
    Managerial and Decision Sciences 469 (2007).

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one study that observed that of the prescription drugs sold in one of the seven countries with the
largest pharmaceutical markets, only one third were sold in all seven countries, implying that there
is a substantial incremental cost of obtaining regulatory approval in each country, even for
products that have been found to be safe and efficacious by other regulators.3 With regard to
promotional expenses, another study found that pharmaceutical companies spend as much on
promoting their products as they do on R&D.4 The large fixed costs associated with the research,
development, regulatory approval, and promotion of pharmaceutical products generate
considerable scale economies in the sale of prescription drugs. In order to recover their fixed costs,
firms must sell at a price that is substantially above their marginal costs. One consequence of this
cost structure is that shifts in market share have a considerable impact on the profitability of
pharmaceutical firms, providing strong incentives for pharmaceutical firms to protect the market
shares of their successful products.

12.     A second distinctive characteristic of pharmaceutical markets is the prominent role played
by generic drugs in pricing and competition for drugs that are no longer under patent protection.5
Several regulatory features of the U.S. market contribute to the strong role of generic drugs in
fostering competition, as compared to competition between branded drugs in the same therapeutic
class. Generic drugs have a lower regulatory hurdle for approval, since generic manufacturers need
only demonstrate that they are bioequivalent to the branded drug, and do not need to repeat the
clinical trials showing safety and efficacy that had to be undertaken before the branded product
could secure approval.6 Moreover, under certain circumstances pharmacists are free to (and in
some states, required or encouraged to) substitute generic drugs on a prescription for a branded
pharmaceutical, whereas pharmacists cannot substitute one branded product for another, even
when such substitution would be beneficial for the patient.7 Given these features of the regulatory



3 Margaret Kyle, “Pharmaceutical Price Controls and Entry Strategies,” 89 The Review of Economics and
  Statistics 88 (2007).
4 Marc-André Gagnon and Joel Lexchin, “The Cost of Pushing Pills: A New Estimate of Pharmaceutical

  Promotion Expenditures in the United States,” 5 PLoS Medicine 29 (2008).
5 Fiona Scott Morton and Margaret Kyle, “Markets for Pharmaceutical Products,” in Handbook of Health

  Economics, Volume 2 (Mark V. Pauly, Thomas G. McGuire, and Pedro P. Barros, eds., Elsevier B.V. 2012) at
  766.
6 Scott Morton and Kyle (2012) at 774.
7 See Scott Morton and Kyle (2012) at 769. Ohio recently passed a law allowing pharmacists to substitute a

  less expensive but equivalent generic or brand-name alternative to the EpiPen, so long as they receive the
  consent of the prescribing doctor and the patient. FDAnews, “Ohio Passes Law Allowing EpiPen
  Alternatives” (Jan. 14, 2019), https://www.fdanews.com/articles/189849-ohio-passes-law-allowing-
  epipen-alternatives.


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environment, generic competition often leads to a steep decline for the price available for a drug (in
its generic form) when the drug comes off patent.8 Conversely, drugs without generic competition
can be subject to significant market power.

13.     A third distinctive characteristic of pharmaceutical products is that those deciding whether
to use a prescription drug and, if so, which drug to buy – typically health care professionals and
their patients – are distinct from the organizations that pay for those pharmaceuticals, typically
insurers and government agencies. This creates a potential moral hazard issue, since health care
professionals and patients may not fully internalize the cost of different treatments. This
characteristic, by itself, would tend to give pharmaceutical firms significant ability to raise prices,
since HCPs and patients are not fully incentivized to switch away from higher priced products.

14.     In response to this seller market power, insurers and government agencies have
increasingly turned to PBMs in an effort to help control pharmaceutical prices by creating
countervailing buyer power.9 PBMs negotiate with pharmaceutical firms on behalf of insurers and
government agencies, taking advantage of the scale of large buyers to exert leverage on prices for
pharmaceuticals. PBMs also can take advantage of their informational advantage about product
prices and alternatives to influence choices made by less well informed HCPs and patients. One
important tool used by PBMs to influence patient choice and mitigate supplier bargaining power is
the creation of formularies. A formulary is a list of covered drugs that may be used by patients,
typically with different tiers corresponding to different levels of patient co-payments.10

15.     The flow of pharmaceutical products through the supply chain from manufacturer to
patient generally follows the following relatively straight-forward path: pharmaceutical firms
supply the product to wholesale distributors, who distribute to pharmacies, who dispense the
product to patients after those patients have secured a prescription from a health care provider.
However, the flow of money is far more complicated, and reflects negotiated prices and discounts at
every step of the way. As noted, patients typically pay a co-pay to the pharmacy that is governed by
the formulary associated with the patient’s health care plan. The pharmacy purchases from a
wholesaler at close to list price, while the wholesaler in turn purchases from the manufacturer at a


8 Richard G. Frank and David S. Salkever, “Generic Entry and the Pricing of Pharmaceuticals,” 6 Journal of
  Economics & Management Strategy 75 (1997).
9 See Ernst R. Berndt, Thomas G. McGuire, and Joseph P. Newhouse, “A Primer on the Economics of

  Prescription Pharmaceutical Pricing in Health Insurance Markets” (National Bureau of Economic Research
  Working Paper No. 16879, 2011); Sara Fisher Ellison and Christopher M. Snyder, “Countervailing Power in
  Wholesale Pharmaceuticals,” 58 The Journal of Industrial Economics 32 (2010).
10 Berndt, McGuire, and Newhouse (2011).


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small discount off list price. Typically, a patient’s PBM pays the drugstore the difference between
its costs and the patient co-payment plus a dispensing fee. However, the PBM negotiates a
discounted price with the manufacturer and settles up separately by receiving a rebate from the
manufacturer. The multiple decision-makers in this market, each with imperfect incentives, create
several opportunities for the exercise of market power. As will be discussed, the various levels of
pricing and non-aligned incentives can be manipulated to make it difficult for an entrant with a new
drug to gain a foothold in the market when facing an incumbent with entrenched market power.



III.    THE MARKET FOR EPINEPHRINE AUTO INJECTORS
        A.       OVERVIEW OF EPINEPHRINE AUTO INJECTORS
              1. Anaphylaxis and treatments
16.     Anaphylaxis is a serious, life-threatening emergency condition that requires immediate
treatment.11 Anaphylaxis can occur as a result of exposure to allergens such as peanuts, shellfish,
eggs, insect stings, latex, and other medication. Symptoms vary but include hives, itching, and
swelling of the lips, tongue, and airways. Anaphylaxis also can have effects on the gastrointestinal
system, cardiovascular system, or central nervous system.12 Anaphylactic reactions are not
uncommon: medical studies have estimated that as many as 27 million Americans have experienced




11 T.T. Song, M. Worm, and P. Lieberman, “Anaphylaxis Treatment: Current Barriers to Adrenaline Auto-
  Injector Use,” 69 Allergy 983 (2014) (“There is universal expert agreement that rapid intramuscular
  injection of adrenaline is life-saving and constitutes the first-line treatment of anaphylaxis.”); see also
  Bresch Dep. at 123-25.
12 EpiPen, “Frequently Asked Questions: What are the symptoms of anaphylaxis?,”

  https://www.epipen.com/about-epipen-and-generic/faq (accessed Feb. 2, 2019); Expert Report of Dr.
  Maryann Michelis (Feb. 2, 2019) at ¶ 11.


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an anaphylactic reaction,13 and up to 43 million people in the United States are at risk of life-
threatening allergic reactions,14 including one in 13 children with food allergies.15

17.     The medical establishment has accepted that rapid injection of epinephrine (also known as
adrenaline) is the “first-line” treatment for anaphylaxis.16 Doctors today recommend epinephrine
auto-injectors (“EAIs”) to deliver epinephrine to anaphylactic patients, and they recommend that
patients with life-threatening allergies always carry an EAI.17 EAIs are prescription medical devices
that allow a pre-set dosage of epinephrine to be quickly injected within a few seconds, at the correct
dosage, and with relative ease compared to syringes.18 When an EAI is used properly, the




13 Phil Lieberman, Carlos A. Camargo, Jr, Kari Bohlke, Hershel Jick, Rachel L. Miller, Aziz Sheikh, and F. Estelle
  R. Simons, “Epidemiology of Anaphylaxis: Findings of the American College of Allergy, Asthma and
  Immunology Epidemiology of Anaphylaxis Working Group,” 97 Annals of Allergy, Asthma & Immunology 596
  (November 2006); F. Estelle R. Simons, “Anaphylaxis: Recent Advances in Assessment and Treatment,” 124
  The Journal of Allergy and Clinical Immunology 625 (2009).
14 Alfred I. Neugut, Anita T. Ghatak, and Rachel L. Miller, “Anaphylaxis in the United States: An Investigation

  Into Its Epidemiology,” 161 Archives of Internal Medicine 15, 19 (2001) (“This chart (Table 3) now suggests
  that 3.3 to 43 million Americans may actually experience anaphylaxis, which is a narrower band than the
  one listed above. These values, we believe, are a better representation of the magnitude of anaphylaxis in
  the United States, as they are based solely on estimates presented by researchers in past epidemiologic
  studies of anaphylaxis (and not allergy).”).
15 Mylan, “Mylan On Location,” http://www.mylan.com/en/mylan-on-location-featuring-epipen (accessed

  Feb. 2, 2019) (“Up to 43 million people in the U.S. are at risk for anaphylaxis, a potentially severe or life-
  threatening allergic reaction, due to sensitivities to foods, insect venom and other allergens. That includes
  an estimated one in 13 children with food allergies, a common cause of anaphylaxis.”).
16 American College of Allergy, Asthma & Immunology, “Epinephrine Auto-injector” (Feb. 1, 2018),

  https://acaai.org/allergies/allergy-treatment/epinephrine-auto-injector (“The first-line treatment for
  anaphylaxis is epinephrine (adrenaline).”); Joshua A. Boyce, et al., “Guidelines for the Diagnosis and
  Management of Food Allergy in the United States: Report of the NIAID-Sponsored Expert Panel,” 126 The
  Journal of Allergy and Clinical Immunology S1 (2010); Expert Report of Dr. Maryann Michelis (Feb. 2, 2019)
  at ¶¶ 14, 19.
17 American College of Allergy, Asthma & Immunology, “Anaphylaxis” (Jan. 29, 2018),

  https://acaai.org/allergies/anaphylaxis (“An anaphylactic reaction should be treated immediately with an
  injection of epinephrine (adrenaline). Doses, available by prescription, come in an auto-injector that should
  be kept with you at all times.”); American College of Allergy, Asthma & Immunology, “Epinephrine Auto-
  injector” (Feb. 1, 2018), https://acaai.org/allergies/allergy-treatment/epinephrine-auto-injector
  (“Allergists advise that all patients who have food allergies carry their epinephrine auto injector with them
  at all times.”); Expert Report of Dr. Maryann Michelis (Feb. 2, 2019) at ¶ 19.
18 F. Estelle R. Simons, “Anaphylaxis: Recent Advances in Assessment and Treatment,” 124 The Journal of

  Allergy and Clinical Immunology 625, 632 (2009) (“Only 2 fixed doses of epinephrine, 0.15 mg and 0.3mg,
  are available in autoinjector formulations.”); Larry S. Posner and Carlos A. Camargo, Jr, “Update on the
  Usage and Safety of Epinephrine Auto-Injectors, 2017,” 9 Drug, Healthcare and Patient Safety 9, 15 (2017)
  (“Very recently, the prescribing information for the EpiPen Auto-Injector was changed to shorten the time
  of insertion to 3 s and to massage the injection site for an additional 10 s. Epinephrine absorption should
  not be affected by this recommendation, as suggested by a study that used EAIs to inject epinephrine into
  beef. This study indicated that there may not be an increase in epinephrine absorbed or dispensed past 1 s
  of injection.”).


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epinephrine is injected into the thigh muscle.19 Because time is of the essence in treating
anaphylaxis, patients suffering the condition need rapid access to epinephrine, and oftentimes will
not be able to get to an emergency room or other urgent care center for treatment.20 Until the
1980s, epinephrine was delivered into the patient’s body mainly with manual syringes and vials.21
In 1987, Survival Technology obtained approval from the Food and Drug Administration for the
first epinephrine auto-injector and entered the market.22 Industry participants recognize the
improvement in treatment speed, reliability, and efficacy enabled by EAI devices.23

        B.       EPINEPHRINE AUTO INJECTOR PRODUCTS AND HISTORY
18.     As noted above, the EpiPen first came onto the market in 1987. Widely accepted as a
dramatic improvement over the previously available treatment for anaphylaxis – vials of
epinephrine along with syringes – the EpiPen became the standard treatment for anaphylaxis.24
Over the years, other branded EAIs became available in the United States including Twinject (first
launched in 2005) and Adrenaclick (launched in 2010 and then again in 2013). While different
from the EpiPen, these two competitor devices were similar in look and use to the EpiPen. In 2013,



19 Song, et al. (2014) at 987 (“There are five different commercial AAIs [adrenaline auto-injectors] currently
  available and licensed in Europe and/or the United States (Europe: Anapen, EpiPen and Jext; US:
  Adrenaclick, Auvi-Q and EpiPen). They each aim to deliver an im dose of adrenaline into the vastus lateralis
  muscle of the thigh.”).
20 Mayo Clinic Staff, “Anaphylaxis: Overview” (Jan. 5, 2018), https://www.mayoclinic.org/diseases-

  conditions/anaphylaxis/symptoms-causes/syc-20351468; Expert Report of Dr. Maryann Michelis (Feb. 2,
  2019) at ¶ 22.
21 Stephen D. Lockey, Sr, “A New Method of Administering Aqueous Epinephrine: The EpiPen, an Automatic

  Syringe,” 17 The Journal of Asthma Research 153 (1980); see Jan Dep. at 118-19 (Q: “Prior to the
  introduction of the Auvi-Q, what other products were available to deliver epinephrine, to your knowledge?
  A: Those were the injectables that you would take, you know, draw the thing from the vial, and that’s not
  patient friendly to really do it in an emergency and stuff. So that was the only – and we really – it was very –
  utilization was minimum. So EpiPen was the standard of care.”).
22 U.S. Food & Drug Administration, “NDA 019430, Drugs@FDA: FDA Approved Drug Products,”

  https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?event=overview.process&ApplNo=019430
  (accessed Feb. 2, 2019) (click on Approval Date(s) and History, Letters, Labels, Reviews for NDA 019430);
  Center for Drug Evaluation and Research, “Approval Package for Application Number: 019430Orig1s001,”
  https://www.accessdata.fda.gov/drugsatfda_docs/nda/pre96/019430Orig1s001.pdf (accessed Feb. 2,
  2019) (showing Survival Technology, Inc. as the applicant).
23 See Jan Dep. at 118-19 (Q: “Prior to the introduction of the Auvi-Q, what other products were available to

  deliver epinephrine, to your knowledge? A: Those were the injectables that you would take, you know, draw
  the thing from the vial, and that’s not patient friendly to really do it in an emergency and stuff. So that was
  the only – and we really – it was very – utilization was minimum. So EpiPen was the standard of care.”); see
  also Janet Goldman, “Syringe & Vial or Epi-Pen?” (Sept. 7, 2016),
  https://allergyadvocacyassociation.org/index.php/in-the-news/470-syringe-vial-or-epi-pen-2-itn.
24 Jan Dep. at 118-19.




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a third branded EAI competitor – Auvi-Q – was launched. Unlike Twinject and Adrenaclick, Auvi-Q
had a different shape than the EpiPen, and included different features.25

19.       In addition to branded competitors, there have also been several generic EAI products that
have launched in the United States, including a generic to the Adrenaclick (launched in 2013), an
EpiPen authorized generic offered by Mylan (launched in December 2016), and, most recently, in
November 2018, Teva launched its own generic to the EpiPen.26 These generic products also look
similar to the EpiPen and offer similar features. Table 1 lists these EAI products, and notes their
entry dates, and their manufacturers and distributors since 2008. The next sections discuss these
EAI products in more detail.




25   Handel Dep. at 30-32




                                        For a side-by-side comparison of EpiPen and Auvi-Q, see Expert Report
  of Dr. Maryann Michelis (Feb. 2, 2019) at ¶ 20.
26 Colin Kellaher, "Teva Releases Generic EpiPen in Limited Doses in the U.S.," Wall Street Journal, Nov. 27,

  2018, available at https://www.wsj.com/articles/teva-releases-generic-epipen-in-limited-doses-in-the-u-s-
  1543336473. An authorized generic version is the same drug product as the branded product but with
  different labeling. U.S. Food and Drug Administration, “FDA List of Authorized Generic Drugs” (Dec. 27,
  2018),
  https://www.fda.gov/drugs/developmentapprovalprocess/howdrugsaredevelopedandapproved/approval
  applications/abbreviatednewdrugapplicationandagenerics/ucm126389.htm (“Is an Authorized Generic
  Drug the Same Thing as a Generic Drug? No. The term ‘authorized generic’ drug is most commonly used to
  describe an approved brand name drug that is marketed without the brand name on its label. Other than the
  fact that it does not have the brand name on its label, it is the exact same drug product as the branded
  product. An authorized generic may be marketed by the brand name drug company, or another company
  with the brand company’s permission. In some cases, even though it is the same as the brand name product,
  a company may choose to sell the authorized generic at a lower cost than the brand name drug.”).


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battlefield device to counteract nerve agents, and developed the EpiPen, which received FDA
approval in 1987.35 As an epinephrine auto-injector, the EpiPen features a spring-loaded needle
that injects a fixed dose of epinephrine intramuscularly, through the patient’s skin.36 EpiPen is
intended to be easy to use by individuals without extensive medical expertise, although users
should be trained before administering it.37 Reflecting its name, EpiPen is shaped like a large felt-
tip marker pen. EpiPen is available in regular and junior dosages, and is currently sold in 2-Paks, or
packages consisting of two pens.38

21.        In 1997, Dey Pharma obtained exclusive distribution rights to EpiPen from Meridian.39
Mylan obtained the marketing and distribution rights in 2007 and continues to sell and distribute


32 NIH, "EPINEPHRINE injection [Greenstone LLC],"
  https://web.archive.org/web/20100516130646/http://dailymed.nlm.nih.gov/dailymed/drugInfo.cfm?id=
  16934 (accessed Jan. 14, 2019); Brice Labruzzo Mohundro and Michael Marlan Mohundro, ”Important
  Considerations When Dispensing Epinephrine Auto-Injector Devices” (Sept. 22, 2010),
  https://www.pharmacytimes.com/p2p/p2pepinephrine-0910); Paul A. Greenberger, Dana V. Wallace,
  Phillip L. Lieberman, and Sean M. Gregory, "Contemporary Issues in Anaphylaxis and the Evolution of
  Epinephrine Autoinjectors," 119 Annals of Allergy, Asthma, & Immunology 333, 336 (Table 1) (2017);
  Lineage Therapeutics Inc., "Lineage Therapeutics Markets Authorized Generic Epinephrine Auto-Injector,"
  PR Newswire, June 14, 2013, available at https://www.prnewswire.com/news-releases/lineage-
  therapeutics-markets-authorized-generic-epinephrine-auto-injector-211585371.html.
33 Sanofi, "Sanofi Announces Auvi-Q™, the First and Only Voice-Guided Epinephrine Auto-Injector, is Now

  Available in the U.S.," PR Newswire, Jan. 28, 2013, available at https://www.prnewswire.com/news-
  releases/sanofi-announces-auvi-q-the-first-and-only-voice-guided-epinephrine-auto-injector-is-now-
  available-in-the-us-188651061.html; Sanofi, "Auvi-Q (epinephrine injection, USP) Recall,"
  https://www.sanofi.us/en/products-and-resources/Auvi-Q-epinephrine-injection-USP-Recall (accessed
  Jan. 14, 2019); Tammie Smith, “Richmond-based Kaleo’s Auvi-Q epinephrine injector returning to market
  Feb. 14,” Richmond Times-Dispatch, Jan. 19, 2017, available at
  https://www.richmond.com/business/local/richmond-based-kaleo-s-auvi-q-epinephrine-injector-
  returning-to/article_04442c78-220d-53bd-ac2e-fb4a222889e3.html.
34 Colin Kellaher, "Teva Releases Generic EpiPen in Limited Doses in the U.S.," Wall Street Journal, Nov. 27,

  2018, available at https://www.wsj.com/articles/teva-releases-generic-epipen-in-limited-doses-in-the-u-s-
  1543336473.
35 U.S. Food & Drug Administration, “NDA 019430, Drugs@FDA: FDA Approved Drug Products,”

  https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?event=overview.process&varApplNo=01943
  0 (accessed Feb. 2, 2019) (click on “Approval Date(s) and History, Letter, Labels, Reviews for NDA
  019430”); see also SAN-EPI-0766016 at 023.
36 Stephen F. Kemp and Richard F. Lockey, “Anaphylaxis: A Review of Causes and Mechanisms,” 110 The

  Journal of Allergy and Clinical Immunology 341, 346 (2002), at 346 (“Spring-loaded, automatic epinephrine
  syringes administered intramuscularly and intramuscular epinephrine injections in the thigh in adults
  provide dose-equivalent plasma levels.”).
37 Expert Report of Dr. Maryann Michelis (Feb. 2, 2019) at ¶ 23.
38 Bresch Dep. at 204




39   Supply Agreement between Meridian Medical Technologies and Dey (Jan. 1, 2001), Securities and Exchange
     Commission Exhibit 10.42,


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EpiPens today.40 On the manufacturing side, Meridian Medical Technologies, which is now a Pfizer
company, continues to manufacture EpiPen as well as EpiPen’s authorized generic version.41 Mylan
began selling EpiPen’s authorized generic version in 2016.42

22.     EpiPens have been a very profitable product for Mylan, and despite it being but one of
thousands of products offered by Mylan, it constitutes a significant portion of Mylan’s revenues and
profits. In 2013, EpiPen sales in the U.S. were           of Mylan’s global sales and          of Mylan’s
U.S. sales, and EpiPen U.S. operating profits were            of its global operating profits.43 The
corresponding numbers for 2014 were                of global revenues and           of U.S. revenues and
       of operating profits.44

             2. Adrenaclick and Twinject
23.     Adrenaclick, its authorized generic, and Twinject are EAI devices that, like EpiPen, are
shaped like large felt-tip marker pens. While similar in look and feel, these products are not

  https://www.sec.gov/Archives/edgar/containers/fix071/95676/000095013301501482/w49983ex10-
  42.txt.
40 Mylan Inc., Transition Report (Form 10-K/A) (March 7, 2008) at 3, 50.
41 Meridian Medical Technologies manufactured EpiPen until it was acquired by King Pharmaceuticals in

  2003, which Pfizer acquired in 2011. See Keith T. Reed, “Meridian Medical Technologies sold,” Baltimore
  Business Journal, Jan. 9, 2003, available at
  https://www.bizjournals.com/baltimore/stories/2003/01/06/daily35.html; Pfizer, “Pfizer Completes
  Acquisition of King Pharmaceuticals, Inc.” (March 1, 2011),
  https://archive.is/20130630050306/http://www.pfizer.com/news/press_releases/pfizer_press_release_a
  rchive.jsp?guid=20110301006102en&source=2011&page=14.
42 EpiPen, “EpiPen Supply Information,” https://www.epipen.com/about-epipen-and-generic/supply-

  information (accessed Feb. 2, 2019) (“Meridian Medical Technologies, a Pfizer company, manufactures
  EpiPen 0.3 mg and EpiPen Jr 0.15 mg Auto-Injectors, and the authorized generic versions of these
  strengths.”). Mylan, "Mylan Launches the First Generic for EpiPen® (epinephrine injection, USP) Auto-
  Injector as an Authorized Generic" (Dec. 16, 2016), http://newsroom.mylan.com/2016-12-16-Mylan-
  Launches-the-First-Generic-for-EpiPen-epinephrine-injection-USP-Auto-Injector-as-an-Authorized-Generic.
43 See MYEP00249596 at 600

                                                                                            . 2013 EpiPen U.S.
  sales out of 2013 Mylan global sales =                                         2013 EpiPen U.S. sales out of
  2013 Mylan U.S. sales =                                          Bresch Dep. Ex. 17 at p.1 (U.S. EpiPen
  operating profits were $393 million in 2013); Mylan, Annual Report (Form 10-K) (Mar. 2, 2015) at 50
  (Mylan’s global earnings from operations in 2013 were $1,135,500,000). 2013 EpiPen U.S. operating profits
  out of 2013 Mylan global operating profits = $393 million/$1135.5 million = 34.6%.
44 See MYEP00249596 at 600




                                                                                           Bresch Dep. Ex.
 17 at p.1 (U.S, operating profits were $525 million in 2014); Mylan, Annual Report (Form 10-K) (Mar. 2,
 2015) at 50 (Mylan’s global earnings from operations in 2014 were $1352.6 million);




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identical to the EpiPen – they have a slightly different design and instructions from EpiPen’s.45 In
2012, Shionogi discontinued both Adrenaclick and Twinject.46 The branded and authorized generic
versions of Adrenaclick were reintroduced to the U.S. market in 2013 and they remain on the
market today.47

             3. Auvi-Q
24.     In January 2013, Sanofi launched Auvi-Q, a new EAI drug device, in the United States.48
Auvi-Q is smaller in size than EpiPen, shaped like a smartphone, and provides recorded step-by-
step voice instructions that guide patients and caregivers through the injection process.”49 Auvi-Q
offers an auto-retractable needle, which injects epinephrine and retracts the needle back into the
device within seconds.50

25.     Auvi-Q was the brainchild of twin brothers, Evan and Eric Edwards, who grew up with life-
threatening allergies and had a goal of designing a better EAI device.51 In 2004, the brothers
founded the company Intelliject Inc. (which changed its name to Kaléo in 2014), through which they




45 “Anaphylaxis and Insect Stings and Bites,” 318 Journal of the American Medical Association 86 (2017).
46 Twinject was a pen-shaped EAI that Verus Pharmaceuticals launched in 2005. Verus Pharamceuticals,
  “Verus Pharmaceuticals Announces U.S. Launch of Twinject for Anaphylaxis,” (Aug. 16, 2005),
  https://web.archive.org/web/20051222104426/http://www.veruspharm.com/news_releases_08_16_200
  5.htm; Doug Roe, Med Device Online, "Keeping it Simple: One Startup's Plan To Upend The Epinephrine
  Delivery Market" (March 29, 2016), https://www.meddeviceonline.com/doc/one-start-up-s-plan-to-
  upend-the-epinephrine-delivery-market-0001.
47 MPR, “Adrenaclick Auto-Injector Available Again for Anaphylaxis,” (June 17, 2013)

  http://www.empr.com/news/adrenaclick-auto-injector-available-again-for-anaphylaxis/article/298979/
48 Sanofi, "Sanofi Announces Auvi-Q™, the First and Only Voice-Guided Epinephrine Auto-Injector, is Now

  Available in the U.S.," PR Newswire, Jan. 28, 2013, available at https://www.prnewswire.com/news-
  releases/sanofi-announces-auvi-q-the-first-and-only-voice-guided-epinephrine-auto-injector-is-now-
  available-in-the-us-188651061.html.
49 Auvi-Q, “About Auvi-Q,” https://www.auvi-q.com/about-auvi-q (accessed Feb. 2, 2019).
50 Auvi-Q, “About Auvi-Q,” https://www.auvi-q.com/about-auvi-q (accessed Feb. 2, 2019); Kaléo, “Kaléo

  Confirms U.S. Availability of AUVI-Q (epinephrine injection, USP) Auto-injector for Back-to-School Season”
  (Aug. 14, 2018), https://kaleo.com/press-release/kaleo-confirms-u-s-availability-of-auvi-q-epinephrine-
  injection-usp-auto-injector-for-back-to-school-season. The EpiPen’s needle is covered after being
  withdrawn from the skin, while the Adrenaclick’s needle remains visible after use. Consultants in Allergy &
  Asthma Care, “Epinephrine Choices in 2017; So Many, And What To Do?” (June 30, 2017),
  https://allergyasthmacare-doctor.com/epinephrine-choices-in-2017-so-many-and-what-to-do.
51 Katie Thomas, “Brothers Develop New Device to Halt Allergy Attacks,” New York Times, Feb. 1, 2013,

  available at https://nytimes.com/2013/02/02/business/auvi-q-challenges-epipen-with-a-new-shape-and-
  size.html.


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developed Auvi-Q.52 In 2009, Intelliject licensed Auvi-Q exclusively to Sanofi to market in the U.S.
and Canada, selling the product as “Allerject” in Canada.53

26.     Auvi-Q received final FDA approval in 2012.54 Auvi-Q was sold in the U.S. from 2013 until
October 2015, when Sanofi conducted a voluntary recall of Auvi-Q due to reports of potential
manufacturing issues.55 In February 2016, Sanofi returned its Auvi-Q rights to Kaléo. Shortly
thereafter, on February 14, 2017, Kaléo reintroduced Auvi-Q to the market. Kaléo continues to
manufacture and market Auvi-Q today.56

              4. Generic EpiPen
27.     Teva Pharmaceuticals, which does not produce a branded EAI, first began the process of
getting approval for a generic EpiPen product in 2009. A patent infringement lawsuit between Teva
and Mylan was settled in April 2012.57 According to Mylan’s press release at the time of the
settlement, the settlement set the earliest date that Teva could launch a generic EpiPen device at
June 2015. Mylan filed a citizen’s petition to block approval of Teva’s generic in 2015, and the FDA
rejected the Teva application in February 2016.58



52 John Reid Blackwell, “Medical products maker Intelliject changes name to Kaleo,” Richmond Times-
  Dispatch, Jan. 7, 2014, available at https://www.richmond.com/business/medical-products-maker-
  intelliject-changes-name-to-kaleo/article_1133fd4a-c6b2-5a76-b867-ccb0aafecbdc.html.
53 Katie Thomas, “Brothers Develop New Device to Halt Allergy Attacks,” New York Times, Feb. 1, 2013,

  available at https://nytimes.com/2013/02/02/business/auvi-q-challenges-epipen-with-a-new-shape-and-
  size.html; Kaléo, “AUVI-Q (epinephrine injection, USP) Available in Canada Starting September 7” (Aug. 29,
  2018), https://kaleo.com/press-release/auvi-q-epinephrine-injection-usp-available-in-canada-starting-
  september-7.
54 Center for Drug Evaluation and Research, “Approval Package for Application Number: 201739Orig1s000,”

  https://www.accessdata.fda.gov/drugsatfda_docs/nda/2012/201739Orig1s000Approv.pdf (accessed Feb.
  3, 2019). Before launch, Auvi-Q was known as E-Cue, and it is referred to by that name in both Mylan and
  Sanofi documents. See, e.g., Graybill Dep. Ex. 6 at p. 7 (internal presentation slide titled “Strategic Response:
  2012 Sanofi E-Cue Launch”); SAN-EPI-0326335.ppt at slides 1, 3 (analyst presentation for Sanofi title “E-cue
  Pricing Study Integrated Findings”).
55 Sanofi, “UPDATED: Sanofi US Issues Voluntary Nationwide Recall of All Auvi-Q® Due to Potential

  Inaccurate Dosage Delivery” (Oct. 30, 2015), http://www.news.sanofi.us/2015-10-28-Sanofi-US-Issues-
  Voluntary-Nationwide-Recall-of-Auvi-Q-Due-to-Potential-Inaccurate-Dosage-Delivery.
56 Sanofi, “Sanofi US to Return Auvi-Q® (epinephrine injection, USP) Rights to kaléo” (Feb. 23, 2016),

  http://www.news.sanofi.us/2016-02-23-Sanofi-US-to-Return-Auvi-Q-epinephrine-injection-USP-Rights-to-
  kal-o; Kaléo, “Kaléo Announces U.S. Availability and Pricing to Patients of Auvi-Q® (Epinephrine Injection,
  USP) Auto-Injector, For Life-Threatening Allergic Reactions” (Jan. 19, 2017), https://kaleo.com/press-
  release/kaleo-announces-u-s-availability-and-pricing-to-patients-of-auvi-q-epinephrine-injection-usp-auto-
  injector-for-life-threatening-allergic-reactions/.
57 Mylan, “Mylan and Pfizer Announce Epinephrine Auto-injector Settlement Agreement with Teva” (April 26,

  2012), http://newsroom.mylan.com/press-releases?item=123144.
58 See Ed Silverman, Pharmalot “How Mylan tried to keep Teva from selling a generic EpiPen” (Aug. 31, 2016),

  https://www.statnews.com/pharmalot/2016/08/31/mylan-teva-generic-epipen/.


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28.     Mylan introduced its own generic version of EpiPen in September 2016, the same month
that its CEO, Heather Bresch, was called before Congress to testify about the skyrocketing price for
EpiPens in the U.S.59

29.     As of the writing of this report, Teva represents the most recent entrant in the EAI market.
Teva obtained FDA approval in August 2018 to market “the first generic version of EpiPen and
EpiPen Jr (epinephrine) auto-injector.”60 On November 27, 2018, Teva announced the release of its
generic EpiPen in limited supply in the United States.61

        C.      EPINEPHRINE AUTO INJECTOR MARKET TRENDS
             1. Size of EAI market and growth over time
30.     The EAI market has grown significantly since Mylan acquired distribution rights in 2007.
Figure 1, Panel A shows the increase in the number of EAI wholesale units sold in the United States
between 2008 and 2016. In 2008, over 4 million EAI units were sold. The growth is pronounced
after 2011, increasing to nearly 8 million units in 2013 and reaching around 9 million in 2016, or a
doubling in units sold between 2008 and 2016. Figure 2 shows that these unit increases are
consistent with growth in the retail market when measured in the total number of EAI
prescriptions filled. For example, 3.3 million total prescriptions were filled in 2013, reaching 4.0
million prescriptions in 2016, where a prescription can be for a single dose as well as a two-pack.

31.     Panel B of Figure 1 shows the EAI market in wholesale dollar revenues since 2008. Total
EAI revenues have increased more quickly than unit growth. In 2008, total EAI revenues were
about $200 million. Total EAI revenues grew to nearly $1 billion in 2013 and reached over $2
billion in 2016, a dramatic tenfold increase from 2008 revenue amounts. EpiPen accounts for much
of the EAI market growth. Mylan has reported the EpiPen to hold market shares of over 95% from



59 Mylan, “Mylan to Launch First Generic to EpiPen® Auto-Injector at a List Price of $300 per Two-Pack
  Carton, a More than 50% Discount to the Brand Product” (Aug. 29, 2016),
  http://newsroom.mylan.com/2016-08-29-Mylan-to-Launch-First-Generic-to-EpiPen-Auto-Injector-at-a-
  List-Price-of-300-per-Two-Pack-Carton-a-More-than-50-Discount-to-the-Brand-Product; Linette Lopez and
  Lydia Ramsey, Business Insider, “’YOU ASKED FOR IT’ – Congress railed on the maker of EpiPen” (Sept. 21,
  2016), https://www.businessinsider.com/mylan-ceo-heather-bresch-house-oversight-committee-hearing-
  epipen-2016-9.
60 U.S. Food & Drug Administration, “FDA approves first generic version of EpiPen” (Aug. 16, 2018),

  https://www.fda.gov/newsevents/newsroom/pressannouncements/ucm617173.htm.
61 Colin Kellaher, “Teva Releases Generic EpiPen in Limited Doses in the U.S.,” Wall Street Journal, Nov. 28,

  2018, available at https://www.wsj.com/articles/teva-releases-generic-epipen-in-limited-doses-in-the-u-s-
  1543336473.


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2008 to 2011, rising to in excess of 99% by the end of 2012 with the exit of competing products.62
EpiPen’s share fell with competition from Auvi-Q and the Adrenaclick authorized generic in 2013,
but remained over 84% through midyear, 2015.63




62 In annual reports from 2008 to 2011, Mylan reported that it had over 95% market share in the United
  States. See, e.g., Mylan, Annual Report (Form 10-K) (Feb. 21, 2012) at 8 (“The EpiPen Auto-Injector is the
  number one prescribed epinephrine auto-injector with more than 95% market share in the U.S. and more
  than 90% market share worldwide in the defined auto-injector market during 2011.”).
63 MYEP00487195 at slide 112.


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                        Figure 1: EAIs Sold in the United States, 2008-2016

                       A. EAI units (number of pens or devices, wholesale)




                                     B. EAI revenues (wholesale)




Notes: EAI products include EpiPen, Auvi-Q, EpiPen Authorized Generic, Adrenaclick, Adrenaclick Authorized
Generic, and Twinject. EAIs includes regular (0.3MG/0.3ML), junior or other (0.15MG/0.15ML) dosages, and
two-packs as well as single packs. EAI products are identified by product names and NDC numbers.
Sources: IQVIA National Sales Perspectives Data; see Appendix Part B notes




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                  Figure 2: EAI Prescriptions Filled in the United States, 2008-2017




Notes: A unit (prescription) can be for a single dose, or two doses (two pens). Total prescriptions (TRx)
include new prescriptions as well as refills. EAI products include EpiPen, Auvi-Q, EpiPen Authorized Generic,
Adrenaclick, Adrenaclick Authorized Generic, and Twinject. EAIs includes regular (0.3MG/0.3ML), junior or
other (0.15MG/0.15ML) dosages, and two-packs as well as single packs. EAI products are identified by
product names and NDC numbers.
Sources: IQVIA Xponent Plantrak; see Appendix Part B notes



32.       Much of the growth in EAI revenues has been due to higher prices.


                    4   The remainder is due to various drivers of increased sales of devices. Some of
that is simply due to growth in the at-risk population


                The remaining volume growth can be attributed to efforts to expand demand for EAI
devices.

33.       A number of regulations and medical guidelines issued between 2010 and 2013 are factors
in the expansion of EAI demand during this time period. In December 2010, the National Institute of


64   MYEP00435396 at slide 3.
65   Id.
                            See also MYEP00491274 at slide 8


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Allergy and Infectious Diseases (NIAID) issued guidelines that promoted EAIs as the “first-line
therapy” for anaphylaxis. The NIAID’s guidelines also recommended the sale of EAIs in packages of
two doses (e.g., EpiPen 2-Paks) instead of one dose. During this period, the FDA allowed marketing
EAIs to expand to anyone at risk of an anaphylaxis reaction, while it had previously allowed
marketing only to patients who had already experienced a reaction. Finally, in November 2013,
Congress passed the School Access to Emergency Epinephrine Act. The 2013 legislation, which
followed successful lobbying efforts by Mylan, encouraged states to require or recommend that
schools stock EAIs for students with allergic reactions. The timing of these regulatory actions
appears consistent with the heightened growth of the EAI market.

            2. EAI market by type of insurance
34.    The large majority of the population in the United States is enrolled in insurance plans that
provide coverage of at least some EAI treatments. Figure 3 shows the population breakdown by
insurance channel as of January, 2014. Commercial (private) insurers covering EAIs are dominant,
with over two-thirds of the U.S. population (“lives”) enrolled. About 7 percent of U.S. lives were
enrolled in Medicare plans covering EAIs, and 15 percent were enrolled in Medicaid plans covering
EAIs. About 10 percent of U.S. lives do not have any EAI coverage, including people who were
uninsured. Figure 4 shows similar proportions for total EAI prescriptions in the United States.
According to retail pharmacy sales data, 70% of EAI total prescriptions filled are covered by
commercial plans, 6% by Medicare plans, and 18% by Medicaid plans.




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                    Figure 3: Share of Lives by EAI Coverage in the United States

                                                January 2014




Notes:
[1] The analysis shows lives covered in the 50 states and Washington, D.C.
[2] “EAI Not Covered” include uninsured persons, and persons in Commercial, Medicare, and Medicaid plans
that do not cover EAI products, i.e., if the formulary statuses for all EAIs are “Not Listed” or “Unknown” for the
plan in that month. EAI products include EpiPen, Auvi-Q, EpiPen Authorized Generic, Adrenaclick,
Adrenaclick Authorized Generic, and Twinject. EAIs includes regular (0.3MG/0.3ML), junior or other
(0.15MG/0.15ML) dosages, and two-packs as well as single packs.
[3] Commercial plans are identified by “Commercial” or “Health Exchange” in the MMIT data.
Sources:
[1] MMIT Data
[2] “Health Insurance Coverage of the Total Population.” The Henry J. Kaiser Family Foundation,
https://www.kff.org/other/state-indicator/total-
population/?dataView=1&currentTimeframe=3&sortModel=%7B%22colId%22:%22Location%22,%22sort
%22:%22asc%22%7D (accessed Jan. 15, 2019)




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         Figure 4: Share of Total EAI Prescriptions Filled by Channel in the United States

                                               January 2014




Notes:
[1] The analysis shows total prescriptions filled (TRx) in the 50 states and Washington, D.C.
[2] EAI products include EpiPen, Auvi-Q, EpiPen Authorized Generic, Adrenaclick, Adrenaclick Authorized
Generic, and Twinject. EAIs includes regular (0.3MG/0.3ML), junior or other (0.15MG/0.15ML) dosages, and
two-packs as well as single packs. EAI products are identified by product names and NDC numbers.
[3] Commercial channels are identified by “Commercial” or “Health Exchange” in the MMIT data. Medicaid
channels include “State Medicaid” and “Managed Medicaid.”
Sources:
[1] IQVIA Xponent Plantrak
[2] MMIT Data
[3] Sanofi Bridge Files
[4] See Appendix Part B notes




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35.




                           That disparity is consistent with specialists (allergists in this case) tending
to be early adopters of new, innovative products.67 The same study




                                                                                        Moreover, as
seen in Figure 5, Auvi-Q and EpiPen prescriptions differ in their shares by payer type. In 2015, 83%
of Auvi-Q prescriptions were covered by commercial plans, compared to 67% of EpiPen
prescriptions; 22% of EpiPens prescriptions were covered by Medicaid payers, while 9% of Auvi-Q
prescriptions had Medicaid payers.




66   MYEP00487195 at slide 16.
67   See Rocheleau Dep. at 148




68   MYEP00487195 at slide 38, 145.
69   MYEP00487195 at slide 38, 135.

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the supply chain starting with the pharmaceutical manufacturer and going all the way down to the
end consumer.

           A. COMPETITION IN PRICE AND QUALITY
38.        At a high level of generality, in competitive markets, price competition occurs when one
manufacturer offers a reduction in price in an effort to sell more of its goods. This, in turn, might
cause rival manufacturers to also reduce their prices, either in an effort to mitigate the damage to
their sales done by the initial price cut or in an effort to take sales away from rival sellers. The
precise form that price competition takes will vary depending on the degree of competition in a
market and the specifics of the market structure. As I now discuss, there are a number of
particularities in pharmaceutical markets that shape the precise form that price competition takes
between rival pharmaceutical manufacturers that are competing with each other in a competitive
market.

39.        One key distinction between pharmaceutical markets and other markets is that the ultimate
consumer – the individual in need of the treatment – does not typically pay the full price of the
treatment. The end consumer’s health insurance typically covers at least a portion of the cost, with
the end consumer paying a co-pay that is determined by their insurance provider. As a result, the
decision making of end consumers does not fully account for the benefits that arise from price
competition between rival pharmaceutical manufacturers. Lower prices from competition accrue
directly to the PBM and indirectly to consumers and health plans through lower pharmaceutical
costs and lower premiums.

40.        As noted above, PBMs typically negotiate and contract directly with pharmaceutical
manufacturers on behalf of health care providers (and ultimately end consumers). PBMs are able
to create at least some degree of price competition among drug manufacturers through the creation
of tiered formularies, which are lists of covered drugs that are available to end consumers, typically
with different tiers corresponding to different levels of end-consumer co-payments.70 A PBM can
influence choices among treatments by only including some treatments on the formulary or by
putting different treatment options on different tiers. Generic drugs – generally the lowest cost
drugs to the PBMs – are often placed on the lowest tier (Tier 1), with the branded counterpart on a
higher (less preferred) tier.71 There may also be multiple tiers for branded drugs, with the



70   Scott Morton and Kyle (2012) at 791.
71   Scott Morton and Kyle (2012) at 810.

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“preferred” brand product placed on a lower tier (typically Tier 2) and the less preferred, but still
available, option placed in a higher tier (typically Tier 3) with a higher patient co-payment. In the
case where there is a generic drug, a preferred brand drug, and a second, non-preferred brand drug
on the formulary, the end consumer will have the option of paying a relatively low (or, in some
cases, no) co-pay for the generic drug, a higher co-pay for the preferred brand, and a still higher co-
pay for the non-preferred brand drug. 72 Under these circumstances, all three treatments will be
available to the end consumer, but the PBM creates incentives to the end consumers in the form of
differences in co-pays to steer the end consumer to the PBM’s preferred option. The larger the
share of patients who change drugs in response to the incentives created by the PBM, the larger the
incentive is for a manufacturer to offer a lower price to be included on a favorable tier. The
effectiveness of such steering depends, among other things, on the price sensitivity of the end
consumer to co-pay differentials, the willingness of the end consumer to consider different
treatments, the ease with which the end consumer can switch between competing treatments, the
familiarity of the HCP with competing treatments, and the willingness of the HCP to prescribe
competing treatments.

41.        In addition to the use of formulary tiers, PBMs have other tools that they can use in an effort
to steer end consumers to particular treatments. PBMs are able to omit particular treatments from
their formularies altogether, or can list them as requiring prior authorization from a HCP, or as a
step therapy, which requires the patient to first try the payer’s preferred alternative and only
receive reimbursement for the treatment listed as a step therapy if the alternative is found to be
inadequate. Research has shown that formulary placement can be effective at steering end
consumers to particular treatments.73 The degree to which efforts at such steering are effective
impacts PBM bargaining power, and ultimately the size of any negotiated price savings.


72   See MYEP00495211, at 211-12:




73   Frank Limbrock, “Pecuniary and Non-Pecuniary Incentives in Prescription Pharmaceuticals: The Case of
     Statins,” 11 The B.E. Journal of Economic Analysis & Policy (Advances), (2011); David B. Ridley, “Payments,
     Promotion and the Purple Pill,” 24 Health Economics 86 (2015).


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42.        Of course, PBMs do not always go to the trouble of managing drug classes. For certain drug
classes – particularly those with only one choice of drug, relatively low cost drugs, or drugs that are
used infrequently – the benefits to be gained from managing a class can be relatively small, and may
be outweighed by the costs of doing so.74 When PBMs do not manage a class, their formularies may
include all competing products on the same tier or there may be one tier for generics and a second
tier for branded drugs. There typically will not be an exclusive branded drug with all other
competing products blocked from the formulary. For example, prior to the launch of Auvi-Q, most
formularies did minimal or no management of the EAI drug class.75 As Mylan’s corporate designee
on its negotiations with PBMs testified,



43.        When PBMs do manage drug classes, they use formularies as a means to create at least
some degree of price competition between sellers of substitutable treatments by incentivizing
pharmaceutical firms to offer rebates off their list (or WAC) prices in exchange for better placement
on the formulary.


                                                                                             As Mr. Foster
– Mylan’s National Account Manager – explained,
                                                                     8   Later, after the launch of Auvi-Q,
the rebates offered by Mylan took a different – and far more problematic – form, as Mylan offered
significantly higher rebates (along with price protection) that were conditioned not only on EpiPen
getting preferred placement on the formulary, but also on Auvi-Q being placed at a significant
disadvantage to the EpiPen – either by being excluded altogether or through the imposition of a
step edit or prior authorization. I discuss this aspect of Mylan’s conduct in greater detail below.




74   See, for example, Works Dep. Ex. 2 at p. 24


75   See, for example, Works Dep. at 213-214



  true.”); see also Works Dep. Ex. 2 at p. 24 and Ex. 10 at p. 12.
76 May Dep. at 292-93.
77 May Dep. at 30, 55.
78 Foster Dep. at 212-213.




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44.        The negotiations between pharmaceutical firms and PBMs (or other buyers, such as
hospitals) gives rise to a distinction between the list price (or WAC) for a drug and the net price
actually paid, since PBMs negotiate discounts tied to the placement of a drug on a formulary. While
the list price for a drug is publicly available, the discounts are proprietary and differ across
products and PBMs.79 As a result, patients and HCPs make their decisions among therapeutic
options without knowing the actual price paid for the product they select or the actual price of
alternative treatments.80 What the end-consumer does see is the co-pay that they pay for the
selected option.

45.        In addition to competing on price along the lines discussed above, pharmaceutical firms also
compete with each other on quality. Competing firms invest (through organic development,
licensing transactions, or acquisitions) in innovations that provide a superior product, at least in
the mind of consumers, to capture their patronage. Indeed, competition on quality even takes place
between products that are therapeutically equivalent, as even in such circumstances, end
consumers and HCPs may still have a preference for one treatment over another.

46.        Accordingly, pharmaceutical firms do not just compete with each other through price and
through negotiations that offer improved formulary placement in return for discounts. They also
compete by offering more innovative and higher quality products that, they hope, end consumers
will prefer. In more formal economic terms, competing treatments are differentiated from each
other. As with other differentiated products, certain consumers will like the attributes of one
product while others may have a preference for a different competing product. In the case of EAI
devices, as is elaborated upon elsewhere in this report, certain end consumers and HCPs valued the
innovation that Auvi-Q brought with respect to its shape, size, method of use, and digital voice
instructions. On the other hand, certain consumers have grown accustomed to the EpiPen over the
years and have little interest in moving away from a device that they have familiarity with, have
been trained on, and has proven to work for them.

47.        These competitive forces not only can give rise to new innovative products, but can also
spur manufacturers of incumbent products to improve their existing treatments – all for the
betterment of consumers. For example, when Mylan first became aware that the size and shape of
Auvi-Q was of genuine interest to HCPs and end-consumers, and was viewed as a significant
innovation over the features offered by the older EpiPen, Mylan began to explore whether it too

79   Scott Morton and Kyle (2012) at 790, 810.
80   Judith K. Hellerstein, “The Importance of the Physician in the Generic versus Trade-Name Prescription
     Decision,” 29 The RAND Journal of Economics 108, 111 (1998).

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could manufacture a better, more compact EAI device (essentially a smaller version of the EpiPen)
and whether it could do so before Auvi-Q was able to get traction in the marketplace. As I discuss
below, ultimately Mylan, working with Meridian (the manufacturer of the EpiPen), was not able to
successfully create a new improved smaller EpiPen, and instead of competing on the merits, it
resorted to anticompetitive behavior to ensure that Auvi-Q would not be able to expand its
footprint in the marketplace. As a result, not only were many consumers deprived of the benefits of
Auvi-Q, but they were also deprived of the benefits that would have come from a new improved
EpiPen.

          B. THE IMPACT OF COMPETITIVE FORCES ON CONSUMER DECISION-MAKING
48.       The ultimate decision of which treatment to select is made by the end-consumer and their
HCP. This decision is informed, in significant part, by the competitive forces discussed above. As
noted, competition may lead to different treatments being offered at different co-pay levels. All else
equal, a consumer that is indifferent between the available options will select the one available at
the lowest co-pay level. But, of course, all else is not equal, and patients (or caregivers) and HCPs
are guided not just by differences in co-pays, but also by differences in their personal preferences
for one treatment or another.81 When two or more treatments are available on a formulary, patient
(or caregiver) and HCP preference can play a meaningful role in determining which treatment will
ultimately be selected.82

49.       In addition to price and personal preferences, there are a host of other factors that inform
the decision-making process. Two other factors that come into play are: (i) HCP and patient (or
caregiver) awareness of the available treatment options; and (ii) HCP knowledge of what drugs are
covered by the patient’s insurance (and at what co-pay levels and with what restrictions, if any).
For certain treatments, such as EAIs, there are additional factors as well. Most notably, because EAI
devices consist of not only a drug but also a delivery mechanism, the patient (or their caregiver)
needs be trained on how to properly use the device.83 The need for such training, and the



81 Expert Report of Dr. Maryann Michelis (Feb. 2, 2019) at ¶ 37 (“Offering a choice enables patients to assess
  each EAI devices’ advantages and shortcomings and ultimately select the right device for their lifestyle.
  Choice increases the likelihood that my patients will carry their EAI device consistently and have it readily
  accessible in the event of an anaphylactic reaction.”).
82 See, for example, Works Dep. Ex. 11.
83 Expert Report of Dr. Maryann Michelis (Feb. 2, 2019) at ¶ 23; Shia Dep. at 96




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differences in usage across devices, make it more difficult for a patient to switch between one EAI
device and another.84 As a result, patient (or caregiver) and HCP familiarity with the use of the
device is another factor that can play a significant role when selecting among EAI devices.

50.        These additional factors give rise to other forms of competition between pharmaceutical
manufacturers. Specifically, pharmaceutical firms will market directly to HCPs and to the general
public in an effort to promote awareness of their products and influence the decision making
process. Along similar lines, pharmaceutical firms will often send sales representatives to meet
with HCPs to discuss their products, with a focus on the benefits of their products as compared to
those of competitors.85 In the case of EpiPen, after the launch of Auvi-Q, Mylan sent its sales
representatives out to meet with HCPs with a focused message: to inform HCPs that the EpiPen had
preferred coverage at virtually all formularies across the country while Auvi-Q had far more limited
coverage.86 This was done (amongst other reasons) in an effort to reassure HCPs that they had
nothing to worry about should they prescribe EpiPen, but that patients were likely to run into
trouble at the pharmacy should the HCP prescribe Auvi-Q, as it was not likely to be covered by their
insurance plan. For similar reasons, Mylan also alerted PBMs with which it had ongoing
negotiations to the fact that EpiPen had secured far better coverage from other PBMs than that
secured by Auvi-Q.87 This messaging was intended to assure PBMs that EpiPen’s high market share


84   Expert Report of Dr. Maryann Michelis (Feb. 2, 2019) at ¶ 23, 38; Stein Dep. at 302




85   Expert Report of Dr. Maryann Michelis (Feb. 2, 2019) at ¶ 47; see also Sussman Dep. Ex. 11




86   See, for example, Jones Dep. at 41-42; Jones Dep. Ex. 19; Jordan Dep. Ex. 19, 21; Korczynski Dep. Ex. 5




87   See, for example, Minton Dep. Ex. 19


                                                                                   Foster 30(b)(1) Dep. Ex. 16

                                                                                                   Templeton


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was likely to remain in place and, as a result, the PBM should be more inclined to accept a rebate
offer from Mylan that was conditioned on both making EpiPen the exclusive EAI product on
formulary and on placing a significant disadvantage on Auvi-Q.88 A third form of marketing
outreach done by Mylan shortly after the announcement of Auvi-Q was what became known as the
EpiPen4Schools program, one of the goals of which was to make sure that it was EpiPens, and not
other EAI devices, that were kept in schools across the country.89 The significance of these
strategies is discussed in greater detail below.

51.        The interaction between pharmaceutical firms, PBM formularies, HCPs, and patient (or
caregiver) preferences has led to another tactic devised by pharmaceutical firms to influence choice
– the use of co-pay coupons for branded pharmaceuticals.90 When patients use these coupons,
pharmaceutical firms pay some or all of their co-pay directly to the pharmacy, thus lessening or
removing the financial incentive of the patient to choose a competing medication with lower out of
pocket costs.91 In this way, firms selling branded pharmaceuticals pay to absorb a cost the PBM has
designed to shift share to lower cost medications.

52.        All told, the interactions between regulations, HCPs, patients, PBMs, and pharmaceutical
firms result in a mesh of factors that influence the choice between competing drugs. HCPs prescribe
a particular drug based at least in part on patient (or caregiver) preferences and financial
incentives and PBM formulary decisions. Pharmaceutical firms influence the choice among drugs at
every step of the way: they spend large sums marketing to HCPs through detailing and other



     Dep. Ex. 25 (Agenda for meeting between Mylan and Wellcare with the following topic: “Over 95MM lives in
     the United States have blocked Auvi-Q (with either a Prior Author Step Edit): United Healthcare, Express
     Scripts, Aetna, Coventry, Humana, etc.”); Foster Dep. Ex. 9


88   See, for example, Jordan Dep. at 133




89   See, for example, Ayers Dep. Ex. 28




90   Scott Morton and Kyle (2012) at 815.
91   See MYEP00624286 at slide 5



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channels.92 They also market directly to consumers, both to expand the market for their products
and to influence HCP choices through patient preferences.93 Pharmaceutical firms negotiate with
PBMs over net prices (discounts) and formulary placement, engage in pull-through marketing to
influence payer formulary choices, and use co-pay coupons to try to neutralize the impact of PBM
and payer formulary decisions. As a result, when assessing whether the behavior of a
pharmaceutical firm is anticompetitive, careful consideration must be given to the various
economic forces that are at play. In the next several sections, I undertake such an analysis of the
actions Mylan undertook to maintain its monopoly over the EAI market in the face of a significant
competitive threat posed by the launch of Auvi-Q.



V.   MYLAN HAS ENTRENCHED MONOPOLY POWER IN THE U.S. MARKET
FOR EAI DEVICES

53.     In undertaking an analysis to determine whether a firm has engaged in anticompetitive
behavior, it is standard practice to engage in a multi-step analysis. The first step is to assess
whether the firm has market power. To answer this question, it is necessary to define the relevant
market for antitrust analysis. I undertake such an analysis in Section V.A below, and conclude that
the relevant market here is the market for EAI devices in the United States. Once a relevant market
has been defined, the next step is to assess whether the firm in question has market power in that
relevant market. In this case, as I detail in Section V.B below, the answer is unquestionably yes –
Mylan had monopoly power in the U.S. EAI market throughout the period in question. The last step
is then to evaluate the behavior of the firm in question to determine whether the actions it has
taken in the relevant market were anticompetitive. As I discuss in Sections VI-IX below, the answer
to this question is also clearly yes.

        A. THE RELEVANT MARKET
54.     As noted, the first step in determining whether a firm has engaged in anticompetitive
conduct is to properly define the relevant antitrust market in which the questioned conduct is
taking place. Market definition for antitrust purposes assesses the ability of customers to substitute


92 Scott H. Podolsky and Jeremy A. Greene, “A Historical Perspective of Pharmaceutical Promotion and
  Physician Education,” 300 JAMA: The Journal of the American Medical Association 831 (2008).
93 Scott Morton and Kyle (2012) at 818; Toshiaka Iizuka & Ginger Z. Jin, “The Effects of Prescription Drug

  Advertising on Doctor Visits,” 14 Journal of Economics and Management Strategy 701 (2005).


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among alternative products.94 A relevant antitrust market has two dimensions: the relevant product
market and the relevant geographic market. Each dimension of the relevant antitrust market looks
at a different aspect of customer substitution. The relevant product market hinges on whether
products are sufficiently plausible alternatives for customers to pose a significant competitive
constraint on one another. The relevant geographic market asks whether sources of supply located
in different geographic areas are sufficiently plausible alternatives to pose a significant competitive
constraint on each other.

55.     For both the relevant product market and the relevant geographic market, the analytical
tool commonly used to identify the appropriate market boundaries is the hypothetical monopolist
test.95 This test asks whether a single firm with control over all of the products in the hypothesized
market would be able to profitably impose a “small but significant non-transitory increase in price”
(a “SSNIP”). If so, then the hypothesized market is a relevant antitrust market. In effect, a relevant
antitrust market (reflecting both the product and geographic dimensions) is a set of products that
can be monopolized.

56.     This analytical technique is noteworthy for several reasons. First, the focus is on the extent
of consumer substitution in response to a price increase, because it is that substitution that
constrains the ability of firms to exercise market power.96 The relevant market represents a set of
products for which a single entity with sufficient control over the products in the market could
exercise market power in the form of an increase in prices. As identified by the various
components of the “SSNIP” acronym, the degree of potential market power is such that there could
be a small but significant increase in price (often taken to be a 5% increase, though that can vary
depending on product characteristics).97 The hypothetical price increase is non-transitory, since the
pertinent question is how customers will respond to what is expected to be a permanent change in
relevant prices. And the SSNIP should be profitable for the hypothetical monopolist; a firm can
always choose to raise its prices, but the question is whether sufficiently few customers would stop


94 See, for example, Jonathan B. Baker and Timothy F. Bresnahan, “Economic Evidence in Antitrust: Defining
  Markets and Measuring Market Power” in Handbook of Antitrust Economics (Paolo Buccirossi ed., The MIT
  Press 2008); Jonathan B. Baker, Market Definition: An Analytical Overview,” 74 Antitrust Law Journal 129
  (2007).
95 Baker (2007) at 132-3.
96 U.S. Department of Justice and the Federal Trade Commission, Horizontal Merger Guidelines (Aug. 19, 2010)

  at § 4.1.1.
97 For example, in a distribution market in which the cost of distribution is bundled with the product price

  and represents a small component of the overall price, a 5% increase in the implicit price for distribution
  may translate into a much smaller percentage of the overall product price.


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buying the products in the relevant market such that the gains to the hypothetical monopolist from
higher prices outweighs the loss in sales. The relevant market is typically considered to be the
smallest set of products that include the product(s) of interest and that satisfies the hypothetical
monopolist test.98 If a hypothesized set of products does not satisfy the hypothetical monopolist
test, then the set of products is expanded to include the next closest substitute(s), with the process
continuing until the hypothetical monopolist test is satisfied.99

                 1. The relevant product market
57.        I have concluded that the market for EAI devices constitutes a relevant antitrust product
market. This market definition encompasses all available EAI devices – the EpiPen, generic versions
of the EpiPen (whether sold by Mylan or other companies), Auvi-Q, and other EAI devices along
with their authorized generics – but nothing more. The reason for limiting the market to just EAI
devices is intuitively simple, as other potential alternatives that a consumer might turn to in place
of securing an EAI device are not close enough substitutes to impose any meaningful competitive
constraint on EAI devices. The available evidence – including the relevant economic evidence and
the views of market participants – all supports such a market definition.

58.        From an economic perspective, direct evidence of whether a relevant product market is
properly defined reflects whether there are significant numbers of consumers turning to
alternatives when the price of EAI devices increases. If so, then the proposed product market likely
has been drawn too narrowly and these additional substitute products should be included. If we do
not see such switching, then one can conclude with confidence that the market is not too broad. In
the instant setting, we have ample evidence along these lines that confirms the appropriateness of
the product market definition that I have adopted. Specifically, since the time that Mylan acquired
the rights to sell the EpiPen, it has imposed numerous significant price increases, and there is no
evidence that I am aware of demonstrating that consumers have turned to other non-EAI products
when faced with these price increases. I include other EAI products in my market definition though
they have a very small market share for the entire period at issue. It is highly informative that
when EpiPen prices rise sharply on particular dates there is no decline in the prescriptions for EAI
devices, as one would expect if consumers were willing to substitute to another product in the face
of a 5-10% price increase. In Figure 6 below, I show the growth in overall EAI prescriptions along
with the growth in the average wholesale price for EAI devices. As the figure demonstrates, prices


98   Merger Guidelines at § 4.1.1.
99   Baker (2007) at 144-5.


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for EAI devices increased by 433% over the period 2008 to 2016.100 The price increases taken over
this period were typically 5% or more each year and were clearly non-transitory yet, as is also
shown, the number of EAI prescriptions did not decline with each increase. One would not expect
to see this pattern were there meaningful non-EAI alternatives that could be turned to in place of
EAI devices. Stated differently, this pattern strongly suggests that there are no alternative non-EAI
products that are meaningfully constraining the ability of pharmaceutical firms to raise the price of
EAI devices. This evidence strongly supports the relevant product market definition I have adopted.



Figure 6: Total EAI Prescriptions and EAI Average Net Wholesale Price per Device Over Time




Notes:
EAI products include EpiPen, Auvi-Q, EpiPen Authorized Generic, Adrenaclick, Adrenaclick Authorized
Generic, and Twinject. EAIs includes regular (0.3MG/0.3ML), junior or other (0.15MG/0.15ML) dosages, and
two-packs as well as single packs. EAI products are identified by product names and NDC numbers. Total
Prescriptions (TRx) include new and refill prescriptions dispensed at the retail level. The Average Net
Wholesale Price is calculated using the IQVIA National Sales Perspectives Data’s total revenue divided by the
total "eaches" (number of EAI devices). The IQVIA National Sales Perspectives Data show wholesale revenues
to manufacturers net of some discounts and do not include discounts or coupons fulfilled at other parts of the
distribution chain.
Sources: IQVIA Xponent Plantrak; IQVIA National Sales Perspectives Data; see Appendix Part B notes




100   (2016 price – 2008 price)/2008 price = ($261 - $49)/$49 = 433% increase between 2008 and 2016.

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59.     Along similar lines, Mylan’s rebating practices further support the definition of the product
market that I have adopted. Mylan’s rebates have changed over time, but only in the presence of
competition from EAI devices, and never in response to the presence of more distant potential
substitutes such as epinephrine in a vial or syringe, over-the-counter antihistamines, or visits to
emergency rooms or other urgent care facilities.




                                                                              But, after the launch of Auvi-
Q, when Mylan faced a meaningful competitive threat from an EAI device for the first time,


                                                                             When Auvi-Q was no longer on
the market,
                                                 This behavior is fully consistent with the relevant
product market that I have adopted and makes clear that these more distant alternative treatments
have little to no impact on the pricing of EAI devices. As a result, these more distant potential
competitors should not be included within the relevant product market.

60.     The product market definition I have adopted is also consistent with the way that Mylan
itself views the market. When undertaking assessments of the EpiPen, including its future
prospects, its historical success, and the like, Mylan regularly confines its analysis to the EAI market
– consistent with the definition I adopt here. For example, for purposes of updating the Mylan
Board of Directors on the current status of EpiPen, Roger Graham, the President of Mylan Specialty,
provided Heather Bresch, Mylan’s CEO, with a slide deck analyzing how EpiPen and its competitors
were doing, along with an assessment of the overall “market.” For purposes of this analysis, the
“market” was defined as including only EAI devices and the competitors considered were all EAI
devices.104 This is consistent with Mylan’s public statements. For example, in its 2011 10-K, Mylan
noted that “[t]he EpiPen Auto-Injector is the number one prescribed epinephrine auto-injector with
more than 95% market share in the U.S. and more than 90% market share worldwide in the defined

101 MYEP00603858 at slides 4-5; May Dep. Ex. 6, at slide 5; May Dep. at 64-65.
102 MYEP00271605 at 606; MYEP00491274 at 12; Foster Dep. at 233, 237; Willing Dep. Ex. 2.
103 Foster Dep. at 377-79; Zinn 30(b)(1) Dep. at 165-66; Willing Dep. Ex. 28; CIGNA_01532; Jan Dep. at 121-

  123.
104 Graham 30(b)(1) Dep. Ex. 12; see also Graham 30(b)(1) Dep. at 146 (“Q. and slide 1 is referring to the EAI

  market, is that correct? A. It is. Q. Is that how you refer to it in Mylan? A. Yeah, the slide would indicate
  that.”); Korczynski Dep. Ex. 31 at slides 8 (assessing growth in the EAI market), 10



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auto-injector market during 2011.105 Similarly, in its Brand Plans for the EpiPen, Mylan regularly
includes an assessment on the state of the EAI market, and, when assessing the “competitive
landscape” faced by EpiPen, Mylan typically confines its discussion only to other EAI devices.106
Along similar lines, when making decisions about price increases for the EpiPen, Mylan regularly
compares EpiPen pricing to the prices of other EAI devices, but nothing else. For example, in a
February 23, 2012 Pricing Committee Review presentation, the products included on a slide setting
forth “competitor pricing” were limited to other EAI devices.107

61.        Mylan’s sales force also views EpiPen as competing only with other EAI devices. When
asked directly “what market did EpiPen compete in,” Mr. Jordan, a former Sr. Director of National
Accounts at Mylan Specialty, testified that the EpiPen competed in the epinephrine auto-injector
market.108 The testimony of senior Mylan executives is in accord. For example, Mr. Graybill, the
former Vice President of Managed Markets for Mylan Specialty, when asked “what market did
EpiPen compete in” testified
                                            Ms. Bresch – Mylan’s CEO – testified
                                                                                                         .110
Along the same lines, Mylan CFO John Sheehan stated




105Mylan N.V., Annual Report (Form 10-K) (Feb. 21, 2012),
  https://www.sec.gov/Archives/edgar/data/69499/000119312512070508/d258059d10k.htm; see also
  MYEP01325857

106   See, e.g., Graham 30(b)(6) Dep. Ex. 42 at slides 10-11


107   Graham 30(b)(6) Dep. Ex. 24
                                    ; see also Graham 30(b)(6) Dep. at 165-68



                                                                                                Graham
  30(b)(6) Dep. Ex. 26 at slide 11
                                                                                      Graham 30(b)(6) Dep. Ex.
  23 at slide 8 (Price Adjustment Analysis giving consideration to the pricing history of other EAI devices, and
  nothing else); MYEP00362749 at slide 2 (EpiPen pricing strategy deck comparing EpiPen pricing to that of
  other EAI devices).
108 Jordan Dep. at 38.
109 Graybill Dep. at 63-64.
110 Bresch Dep. at 246.
111 MYEP00463728 at 41-42.




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62.        Other pharmaceutical industry participants are also in agreement with the relevant product
market definition that I have adopted. For example, contracts between PBMs and pharmaceutical
manufacturers typically contain a defined “therapeutic class” which includes the list of drugs that
are competing for formulary placement along with the drug that is the subject of the contract. In
the case of EpiPen, the therapeutic class is limited to other EAI devices.112 In fact, when asked about
what is typically included in these “therapeutic classes” in Mylan’s contracts with PBMs covering
EpiPens, Mylan’s corporate designee on its negotiations with PBMs



63.        Despite all of the evidence discussed above, out of an abundance of caution, I have given
specific consideration to whether certain treatments that Mylan witnesses have identified as
competitors to EAI devices should also be included in the relevant market. Specifically, certain
Mylan witnesses have suggested that over-the-counter antihistamines such as Benadryl,
epinephrine sold in a vial or pre-loaded syringe, and trips to the emergency room or other urgent
care centers also may compete with the EpiPen. While none of these witnesses have claimed to
have considered whether, from an economic perspective, such treatments are appropriately
included in the relevant market, I nevertheless consider that question here.

64.        Over-the-counter antihistamines such as Benadryl are plainly not alternatives that
customers of EAI devices would turn to in response to a SSNIP on EAI products. Most
fundamentally, this is because, as Ms. Bresch acknowledged, antihistamines are not treatments for
someone that has gone into anaphylactic shock. 114 Mr. Graham agreed, stating that Benadryl is a
“completely inappropriate therapy” for anaphylaxis.115 In fact, Mylan’s own website contains a
presentation on anaphylaxis and explicitly notes that “[a]ntihistamines are not indicated to treat
the life-threatening symptoms of anaphylaxis. Antihistamines are useful for relieving itching and
hives. They do not relieve shortness of breath, wheezing, gastrointestinal symptoms or shock.



112   See, for example, May Dep. Ex. 19, at Ex. B-2

113May Dep. at 172-174.
114See Bresch Dep. at 246 (“Q. But outside the hospital setting, an epinephrine auto-injector is the right way
  to go, right? A. Yes. Q. Not Benadryl? A. Correct.”); Graham 30(b)(1) Dep. at 133-134


  Expert Report of Dr. Maryann Michelis (Feb. 2, 2019) at ¶ 16 (“While antihistamines, such as Benadryl®,
  may relieve itching symptoms or hives, these drugs are not a substitute for epinephrine because they are
  inadequate to treat shortness of breath, wheezing, gastrointestinal symptoms or shock.”).
115 Graham Dep. at 34.




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Therefore, antihistamines should be considered adjunctive therapy and should not be substituted
for epinephrine.”116 The EpiPen 2011 Strategic Plan makes the same point. It states that “patients
using Benadryl to treat systemic allergies should also carry an EpiPen… Benadryl + EpiPen =
Complete Protection.”117 In short, according to Mylan, antihistamines are complements to, and are
not substitutes for, EAI devices. As a result, it would be a serious error to include them in the
relevant product market.

65.     In addition, there is a significant price disparity between EAI devices and over-the-counter
antihistamines, which tends to mean that they do not compete in the same product market.
Customers who have already chosen to procure EAI products (and bear the associated monetary
and non-monetary costs of doing so) are unlikely to turn to over-the-counter alternatives in
response to a SSNIP on EAI products. As would be expected under such circumstances,
antihistamines such as Benadryl
                                 This is yet another reason that such products should not be included
in the relevant product market.

66.     With respect to epinephrine sold either in a vial or in a pre-filled syringe, there is not
sufficient demand substitution from these products to constrain pricing of EAI products.119 I am not
aware of any evidence that any meaningful number of patients have turned to vials or syringes in
response to EAI price increases. Were pre-filled syringes or vials of epinephrine meaningful
substitutes for EAI devices, this should have happened at some point over the last decade – a period
during which the prices of EAI devices increased dramatically. The reason such substitution has
not happened is straightforward and intuitive. As a general matter, non-medically trained
members of the population are (and should be) reluctant to use a syringe to inject epinephrine into
themselves or those around them in any situation, let alone in an emergency life-threating
situation.120 And HCPs are understandably reluctant to ask their patients to take on such a


116 Graham 30(b)(6) Dep. Ex. 41; see also Graham 30(b)(6) Dep. at 289-90 (noting that the quote contained in
  the text is an accurate statement of Mylan’s position).
117 PFE_EPIPEN_00011059, at slide 135.
118 Graham 30(b)(6) Dep. at 288-89




                                                      Graham 30(b)(6) Dep. at 167-68.
120See Expert Report of Dr. Maryann Michelis (Feb. 2, 2019) at ¶ 23 (discussing importance of ease of use for
  persons without a medical background); ¶ 39 (describing incident where patient panicked during
  anaphylactic reaction and removed her EpiPen from her thigh too quickly, and causing the epinephrine to


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responsibility. Indeed, as noted above, when the EpiPen was first introduced, it was viewed as a
dramatic improvement over the use of such products, and effectively wiped out any continued use
of vials of epinephrine and prefilled syringes. While I understand that a recently approved pre-
filled syringe is expected to come to market in the near future,121 I have seen no evidence that
suggests that it will provide a meaningful competitive constraint on EAI devices anytime soon (if at
all). Moreover, and more to the point, there is no evidence of which I am aware that suggests that
any previously available vials or syringes have had any impact on the pricing or sales of EAI devices
whatsoever.

67.     For similar reasons, it is unlikely that any significant number of EAI users would cease to
rely on EAI devices in response to a SSNIP and instead hope that they will successfully be treated at
an emergency room or other urgent care facility in the event of an anaphylactic episode. As Mylan’s
own website publication makes clear, anaphylaxis “is a life-threatening allergic reaction that is
rapid in onset and may cause death….”122 For most at risk patients, there is simply not time to get
to an urgent care center or emergency room should they go into shock. As a result, it is highly
unlikely that someone who previously secured an EAI device would decide to take the risk in
response to a price increase that they will be near an emergency room or urgent care center should
they go into anaphylactic shock. Moreover, despite all of the EAI device price increases over the last
decade, I am not aware of any evidence suggesting that patients have abandoned EAI devices and
instead rely on proximity to emergency rooms and urgent care centers should they need treatment.
Accordingly, and for all of the reasons set forth in this sub-section, I conclude that the relevant
product market for purposes of antitrust analysis is the market for EAI devices.

              2. The relevant geographic market
68.     With the relevant product market now defined, I next turn to an assessment of the relevant
geographic market. For the reasons discussed below, I have concluded that the relevant geographic


  drip down her leg); Jan Dep. at 118-119 (“Q: Prior to the introduction of the Auvi-Q, what other products
  were available to deliver epinephrine, to your knowledge? A: Those were the injectables that you would
  take, you know, draw the thing from the vial, and that’s not patient friendly to really do it in an emergency….
  [U]tilization was minimum. So EpiPen was the standard of care.”).
121 Sandoz: A Novartis Division, “Update on Launch Plans for Symjepi (epinephrine) in the US” (Dec. 6, 2018),

  https://www.us.sandoz.com/news/media-releases/update-launch-plans-symjepi-epinephrine-us. As of
  January 16, 2019, this product was released in institutional settings (hospitals, clinics, and doctor offices),
  but has not yet been made available in retail settings (pharmacies). Allergic Living, “Symjepi Epinephrine
  Syringe Launched in U.S. Clinics” (Jan. 17, 2019) https://www.allergicliving.com/2019/01/17/symjepi-
  epinephrine-syringe-launched-in-u-s-clinics.
122 Mylan, “Anaphylaxis” (2014), https://www.mylan.com/-/media/mylancom/files/patient-

  materials/myguide_anaphylaxis.pdf (accessed Feb. 2, 2019).


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market is the United States. This reflects the crucial role that the FDA approval process plays for
pharmaceutical products. Only EAI devices that have received FDA approval can be sold in the
U.S.123 There may be alternative devices sold in other countries, but they will not impact pricing in
the U.S. market unless they have approval to be sold in the U.S. At the same time, any EAI device
that does have FDA approval to be sold in the U.S. can be sold anywhere in the U.S., and can
therefore have a competitive impact on other EAI devices sold throughout the United States.

69.     As Mr. Rocheleau – the corporate representative for Pfizer Canada – explained, importing
EAI devices from other countries into the United States is not an option. Pfizer Canada, for its part,
has never even tried to export EAI devices from Canada into the United States, because it would be
illegal to do so.124 According to Mr. Rocheleau, because of the governing regulations, Pfizer Canada
is “not allowed to sell” EAI products outside of Canada.125 Similarly, pharmaceutical firms in the
United States are not allowed to export their products to other countries.126 As a result, EAI devices
available outside of the United States place no competitive constraint on EAI devices in the U.S.
This reality is fully supportive of a relevant geographic market that is limited to the United States.

70.     At the same time, while there are regulations that prohibit the sale of pharmaceutical
products from outside of the U.S. into the U.S., there are no similar regulations that prohibit the sale
of pharmaceutical products, for example, across state lines. Accordingly, there is no reason to
believe that the relevant geographic market should be more narrow than the United States.

        B. MONOPOLY POWER
71.     Having identified EAI devices sold in the U.S. as the relevant antitrust market, I now turn to
the question of whether Mylan had monopoly power in that market over the relevant time period. I
have concluded that Mylan had monopoly power in the sale of EAI devices in the U.S. both before
and during the entire period when Sanofi was selling Auvi-Q. Moreover, Mylan continued to have
monopoly power after Auvi-Q was voluntarily recalled from the market.




123 See Mylan’s Second Amended Responses and Objections to Plaintiffs’ First Set of Coordinated RFAs, RFA
  Response No. 11 (admitting “that epinephrine autoinjectors may not be sold in the United States absent FDA
  approval”).
124 Rocheleau Dep. at 31.
125 Rocheleau Dep. at 185.
126 Rocheleau Dep. at 185-86.




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72.     Monopoly power has been defined as “the power to control prices or exclude
competition.”127 It can be identified indirectly by examining structural indicators like market share
and entry barriers within a well-defined antitrust market. Other indirect indicators include
documents or statements from market participants referring to dominance or a lack of competition
in the market. Although less common, monopoly power can also be identified by direct evidence of
the power to control prices or to exclude competitors. In this case, Mylan’s monopoly power in the
market for EAI devices is manifested by all of these types of evidence, and there is no evidence of
which I am aware that suggests that Mylan did not have monopoly power in the U.S. EAI market.

             1. Market share
73.     As is common in assessing market power, I begin with an examination of Mylan’s share of
the relevant market. If a firm controls a large share of a properly defined antitrust market, that
suggests that the firm is likely to be able to control prices of those products to some degree, since
substitution to products outside the relevant market in response to a price increase, is, by
definition, limited. As illustrated in Figure 7 Panel A, Mylan unquestionably held a dominant share
of the EAI market over the period shown. This figure measures EpiPen’s market shares in the
United States in wholesale revenues. Prior to the launch of Auvi-Q in 2013, EpiPen held a share of
over 98%.128 Even after the launch of Auvi-Q, EpiPen continued to hold a dominant share. During
the period when Auvi-Q was on the market (January 2013 – October 2015), EpiPen’s revenue share
never dipped below 83% and ended up at 84% in October 2015 – the month prior to the voluntary
recall of Auvi-Q. Moreover, EpiPen’s market share rebounded quickly after Auvi-Q exited the
market in 2015, jumping back up to 95% in 2016. Mylan has remained dominant with around 80%
share of EAI revenues in 2017, after Mylan’s introduction of EpiPen’s authorized generic in
December 2016, which featured a lower price than the branded version of EpiPen, and with Kaléo’s
re-introduction of Auvi-Q in February 2017. Panel B of Figure 7 shows similar dominance when
EpiPen’s market share is calculated in units (number of EAI devices). Mylan’s market share
throughout this period provides strong evidence that it had monopoly power.




127 See George A. Hay, “Market Power in Antitrust,” 60 Antitrust Law Journal 807 (1991) at 819; Gregory J.
  Werden, “The 1982 Merger Guidelines and the Ascent of the Hypothetical Monopolist Paradigm,” 71
  Antitrust Law Journal 253, 254 (2003); United States v. E. I. du Pont de Nemours & Co., 351 U.S. 377, 391
  (1956).
128                                                                               . See MYEP00491274 at
  slide 8; MYEP00459611 at slide 7.

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              Figure 7: Mylan EAI Shares in the United States, 2011-2017

                       A. EpiPen Share of Wholesale Revenues




               B. EpiPen Share of Wholesale Units (Number of Devices)




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Notes:
EAI products include EpiPen, Auvi-Q, EpiPen Authorized Generic, Adrenaclick, Adrenaclick Authorized
Generic, and Twinject. EAIs includes regular (0.3MG/0.3ML), junior or other dosages (0.15MG/0.15ML;
0.1MG/0.1ML), and two-packs as well as single packs. Eaches are equivalent to package quantity, or number
of pens. EAI products are identified by product names and NDC numbers.
Sources: IQVIA National Sales Perspectives Data; see Appendix Part B notes



74.        Mylan’s own statements provide further confirmation of Mylan’s dominant market share.


                                                                             Along the same lines,


                                                                                         A number of other
Mylan employees and former employees,




75.        Mylan’s internal documents tell the same story.




                                      The same document


129   Bresch Dep. at 268-269.
130MYEP00463728       at 41-42; see also MYEP00481178-79



131Hadley Dep. at 36                                                                        Jones Dep. at 54-
  55


                                                    May Dep. at 163, 277
                      Patel Dep. at 20                                         Willing Dep. at 45


                           See also Mylan’s Response to RFA No. 15



132   Graham 30(b)(1) Dep. Ex. 5, at slide 8.
133   Korczynski Dep. Ex. 31, at slide 13.


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                                          More recently,


                   This evidence further confirms that Mylan has monopoly power in the relevant
market.

76.     Mylan’s EpiPen did not just have exceptionally high market shares in the U.S. EAI market. It
also benefited from having a committed customer base that would not easily switch away from the
EpiPen. In the economics literature, this is often referred to as non-contestable demand – the
portion of the market that – even in the face of entry of an alternative – will not switch away from
the incumbent’s product, at least in the shorter term.136 Less formally, this can be referred to as
“sticky” demand. It is because of this non-contestable demand for the EpiPen that I refer to Mylan
as having entrenched market power. Even when faced with competition from an innovative
product, and even were there not significant barriers to entry (which, as noted below, there are)
Mylan would still be able to keep a significant portion of the market, at least in the shorter term.137
For the reasons I discuss, this non-contestable demand gives Mylan even greater market power
than its share would otherwise indicate, as firms offering alternatives to the EpiPen could only
reasonably expect to be competing for the portion of the U.S. EAI market that is contestable.

77.     Mylan’s entrenched market power arises for a number of reasons. Most fundamentally, it is
because EAIs are life-saving devices that are only used infrequently (if at all) and require the
patient (or their caregiver) to be trained in their use. Once a patient or their caregiver has become
familiar with a product and is confident that they will be able to administer it in a life-threatening
situation, that individual will be reluctant to switch away from what they know. And, because
EpiPen was the dominant EAI device (and for many years, the only device), a very large portion of
the at-risk population that uses an EAI device is already familiar with and trained to use the
EpiPen.138 A second reason for Mylan’s entrenched market power is because of HCP familiarity and


134 Korczynski Dep. Ex. 31, at slide 17.
135 Zinn 30(b)(6) Dep. Ex. 14.
136 See Patrick DeGraba, “Naked Exclusion by a Dominant Supplier: Exclusive Contracting and Loyalty

  Discounts,” 31 International Journal of Industrial Organization 516 (2013); Joshua D. Wright, “Simple but
  Wrong or Complex but More Accurate? The Case for an Exclusive Dealing-Based Approach to Evaluating
  Loyalty Discounts,” Remarks at the Bates White 10th Annual Antitrust Conference (June 3, 2013) at 18,
  available at https://www.ftc.gov/sites/default/files/documents/public_statements/simple-wrong-or-
  complex-more-accurate-case-exclusive-dealing-based-approach-evaluating-loyalty/130603bateswhite.pdf.
137 In a competitive market free of anticompetitive activity, one would expect the share of overall demand that

  is non-contestable to decline over time in the presence of superior products.
138 See, for example, Shia Dep. at 97-98




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comfort. It is not just patients that need to be trained on the use of an EAI device, but also HCPs.
While specialists such as allergists are likely to be up to date and trained on new innovative
products, generalists are less likely to be up to date across the wide variety of issues they confront.
As a result, they are far more likely to default to what they know and have grown comfortable with
over the years.139

78.     The aforementioned EAI characteristics – training, familiarity, and crisis use – also create a
network effect that contributes to Mylan’s entrenched market power. When a patient, and
particularly a child, goes into anaphylactic shock, the EAI device may be administered by another
person who may not be familiar with the EAI device carried by the patient.140 This creates a benefit
from using an EAI device that has a large share within a geographic region, since there is more
likely to be familiarity with how to administer the device in a crisis situation. This is particularly
true in a school setting, where school personnel may have access to and familiarity with EpiPen,
which creates a benefit (or at least a perceived benefit) to carrying EpiPen rather than Auvi-Q or
another EAI device.141 Of course, there is no reason that school personnel and other caretakers
cannot be familiar with multiple EAI devices – EAI devices are not natural monopolies. These
network effects only came about as a result of there being a long-standing dominant firm in the EAI
market.

79.       There is ample evidence – both qualitative and quantitative – that plainly demonstrates
that there is non-contestable demand for EpiPen, that it is significant, and that Mylan was well
aware of it. On the qualitative side, Mylan repeatedly notes the power of its brand.




                     Along similar lines,




139 See Brown Dep. at 48-49 (“physicians are familiar with, with the product, EpiPen, because it had been in
  the market by Dey for at least in the late ‘90s. There is a lot of familiarity with the product. And because of
  familiarity, doctors are very comfortable with the product when they write for that. New products to the
  market, the Impax product, Auvi-Q, and others, they are a little different. And sometimes it is easier to just
  go with what you know than to, than to use a new product and train someone on a newer, on a newer
  device.”).
140 Expert Report of Dr. Maryann Michelis (Feb. 2, 2019) at ¶ 24.
141 In Section VII below, I discuss Mylan’s use of the EpiPen4Schools Program and other similar efforts to

  increase the percentage of the demand that was non-contestable, thereby further entrenching its market
  power.
142 Graham 30(b)(1) Dep. Ex. 29, at MYEP00213255.




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                                      As Mr. May, Mylan’s corporate designee on its negotiations with
PBMs, put it:




80.        Mr. Foster, Mylan’s former director of national accounts, made similar points during his
negotiations with PBMs. Specifically, as part of his negotiations with MedImpact, Mr. Foster




143   MYEP00214360 at 363.
144   Jordan Dep. Ex. 13
                                                         see also Jordan Dep. at 133




145   May Dep. at 163, 237-38.
146   MYEP00245085 at 117; see also MYEP00619261


147   Foster Dep. Ex. 4

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81.     The common theme throughout each of these points raised by Mr. Foster is that because of
the nature of anaphylaxis and EpiPen’s long history in the market, a significant portion of the
market will simply not switch away from EpiPen. Indeed, as is shown in the last bullet above, Mr.
Foster went so far to put a number on it. According to him,                    of the market is non-
contestable. This estimate is fully consistent with the quantitative evidence. As discussed in
greater detail below, in the few instances in which Auvi-Q was able to secure an exclusive position
with EpiPen not covered on formulary, EpiPen nevertheless maintained a significant market share.




                                                                                                     As I
detail in Section VII below, in these other situations, EpiPen was also able to maintain significant
market shares, providing further support for Mr. Foster’s assertion
                                     . Moreover, as I discuss in detail later, Mylan undertook
significant efforts to increase the portion of the market that was non-contestable.

82.     Finally, the issue of whether, and the degree to which, there is non-contestable demand in
the EAI market was confronted directly at the state of Florida’s June 2014 Pharmacy and
Therapeutics Committee meeting.




148 MYEP00531461. As is noted, there is variation amongst the individual plans that use this formulary, with
  some plans showing higher EpiPen market shares and some lower. What is most relevant here is the
  average across the plans that have adopted the formulary.
149 May Dep. at 250-52.


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                                           The assessment of this committee is fully consistent with the
evidence discussed above, further confirming that Mylan has entrenched monopoly power resulting
from its dominant position and the significant presence of non-contestable demand.

             2. Barriers to entry
83.     When a firm has persistent monopoly power, there generally will be significant barriers to
entry into the relevant market. Otherwise, the supracompetitive profits earned by the monopolist
will attract new entrants that will tend to erode the firm’s market power over time. There are
substantial barriers to entry in the U.S. EAI market that help protect Mylan’s dominant position. As
noted above, the development of pharmaceuticals generally and EAI devices specifically requires a
significant R&D investment. There are also substantial and costly regulatory hurdles in getting
approval to sell pharmaceuticals in the U.S. market that must be overcome before a product can be
put on the market.151 In addition, significant investments are required to market new products to
HCPs and prospective patients in order to get traction in the market.

84.     Sanofi’s expenditures covering R&D, regulatory approval, and marketing give a good
indication of the barriers to entry in the EAI device market.152




                                                             3   Sanofi’s budget prior to the launch of Auvi-
Q called for sales and marketing expenditures totalling                      from 2013 through 2015, or
about               per year.154
                                   And Sanofi paid nearly               to a PR firm for media



150 Brown Dep. Ex. 6, at EPI-FL-0322016-18.
151 See, for example, Mylan’s Second Amended Responses and Objections to Plaintiffs’ First Set of Coordinated
  RFAs, RFA Response No. 10 (admitting “the FDA regulates EAI Drug Devices in the United States”), RFA
  Response No. 11 (admitting “that epinephrine autoinjectors may not be sold in the United States absent FDA
  approval”).
152 The expenditures for developing a generic product are somewhat different, but, as reflected in Teva’s

  experience in bringing to market a generic version of EpiPen, as described in Section III, those expenditures
  are also substantial.
153 SAN-EPI-0013253 at slide 22.
154 SAN-EPI-0171591 at 593.
155 SAN-EPI-0013253 at slide 22.




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communications and as part of the FDA approval process.156 These substantial fixed costs would
deter all but the most committed entrant from trying to compete against EpiPen in the U.S. EAI
market.

85.        Mylan’s own documents acknowledge these barriers.


                                                       The same document goes on to note that



                3. Direct evidence of Mylan’s monopoly power
86.        In addition to these indirect indicia of Mylan’s monopoly power in the EAI market, there is
also ample direct evidence of Mylan’s ability to control prices.




                                                         0   For example, after concluding its negotiations
with Express Scripts (ESI) – the largest U.S. PBM – over 2014 formulary placement, Mylan increased
the EpiPen price just before the new contract, which included price protection, was to go into effect.
As Express Scripts explained,




                                                                        In September 2016, the CEO of
Mylan, Heather Bresch, was called before the U.S. House Committee on Oversight and Government
Reform to account for why Mylan had raised the EpiPen price from around $100 for a pair of


156 SAN-EPI-0525843 at 851.
157 Zinn 30(b)(6) Dep. Ex. 10, at slide 23; Mylan Inc. Q1 2009 Earnings Call Transcript (May 1, 2009) (Heather
  Bresch stating “[Adding another patent to the already-patented EpiPen device] will also put in another
  barrier to entry because . . . now that market preferential would be the needle protected device and drug of
  which we have IP and stuff around. So I just think it is a very, very difficult hurdle to get through, and so feel
  confident that EpiPen is in good shape.”).
158 Zinn 30(b)(6) Dep. Ex. 10, at slide 24.
159 MYEP00835717 at slide 6.



                                                                                                        See also
  Graham 30(b)(6) Dep. Ex. 22 (Epinephrine Auto-Injectors Class Price History).
160 Graham 30(b)(6) Dep. Ex. 22




161   Kautzner Dep. Ex. 18.


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indicates that in the years before Auvi-Q entry,


                          These net price increases, particularly when coupled with EpiPen’s
consistent dominant market shares in the relevant market, plainly demonstrate that Mylan had
monopoly power.




167Average revenues per pen is a measure of average net price taking into account discounts offered
  throughout the distribution chain as well as directly to patients. As such, it is not directly comparable to the
  measure of net price to PBMs in Figure 8.

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           Figure 8: EpiPen and Auvi-Q List Prices and Net Prices per Pen Over Time

                                             Commercial Plans




Notes:
[1] Commercial transactions from eight PBMs are included in the data: ESI, CVS/Caremark, Prime, OptumRx,
Cigna, MedImpact, Aetna, and Medco. Medicaid and Managed Medicaid transactions are excluded from the
sample.
[2] Mylan EpiPens include the EpiPen, EpiPen Jr, EpiPen 2-Pak, and EpiPen Jr 2-Pak.
[3] List Price is the average WAC price per dosage unit (pen). Net Price is the average list price per dosage
unit net of any rebates, administrative fees, and price protection. Average prices are quantity weighted. WAC
prices from Graham 30(b)(6) Dep. Ex. 22 (page 3) were used when the transaction data did not provide a
WAC price.
Sources:
[1] MYEP030A, Mylan Transactional Data
[2] SANOFI0_10659_00002872, Sanofi Managed Care Transactional Data
[3] Graham 30(b)(6) Dep. Ex. 22 at page 3




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                    Table 2: Top PBMs by Share of Covered Lives, Commercial Plans
                                                                         Share of Lives
                      PBM Name
                                                     Jan. 2013             Jan. 2014          Jan. 2015
       Express Scripts                                  42%                   36%                38%
       CVS Caremark                                     11%                   11%                20%
       OptumRx                                          4%                    13%                10%
       Prime Therapeutics                               10%                   6%                 7%
       MedImpact                                        8%                    4%                 6%
       CIGNA                                            6%                    3%                 4%
       DST Pharmacy Solutions                           6%                    3%                 2%
       Catamaran                                        3%                    2%                 1%
       Aetna                                                                  4%                 1%
       WellDyneRx                                                             2%                 0%
       Other                                            7%                    7%                 3%
       Unknown                                          2%                    10%                7%
Notes:
Top PBMs (excluding entries for which the PBM name is unknown) are determined by the average number of
lives for commercial channels across January 2013, January 2014, and January 2015. PBMs outside of those in
the "Top 10" and outside those for which the PBM name is unknown are aggregated as "Other." The analysis
includes the 50 states, Washington, D.C., and U.S. territories; entries for which the state or territory is not
given are excluded. "Commercial" is defined as entries whose channel is "Commercial" or "Health Exchange."
Source:
MMIT Data



88.        In addition to all of the foregoing, Mylan’s actions after Auvi-Q was voluntarily recalled from
the market further confirm that Mylan had monopoly power. Mylan documents indicate that some
EpiPen rebates and price concessions that had been negotiated in 2015 were rescinded following
Auvi-Q’s voluntary withdrawal from the market. As Ms. Willing, Mylan’s former Director of
National Accounts, told Cigna during ongoing negotiation:


                                                                                          This was not merely a
threat –




168   Willing Dep. Ex. 28 at CIGNA_01462; see also Willing Dep. at 243




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                             More generally, Robert Coury, Mylan’s chairman,


                                                                   1




                                                                                                          I
discuss these price increases further in Section IX. For present purposes, this is further strong
evidence of Mylan’s monopoly power in the U.S. EAI market.

89.       In addition to direct evidence on Mylan’s ability to control pricing, there is also direct
evidence that Mylan has been able to exclude competition from other EAI products. I discuss this at
length in Section VII.



VI.       THE THREAT OF ENTRY FROM AUVI-Q
90.       Mylan was aware of the impending entry of Auvi-Q well before it came to market.172




                                                     Mylan also recognized that Auvi-Q would be a far



169   See PHP 0001498.
170   TXSTATE_00000065; see also MYEP01228538
                                                                   Brown Dep. Ex. 11



171 Coury Dep. Ex. 27.
172 For example,
  MYEP00088189 at 194, 196. The manufacturer of EpiPen had filed patent infringement litigation against
  the developers of Auvi-Q in January, 2011. King Pharmaceuticals, Inc. and Meridian Medical Technologies,
  Inc. v. Intelliject, Inc. U.S. District of Delaware, Case 1:11-cv-00065-UNA, filed Jan. 19, 2011. The litigation
  settled in 2012.
                                     MYEP00219825 at 828.
173 PFE_EPIPEN_AT00648955 (Pfizer email dated Aug. 12, 2008). Even at this early stage, the potential threat

  to EpiPen from this new technology was recognized:



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more formidable competitor than existing and prior products in the EAI market, such as Twinject,
Adrenaclick, and the Adrenaclick authorized generic.174




                                                                                              The
document then discusses



91.       Recognizing the impending threat of a new innovative EAI device, Mylan moved forward on
a number of fronts. First, Mylan (along with its partner Meridian) explored the possibility of




174   PFE_EPIPEN_AT00011449 at 505 (EpiPen 2011 Strategic Plan (December, 2010)

                                                    See also Foster Dep. at 186; Jones Dep. at 89-90

175   Foster Dep. at 79-80, 141-43; MYEP01198247.
                                                     MYEP00118416 at 432. See also MYEP00723817 at
  slides 10-12,



176




                                                                  MYEP00140812 at 814. See also
  MYEP00119242 at 246
                                            MYEP00740408 at slides 3-4




                                                                               MYEP00275501
                                                                   MYEP00275852

                                                                            MYEP01033504 at 505




177   MYEP00140812 at 824.
178   MYEP00140812 at 824; see also Patel Dep. Ex. 12 at MYEP00193064




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licensing or purchasing the product that ultimately became Auvi-Q. Second, recognizing that Auvi-
Q’s smaller size was viewed as a considerable advantage to EpiPen, Mylan attempted to compete to
develop a smaller EpiPen that, it hoped, consumers would find sufficiently appealing so that they
would remain EpiPen customers rather than switching over to Auvi-Q. Finally, unsuccessful in both
of these efforts, Mylan, instead of competing on the merits, developed an anticompetitive
exclusionary strategy, aimed at ensuring that Auvi-Q would be unable to expand its foothold in the
market, thereby preventing it from becoming a meaningful competitor.

92.        In the remainder of this section, I discuss Mylan’s efforts to license or acquire Auvi-Q
(Section VI.A) and its efforts to innovate so as to offer a better EpiPen (Section VI.B). I conclude
with a discussion of Mylan’s intent in embarking on an exclusionary strategy (Section VI.C). In
Sections VII-IX, I discuss the specifics of the exclusionary strategy and evaluate whether it
constitutes an anticompetitive restraint on the EAI market.

           A. MYLAN’S EFFORTS TO LICENSE OR ACQUIRE AUVI-Q
93.        As the Intelliject technology was winding its way through FDA approval,




                                                                                  In discussing
                                                                                             Thomas
Handel, who was Senior Vice President for Commercial Pharmaceuticals, observed,




                               Moreover,                                                                     -


179   Handel Dep. at 32-33



180   Handel Dep. at 42-43



181   Graham 30(b)(6) Dep. at 66.
182   Handel Dep. at 30. Mr. Handel goes on to explain the value of complementary EAI device technologies:




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94.




95.        But Mylan did not give up. Later, in 2014, after Mylan had already embarked on its
anticompetitive campaign to exclude Auvi-Q from the market,


While I cannot state with certainty the reasons for Mylan’s renewed interest                                at
that time, the only economically rational explanation for this behavior that I am aware of is that
Mylan was looking for a shortcut to return to the days of having no meaningful competitive threat.
In other words, Mylan was contemplating                           in an effort to avoid having to continue
to spend the time and incur the expense associated with its anticompetitive exclusionary campaign.




                                                                                    Handel Dep. at 31-33.
183 Handel Dep. Ex. 5 (emphasis in original). See also Handel Dep. at 56-57.
184 Handel Dep. Ex. 5.
185 Handel Dep. at 67-69; Handel Dep. Ex. 6 (term sheet).
186 Handel Dep. at 70-71




187   Graham 30(b)(1) Dep. Ex. 23
                                                                         Graham 30(b)(1) Dep. At 236


188   Id.; see Graham 30(b)(1) Dep. at 235-36




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           B. MYLAN’S EFFORTS TO DEVELOP A SMALLER MORE INNOVATIVE EPIPEN
96.        Later, after Mylan and Meridian efforts to license or acquire the Intelliject technology failed,
Mylan and Meridian launched a research initiative to develop a similar product. This was a direct
response to the impending launch of Auvi-Q.189




                    2   Mylan’s CEO, Heather Bresch,




189   See, for example, Hadley Dep. Ex. 9 at slide 27 (listing as “strategic response” to Auvi-Q to

                         see also Hadley Dep. at 155-59 (“Which features of the EpiPen did the marketplace
  find un-cool? A. That is was long.”).
190 Handel Dep. at 100-02.
191 Handel Dep. Ex. 12, at p. 4.
192 Handel Dep. at 94-95




193   PFE_EPIPEN_AT00611245 (August, 2011 email from Tom Handel stating,




                                                     ; Handel Dep. at 112


194   PFE_EPI PEN_AT00546952 at slide 8




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           C. MYLAN DEVELOPED A PLAN TO BLOCK COMPETITION FROM AUVI-Q
97.        Unsuccessful in its efforts to acquire or license Auvi-Q, and unable to successfully innovate
and thereby compete with Auvi-Q on the merits, Mylan pivoted and instead developed a plan to
block Auvi-Q from the market.

98.        In 2010, Mylan projected how the entry of Auvi-Q would impact the EAI market and Mylan’s
own profits.




99.        Mylan was also aware of,               , the substantial marketing resources available to a
pharmaceutical company as large as Sanofi.198 The executive summary of an October, 2012 Auvi-Q
market research project states,




100.       At this time, Mylan’s existing contracts with PBMs




195   Handel Dep. at 94-95; Graham 30(b)(6) Dep. at 25

196   MYEP01209503; MYEP01209505.
197   MYEP00140812 at 814.




198   Foster Dep. at 212
                                                                                              see also
  Willing Dep. at 252-54; Jordan Dep. at 48; Sussman Dep. at 98.
199 MYEP00603647 at 648; see also Zinn 30(b)(6) Dep. at 11




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101.      Toward the end of 2011, Mylan began to intentionally map out a new, aggressive strategy to
curtail the impact of Auvi-Q entry on EpiPen profitability. This strategy did not involve Mylan
outcompeting Sanofi, but rather Mylan hamstringing Auvi-Q so that it could not compete effectively
against EpiPen. An early indication of this shift in strategy is in an email sent by Harry Jordan,
Mylan’s Director for National Accounts. In discussing


                                                                                Mylan looked for
opportunities to negotiate contracts with PBMs that either put Auvi-Q on a less favorable tier of the
formulary, or to exclude Auvi-Q entirely. The November 2011 Global Brand Plan recommended this
strategy for commercial payers:



102.      These strategies to blunt the competitive threat from Sanofi so that Mylan would not have
to compete on the merits were discussed and developed in a series of meetings and strategy
sessions in December 2011. One email



200 See MYEP01208377 at slide 3 (Feb. 2011)                                        MYEP00262009
  (March 2011)
  MYEP00491274 at slide 12
              ; May Dep. at 30-31.
201 See, for example, MYEP00264796 at 797-798




                       Jones Dep. at 80-81




                                        ; Cunico Dep. at 24-25




202   MYEP00720503 at 504.
203   MYEP00088189, at 194, 228.


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Another email




                                                                 206   Another email




                              07   As later explained in another internal Mylan email,



103.      Once Auvi-Q launched in early 2013, Mylan tracked its success in getting Auvi-Q excluded
from large payers as it negotiated contracts for 2014. This was against a backdrop of Auvi-Q
gaining market share during 2013                                                       After the February,
2013 signing of the first large exclusionary contract with Coventry Health that made EpiPen the
exclusive EAI device on formulary, internal Mylan emails proclaimed,



204   MYEP01033592 at 593.
205   MYEP00723398; see also MYEP01336372, at 380


206   MYEP00723818 at slide 32
                                      MYEP00825394 at slide 2
               Graybill Dep. Ex. 6.



207 MYEP01032076.
208 Foster Dep. Ex. 20.
209 For example,

                                                                MYEP00402298 at slide 1. See also
  MYEP00074543




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disadvantaging or excluding Auvi-Q, and thus fall into the category of contracts that reference
rivals. I then describe in detail the structure of the contracts between Mylan and PBMs that
effectively foreclosed Auvi-Q from much of the EAI market. I also describe Mylan’s additional
strategies to increase the entrenched share of EpiPen in the marketplace and strengthen the
exclusionary impact of Mylan’s rebate contracts with PBMs. The section concludes with a discussion
of the magnitude of EpiPen’s entrenched share, which is an important determinant of the
competitive effects from Mylan’s conduct, as discussed in subsequent sections of the report.

        A. IDENTIFYING EXCLUSIONARY CONDUCT
105.     It is commonplace for firms to enter into contractual relationships with firms located
upstream or downstream in the supply chain. These relationships can foster efficient vertical
relationships by, for example, promoting relationship specific investments and lowering costs.
However, vertical market restrictions can also be used as an anticompetitive tool to exclude
competitors, resulting in harm to competition and to consumers.217

106.     For vertical contracting practices used by a single firm to be anticompetitive, two
conditions are necessary. First, the firm must have monopoly power in a relevant antitrust market
and use the practices to gain or maintain monopoly power.218 Second, the practices must have an
exclusionary effect or facilitate controlling prices.219 I have already demonstrated that Mylan has
monopoly power in the U.S. EAI market. In this section, I focus on the exclusionary effect of Mylan’s
actions on competition in the U.S. market for EAI devices.

107.    In general, exclusionary conduct engaged in by a dominant firm makes it more difficult for
rival firms to compete, whether by increasing the costs incurred by the rival firm in competing in
the market or by reducing the access of the rival firm to customers (or both). The result of such
actions is that the rival firm becomes less of a competitive constraint on the dominant firm than it


217 For a general discussion of the theory of vertical contracting, see Michael L. Katz, “Vertical Contractual
  Relations,” in Handbook of Industrial Organization, Volume I (Richard Schmalensee and Robert D. Willig,
  eds., Elsevier Ltd. 1989). For a discussion of the possible procompetitive and anticompetitive impacts of
  vertical restrictions, see Paul L. Joskow, “Vertical Integration,” in ABA Section of Antitrust Law, Issues in
  Competition Law and Policy, Volume I (W. Dale Collins, ed., American Bar Association 2008).
218 United States v. E. I. du Pont de Nemours & Co., 351 U.S. 377, 391, 100 L. Ed. 1264, 76 S. Ct. 994 (1956).

  Exclusionary practices may also have an anticompetitive effect by fostering collusion among several firms,
  no one of which is dominant, but I do not discuss those uses of vertical restraints here. See Fiona M. Scott
  Morton and Zachary Abrahamson, “A Unifying Analytical Framework for Loyalty Rebates,” 81 Antitrust Law
  Journal 777 at 790 (2017).
219 United States v. Grinnell Corp., 384 U.S. 563, 570-71 (1966).




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would be, but for the exclusionary conduct. Many instances of exclusionary conduct fall under the
rubric of raising rivals costs: the dominant firm makes it more costly for rival firms to compete by
taking actions that, for example, limit access to a scarce resource or reduce rival firms’ economies of
scale by limiting their market share.220 Other instances of exclusionary conduct can be categorized
as foreclosure strategies.221 These strategies, as a general matter, limit access of rival firms to
customers, which directly forestalls competition for some customers and can reduce the incentive
of rival firms to compete for others by limiting the size of the target market. But within these broad
categories are a wide range of conduct and contractual restrictions that can have an exclusionary
effect on rival firms.

108.      Firms can have both a static and dynamic incentive to engage in exclusionary conduct.222
The static incentive is based on the current impact on share and profits. The dynamic effect seeks
to limit the foothold a competitor gains in the market in order to prevent it from getting the scale
and market presence that will allow it to become a more formidable competitor in the future, when
it would be able to erode the dominant firm’s market power. In both cases, the dominant firm takes
actions that make it more difficult for rivals to compete, and the dominant firm reaps the rewards of
diminished competition in the form of higher prices and increased share, whether now or in the
future.

109.      Pro-competitive uses of vertical restraints, to the extent that they result in more efficient
vertical relationships, can also have the effect of making it more difficult for rivals to compete and
reducing their share. The key to distinguishing between anti-competitive and pro-competitive uses
of vertical restraints is understanding whether firms are competing on the merits, which is pro-
competitive, or whether the dominant firm is instead using its market power to tilt the competitive
playing field in a way that disadvantages new entrants or rivals with a smaller market share. There
are no blanket rules that distinguish pro-competitive and anti-competitive uses of vertical
restraints. Rather, each instance must be evaluated on its merits.223



220 See Thomas G. Krattenmaker and Steven C. Salop, “Anticompetitive Exclusion: Raising Rivals' Costs To
  Achieve Power Over Price," 96 Yale Law Journal 209 (1986).
221 See Jonathan B. Baker, “Exclusion as a Core Competition Concern,” 78 Antitrust Law Journal 527 (2013) at

  539-40; Philippe Aghion and Patrick Bolton, “Contracts as a Barrier to Entry,” 77 American Economic Review
  388 (1987).
222 Scott Morton and Abrahamson (2017) at 780.
223 See Baker (2013) at 548; Fiona M. Scott Morton, “Contracts that Reference Rivals,” in 27 Antitrust 72, 72

  (2013); Jonathan M. Jacobson & Daniel P. Weick, "Contracts that Reference Rivals as an Antitrust Category, The
  Antitrust Source )April 2012(.


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110.    One consideration that can help differentiate between competitive and exclusionary
conduct by a monopolist is whether the monopolist uses contracts that references rivals. In these
contracts, the terms of purchases from the dominant firm depend on whether, and how much, the
customer buys from the rival of the dominant firm.224 For example, a contract that provides a
discount once a manufacturer reaches a certain volume of sales with a customer does not reference
rivals, but a contract that provides a discount if the customer buys none or only a small percentage
of its needs from the rival, is. In that case, the discount the customer receives from the monopolist
depends not only on its purchases from the monopolist, but also on its purchases from competing
manufacturers. In the instant setting, a contact between a PBM and a pharmaceutical firm that calls
for discounts provided that the pharmaceutical firm’s product is placed on the highest formulary
tier for branded drugs does not reference rivals. But, a contract that calls for rebates only if the
products of competing firms are excluded from the formulary, is a contract that references rivals.

111.    Contracts that reference rivals such as those used by Mylan raise concerns because they
directly raise the costs of rivals by “taxing” transactions between the monopolist’s customers and
the rival and make them more expensive for the customer. Many (if not all) of the pro-competitive
aspects of contractual restrictions can be achieved through contracts that do not reference rivals
such as volume discounts.225

112.    Prior to the launch of Auvi-Q, contracts between Mylan and PBMs typically did not reference
rivals, as the rebates offered were only contingent on the treatment of EpiPen, and there were no
restrictions on the treatment of other, competing EAI devices. For example, in the sixth amendment
to Mylan’s agreement with Aetna, an amendment that was finalized in October 2012 prior to the
launch of Auvi-Q,




                     In short,
                                                                                      The rebate


224 Scott Morton (2013) at 72; Jacobson and Weick (2012).
225 Scott Morton and Abrahamson (2017) at 782.
226 May Dep. Ex. 18.
227 May Dep. at 168-70.


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conditions negotiated in 2013 – after the launch of Auvi-Q – changed dramatically. Using the same
example,




113.       To be sure, this shift from contracts that do not reference rivals to those that do was not
unique to Aetna. After the launch of Auvi-Q, it became explicit Mylan policy for contracts between
Mylan and PBMs to reference rivals – placing strict conditions on the treatment of Auvi-Q and other
EAI devices in order to secure the contracted-for EpiPen rebates. These contracts that reference
rivals provide a strong indication that Mylan’s actions were not competition on the merits, but
rather, were intended to tilt the playing field such that Auvi-Q would not be able to compete
effectively. I now assess these contracts in greater detail.

114.       While my focus for identifying exclusionary conduct is the structure of Mylan’s formulary
contracts with PBMs, there are other aspects of Mylan conduct, discussed throughout my report
that also provide indicia of the exclusionary nature of Mylan’s conduct. As already discussed, it is
clear that when Auvi-Q was about to enter and later while Auvi-Q was in the market, Mylan’s intent
in developing its strategy was not to expand the overall EAI market, to make EpiPen a better
product, or even primarily to expand EpiPen sales. Rather, the goal was explicitly to foreclose Auvi-
Q from the market. To further its exclusionary goal, Mylan embarked on a number of strategies
which together served to effectively foreclose Sanofi as an effective competitor. Moreover, Mylan’s
documents make it clear that its competitive strategies were not just designed to win individual
PBM customers, but to broadly foreclose Sanofi from the market, taking advantage of the impact of
excluding Auvi-Q at large PBMs to reduce the competitive impact of Auvi-Q market-wide. As part of
that broader goal, Mylan was willing to follow a less profitable exclusionary strategy with at least
one PBM customer in order to further the overall goal of foreclosing Auvi-Q.



228   May Dep. Ex. 19.

229   May Dep. at 171-72




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        B. MYLAN’S USE OF EXCLUSIONARY REBATES
             1. Characteristics of exclusionary rebates
115.    By linking its offered rebate level to formulary status for EpiPen as well as Auvi-Q, Mylan
effectively made the rebate contingent on the share of EpiPen purchases through the formulary.
Mylan provided higher rebates in exchange for the PBM adopting formulary restrictions that
lowered share for Auvi-Q. As a result, the rebates offered by Mylan are analogous to loyalty rebates
that explicitly make the rebate paid contingent on achieving a specified share of EAI purchases. The
PBM only gets the maximum rebate by placing Auvi-Q in a disadvantaged formulary position that
restricts Auvi-Q sales and inflates the EpiPen market share. Thus, rebates enable Mylan to exploit
its monopoly power and manipulate PBM formulary agreements to reduce the competitive impact
of Auvi-Q, to the disadvantage of both Auvi-Q and customers.

116.    As discussed in the economics literature on loyalty rebates, there are three aspects of
Mylan’s exclusionary rebates that make them effective as an exclusionary device.230 First, the
rebates were contingent on a preferred or exclusive formulary position for EpiPen that gave EpiPen
a larger share than it would have secured through competition on the merits if each EAI device had
equal formulary status. The rebate acts as an inducement to the PBM to structure its formulary so
that EpiPen receives an increased share of sales.

117.    Second, Mylan’s contracts effectively set a high share threshold before the PBM could
receive a rebate. Mylan required a PBM to exclude Auvi-Q from at least the most favorable
formulary tier and oftentimes from the formulary entirely (or place restrictions on Auvi-Q that had
the effect of treating it as if it was not on the formulary), meaning that EpiPen would typically
obtain more than a 90% share. The rebate was then applied to this volume of purchases. If the PBM
did not agree to the formulary restrictions on Auvi-Q, it could not get the maximum rebate from
Mylan. As a result, each EpiPen sale would be relatively expensive, since the PBM would not get the
rebate (and other favorable terms such as price protection) that it would get had it accepted
Mylan’s exclusionary rebate offer.

118.    Third, the effectiveness of Mylan’s exclusionary rebates hinged on Mylan having an
entrenched share of the EAI market. The exclusionary rebates offered by Mylan could not be
matched by Sanofi because switching all or nearly all consumers from EpiPen to Auvi-Q was not


230Scott Morton and Abrahamson (2017) at 783; DeGraba (2013); Nicholas Economides,
  “Loyalty/Requirement Rebates and the Antitrust Modernization Commission: What is the Appropriate
  Liability Standard?,” 54 Antitrust Bulletin 259 (2009) at 260, 273.

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possible. As discussed above, demand for the EpiPen was entrenched and plans knew that if EpiPen
were excluded, there would be significant patient disruption and a substantial percentage of
customers would continue to demand EpiPen anyway – which the PBM would then be buying on
unfavorable terms. Therefore, the PBM faced a choice between agreeing to the exclusive rebate
offered by Mylan and receiving the large discount off of the EpiPen list price (along with other
benefits such as price protection) for the overwhelming majority of its EAI purchases, or placing
Auvi-Q on an equal or preferred formulary position to EpiPen. Were the PBM to place Auvi-Q on an
equal or preferred formulary position, the PBM would receive a large discount for each of its Auvi-Q
purchases, but, because of the significant percentage of the market that is non-contestable, many
patients would still demand EpiPen, and the PBM would receive no (or a significantly smaller)
rebate for each of these EpiPen purchases. Consequently, Mylan was able to structure its rebate
offers such that Sanofi was not able to compete head-to-head with Mylan on the merits; the large
lump-sum loss that PBMs knew they would face if they included Auvi-Q on the formulary was too
large.

119.     This played out repeatedly in the marketplace. Sanofi was generally unable to counteract
Mylan’s exclusionary rebates and overcome the large lump-sum loss that PBMs would incur were
they to add Auvi-Q to their formularies, and where Sanofi was able to get Auvi-Q on formulary, it
often had to go to extraordinary measures to do so – including offering rebates on other products
just to get Auvi-Q taken off the exclusion list. 231 If discounts had instead been applied to each EAI
purchase without regard to what the customer was purchasing from the rival, Sanofi could have
lowered price to gain share. But because of EpiPen’s substantial entrenched (non-contestable)
market share, which Sanofi could not compete for, Sanofi could not offer sufficient inducements on
sales of contestable EAI devices to make it in the PBM’s interest to reject Mylan’s offer and give




231In order to get off of the Express Scripts exclusion list, Sanofi had to offer not just significant rebates for
  Auvi-Q, but also rebates on          – one of Sanofi’s most successful products at the time. These additional
  points offered             were far more valuable to PBMs than any rebate Sanofi could offer for Auvi-Q.
  Borneman 30(b)(1) Dep. at 139


                                                    Kautzner Dep. at 168




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preferential formulary position to Sanofi. In short, the loss of discounts on all EpiPen sales served
as a substantial incentive for the PBM to give preference to EpiPen and exclude Auvi-Q entirely.

120.       Mr. Foster – Mylan’s former director of national accounts – captured this exact concept
when negotiating with MedImpact.




                                                                         It is for this very reason that
PBMs felt that they had no choice but to accept Mylan’s exclusionary rebate offers.

121.       The impact of Mylan’s exclusionary rebates can be seen in Figure 9, which is taken from
Scott Morton and Abrahamson (2017).233 Mylan offers an incremental rebate, d, that is contingent
on the PBM adopting formulary restrictions on EpiPen competitors that give EpiPen a threshold
share h of EAI sales. Agreeing to those formulary restrictions increased the total rebate amount
flowing to the PBM by h ⨉ d. Mylan had a large entrenched share of the EAI market, which meant
that Auvi-Q (and other EAI devices) were competing for the residual contestable share s of the EAI
market. The contestable share s is the maximum share Auvi-Q could hope to attract if it tried to
compete with a rebate of its own. This limits the total revenues that could be captured by Auvi-Q.
The incremental EpiPen rebate in exchange for exclusivity was large relative to the revenues that
Auvi-Q could capture even if it attracted the entire contestable share, making it difficult for Auvi-Q
to offer rebates that would induce the PBM to forego the rebate offered by Mylan. In Section VIII, I
explain in more detail, with real world examples, how EpiPen’s entrenched share made it
unrealistic for a PBM to consider foregoing the Mylan rebate offer and give preferential formulary
position to Auvi-Q.




232   Foster Dep. Ex. 4.
233   Scott Morton and Abrahamson (2017) at 836, Figure 1.

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                      Figure 9: A Graphical Representation of an Exclusionary Rebate




               2. Mylan intended for its PBM contracts to be exclusionary
122.      There is little doubt that Mylan structured its PBM contracts with the intent that they be
exclusionary. Mylan documents, and the testimony of its current and former employees, make it
abundantly clear that the largest discounts offered on EpiPen were contingent on the PBM agreeing
to formulary restrictions on Auvi-Q so as to prevent Auvi-Q from gaining a foothold in the market.
For example,




                                              Along similar lines, Mr. Jordan, Mylan’s former director
of national accounts,


234   MYEP00624286 at slide 7.
                                       May Dep. Ex. 4.


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                                            In 2014, Mr. Potter – Mylan’s Senior Vice President for
National Accounts – stated



123.       As part of his negotiations with Prime, Mr. Foster stated
                                                                                           Mr. Foster
expressed the same to Anthem – offering significantly enhanced rebates on the condition that
Anthem                                                      In discussing the rebates agreed to with Express
Scripts, Mr. Foster noted that
                   As Ms. Minton of Anthem (an ESI client) explained, this was done because


             1




                                                                    . In short,


235   Jones Dep. Ex. 12; see also Jones Dep. at 290
                     Willing Dep. at 108-09

                                                                 Willing Dep. at 121-122




236   Willing Dep. at 63-64. See also Willing Dep. Ex. 2


237   MYEP00412405-06.
238   Foster Dep. at 232-33



239   Minton Dep. at 197
                                                      Graham 30(b)(1) Dep. Ex. 21
                                                                      .
240   Minton Dep. at 201.
241   Minton Dep. at 201.


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124.       In addition, in the instances in which the PBM decided that it preferred to make Auvi-Q
available (either in an unrestricted tier 2 or tier 3 position), Mylan would nevertheless go back to
those payers in an effort to get them to reconsider imposing restrictions on competing EAI products
in exchange for additional rebates. For example,


                                                                             The same was true of
Mylan’s negotiations with Humana.




                                                     As another example, Mr. Jordan testified



242   May Dep. Ex. 15; see also Minton Dep. Ex. 16




243   Byrne Dep. Ex. 3, at PS0077863.
244   Willing Dep. at 73-75.




                                                                Willing Dep. Ex. 3


                                                                                . See also MYEP00304697


               HUM006208 (Oct. 9, 2012 email from Harry Jordan, National Account Director for Mylan, to
  Bethanie Stein of Humana, in which Jordan writes,
                                                                                       SAN-EPI_A-
  0041389


245   Humana004351.


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                                     Similarly, Mr. Jordan


                                    As yet another example, after Auvi-Q became co-preferred with
EpiPen on CVS’s commercial performance drug list in July 2014,




125.       As an additional financial inducement, Mylan would offer price protection against future
EpiPen price increases if PBMs would place restrictions on Auvi-Q. Payers recognized that given
the history of regular, sizeable list price increases for EpiPen (which continued through 2016) the
net price for EpiPen would keep rising, whatever the negotiated discount rate, unless the payer
negotiated a limitation on future price increases. Price protection gave payers a contractual cap on
EpiPen price increases for their covered lives.249
                                                                Price protection is costly for Mylan since it
decreases the revenue flowing from list price increases.




                 As part of his negotiations with Prime, Mr. Foster explained that


                                            Thus price protection augmented the impact of Mylan’s
exclusionary rebates: the PBM would get an additional reduction in the total payments for EpiPen,
but only if they agreed to formulary restrictions. Because Auvi-Q could not attract the non-

246 Jordan Dep. at 205-09; Jordan Dep. Ex. 26.
247 Jordan Dep. Ex. 29.
248 Anderson Dep. Exs. 12 and 13.
249 Foster Dep. at 90-91


250   MYEP00603858 at slide 5

251   Foster Dep. at 92

                          see also Foster Dep. at 236-38



252   MYEP00602480 at 481; see also Foster Dep. at 233




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contestable share of the EAI market, Sanofi could not effectively counter the financial inducement
from Mylan’s price protection offer with price protection of its own.

              3. Negotiation of Auvi-Q exclusion rather than disadvantaged formulary placement
126.    A key element of Mylan’s exclusionary strategy was to not simply negotiate preferred
formulary positioning for EpiPen, but to negotiate exclusive formulary coverage for EpiPen with
Auvi-Q left off the formulary entirely or restricted through prior authorization and step therapy
restrictions. In the EAI market, step therapy is effectively equivalent to exclusion, as EAI devices do
not lend themselves to that therapeutic approach. Unlike therapies for chronic conditions, where a
patient can try one product, and then the patient and HCP can switch to another product if the first
is not working, EAI devices are only used in emergency situations, where it is meaningless to talk
about a progression of therapies.253 This assessment was expressed


                                                                          4   As quoted in one internal
Mylan email,
                                                                           And yet, despite industry
participants seeing little sense in requiring step therapy for EAI products, Mylan nevertheless used
step restrictions to limit access to Auvi-Q. While patients could in principle still get Auvi-Q even
with these restrictions in place,




127.    By making the rebate conditional on Auvi-Q being excluded from the formulary, rather than
being relegated to a higher co-pay tier of the formulary, Mylan increased the threshold share for its
exclusionary rebate offer. My empirical analysis of Auvi-Q shares at different health plans and in

253 Expert Report of Dr. Maryann Michelis (Feb. 2, 2019) at ¶ 38.
254 SAN-EPI-0545367.
255 Korczynski Dep. Ex. 17.
256 MYEP00275501; see also MYEP00367121




257 See Barry 30(b)(1) Dep. at 370-71; MYEP01250453, at slide 12
                                                            ; Jan Dep. at 115-16; AG00000800, at slide 10
  (“[a]bout 85 percent of patients would be willing to pay more for [Auvi-Q] over their current EAI.”); Patel
  Dep. Ex. 12.

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different states, which is discussed in the Appendix, confirms that stricter formulary restrictions on
Auvi-Q led to a lower Auvi-Q share of prescriptions. This had the impact of not only moving more
share to Mylan, but also of increasing the incremental rebate dollars offered by Mylan for accepting
the restrictions on Auvi-Q. That in turn made it harder for Sanofi to counter the Mylan offer with
inducements of its own.

128.    In negotiating exclusives, Mylan took advantage of the vulnerability of a new product to
exclusionary strategies by a dominant firm before it has an opportunity to get established in the
marketplace. Because the new product does not have an installed base of users and often is not
immediately added to PBM formularies as soon as it is first available in the marketplace, the
administrative cost to the PBM of not putting the new product on the formulary is relatively small.
In contrast, the administrative cost of excluding EpiPen was significantly larger, given EpiPen’s
installed base and the number of patients who would try to continue to get EpiPen through, for
example, prior authorizations. As noted in one internal Mylan email




             4. All-or-nothing offers to PBMs
129.    In some cases, Mylan not only offered higher discounts for restrictions on Auvi-Q, but
declined to offer significant discounts for any formulary positioning other than one that required
the complete exclusion Auvi-Q. In effect, Mylan was offering these PBMs an all-or-nothing choice:
place Auvi-Q in a severely disadvantaged formulary position, or else pay full list price for EpiPen.
For example, in September, 2013 Mylan signed an amended rebate agreement with Express Scripts,
the largest PBM, effective January 1, 2014,




                             Thus the only options Express Script had were to agree to make EpiPen
exclusive or to buy EpiPens at the full list price.260 As stated in a July 2014 internal Mylan email:



258 MYEP01099685.
259 MYEP00000926 at 928-9.
260 See May Dep. at 150




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                                                                      Along similar lines, when
negotiating with MedImpact, which was evaluating competing offers from Mylan and Sanofi for its
high control plan,




130.     By giving PBMs an all-or nothing choice, Mylan augmented the exclusionary effect of its
rebate offer. With an all-or-nothing offer, the entire rebate—not just the incremental rebate above
the offer for equal formulary position—provides an inducement to exclude Auvi-Q. This increases
the rebate dollars that the PBM stands to lose by keeping Auvi-Q on formulary, and makes it harder
for Sanofi to overcome the exclusionary contract offered by Mylan.

             5. Bundled discounts across plans
131.     The negotiations with Prime exhibit one additional tactic Mylan used to augment the
exclusionary impact of its discounts. Prime operated as the PBM for a number of non-profit Blue
Cross Blue Shield plans. In negotiations with Prime in December, 2013,




                                                          4   Thus Mylan was leveraging its dominant
share across BCBS plans in order to try to extract additional exclusivity and further foreclose Auvi-
Q from the marketplace, while making it correspondingly harder for Sanofi to match the discounts
offered by Mylan.




261 MYEP00412405 at 406.
262 MYEP00254218 at 219.
263 See MYEP00602480 at 481




264   MYEP00620009




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        C. MYLAN IMPLEMENTED NUMEROUS STRATEGIES TO BLOCK AUVI-Q BY INCREASING
           THE SHARE OF NON-CONTESTABLE DEMAND

132.    An additional consideration that has been used to determine whether conduct by a
monopolist is anticompetitive is looking at the full range of conduct taken by the monopolist to
determine whether the combined set of strategies, taken as a whole, is anticompetitive. Consistent
with the economic literature, courts have found that a combination of actions can constitute
exclusionary conduct even though each alleged anticompetitive practice, if viewed in isolation,
might not have an exclusionary effect.265 In particular, in a case such as at issue here where the
primary means of exclusion is not price but a collection of strategies which together are alleged to
foreclose competition, the question is whether those practices in their entirety “improperly
foreclosed a substantial share of the market, and thereby harmed competition.”266 As part of its
exclusionary course of conduct, Mylan implemented a number of strategies that were designed to
increase the entrenched share for EpiPen market-wide, thus making it more difficult for Sanofi to
gain share and overcome the exclusionary discounts offered by Mylan.

              1. Mylan exploited spillover effects to increase its entrenched market share
133.    A crucial element of Mylan’s strategy was its understanding that in blocking Sanofi’s access
to formularies it would not simply be competing for business patient by patient and PBM by PBM.
Rather, Mylan would use its entrenched market share, and the small initial share for Auvi-Q, to
impede Sanofi from expanding its footprint in the marketplace. The overriding goal was not to win
access at individual PBMs, but to block access to the marketplace as a whole by teaching physicians,
consumers, and plans that Auvi-Q was not a realistic option. Several years after Harry Jordan
articulated the strategy of blocking further competition, another Mylan executive summarized




265 See B. Douglas Bernheim and Randal Heeb, (2014). “Framework for the economic analysis of exclusionary
  conduct,” in The Oxford Handbook of International Antitrust Economics (R. D. Blair & D. D. Sokol eds., Oxford
  University Press 2014), at 28; LePage’s Inc. v. 3M, 324 F.3d 141, 162 (3d Cir. 2003) (en banc) (“The relevant
  inquiry is the anticompetitive effect of 3M’s exclusionary practices considered together. As the Supreme
  Court recognized in Cont’l Ore Co. v. Union Carbide & Carbon Corp., 370 U.S. 690, 699 (1962), the courts
  must look to the monopolist’s conduct taken as a whole rather than considering each aspect in isolation.
  The Court stated, ‘in a case like the one before us [alleging § 1 and § 2 violations], the duty of the jury was to
  look at the whole picture and not merely at the individual figures in it.’”).
266 ZF Meritor, LLC v. Eaton Corp., 696 F.3d 254, 269 (3rd Cir. 2012).




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134.      To secure this market-wide lockout, Mylan took advantage of so-called “spillover” effects.
These effects arise because Mylan was able to leverage the exclusionary restrictions it secured at
some of the largest PBMs and use them to foreclose patients that used other PBMs in the same
geographic region from procuring an Auvi-Q.268 The net effect of doing so was to increase Mylan’s
entrenched share throughout the market.

135.      There are several factors that contribute to this spillover effect, but perhaps the most
important is that HCPs write prescriptions based in part on what products they know are available
to all of their patients. Since patients are insured by a multitude of plans, it is a challenge for HCPs
to take into account the formulary options for each patient when prescribing an EAI.
                                                                                                As a result, if
one or more large plans in a region have excluded Auvi-Q and only make EpiPen available, HCPs
will tend to prescribe EpiPen to other patients in the region, even if the health plans for those
patients provide equal or even preferred access to Auvi-Q (or other competing EAIs).

136.      Mylan was well aware of the importance of these spillover effects. As explained by Bruce
Foster, the National Account Director for Mylan,


Stated in more formal economic terms, this spillover effect creates an externality in which
negotiating a preferred position at one large PBM will tend to increase sales made through other




267   MYEP00304665.
268   See MYEP00257151



269 MYEP00892918 at 919; Byrne Dep. at 244 (“So I’ve seen spillover discussed in the negative context of if a
  product is restricted on a number of plans or not covered by a number of plans, then prescribers might
  prescribe the product that is covered rather than try to deal with the coverage determination for the one
  that is not covered.”); Expert Report of Dr. Maryann Michelis (Feb. 2, 2019) at ¶ 45.
270 Foster Dep. at 278. See also MYEP00100131 at 136



  MYEP00623587 at 588
                                                                                    ; MYEP00119242 at 246




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PBMs in a region.271 One Mylan document


                                                                               As described by one
Mylan Regional Account Manager,




137.       The spillover effect operates in part because formulary decisions are observed both by
physicians and other PBMs.274 As Mr. Foster observes,




                      This contributes to the tendency for physicians to prescribe the products that
have exclusive positions at the largest PBMs in a region.


                                         All told, these spill-over effects serve to discourage HCPs from
learning about new competitive products, as they continue to default to what they know is widely
available. And once HCPs are conditioned to stick with the entrenched product (and avoid new
products), the window for widespread adoption of new products quickly closes.

                2. Empirical evidence of spillover effects
138.       To ascertain whether, in fact, these spillover effects were significant, I performed an
empirical analysis. Using industry standard data from MMIT and IQVIA detailing prescription
volumes by plan and formulary status from January 2013 to October 2015 (the period during which

271   For example,

                                                                  MYEP00464046.
272 MYEP00140812 at 838.
273 MYEP00611547.
274 Foster Dep. at 60.


275   Foster Dep. at 289.
276   Willing Dep. at 185-86; see also MYEP00256575 at 579,




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Auvi-Q was on the market), I statistically analyzed whether the Auvi-Q shares for one plan in a state
depend on the statewide Auvi-Q Commercial and Medicare/Medicaid prescription shares of all EAI
prescriptions in the previous month. This regression accounts for a plan’s EpiPen and Auvi-Q
formulary statuses, the state in which the plan operates, the PBM that the plan belongs to, and
changes over time. Comparing plans across states while holding other determinants fixed allows
me to ascertain whether a plan in a state with a higher lagged state-level Auvi-Q share has a higher
Auvi-Q share than similar plans in other states. On average, among commercial plans, a 10
percentage point increase in the lagged state-level Auvi-Q share generates around a 6 to 9
percentage point increase in plan-level Auvi-Q shares. These results are statistically significant.
The Appendix discusses the methodology and results in more detail. This result demonstrates that
in states where Mylan was able to restrict access to Auvi-Q at the leading PBMs in the state, the
Auvi-Q share fell on average across PBMs in the state.

             3. Messaging to HCPs
139.     As part of its efforts to increase non-contestable demand,




                                       The same document


                                        This strategy was put into practice. For example, after
successfully excluding Auvi-Q from the United Healthcare formulary,




277   MYEP00252719




278 MYEP00100131 at 144.
279 MYEP00100131 at 137.
280 MYEP00756222 at 224.




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140.      This messaging had its intended effect.




141.




281 MYEP00451143.
282 MYEP00892918 at 919.
283 MYEP00100131 at 146. See also MYEP00613820




                              .
284   MYEP01099685.
                                                                                See also
  Jones Dep. at 42


                                                         Jones Dep. at 215-16




             MYEP00604317

  MYEP00239355




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                                       Mylan thought this message would be the best way to counter
what its market research showed were favorable physician reactions to Auvi-Q attributes.286

142.      As an example of the effectiveness of these formulary tools for communicating with HCPs
that was shared among EpiPen’s management team,




               4. Deceptive marketing to HCPs
143.      Mylan did not only tout its superior formulary placement to HCPs in an effort to further
entrench EpiPen’s market share, but it also




                             Mylan had no basis for making this claim,


285   MYEP00548252 at 256 (slide 9).
286   See MYEP00734988



287 MYEP00667337 at 338.
288 Id.
  MYEP01206017 at slide 2-3; MYEP00162485, at slide 2.
289 MYEP00667337.
290 MYEP00305511. See also MYEP00253140

                                                                                  MYEP00892918



                                       MYEP00252719



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                                                              This deceptive marketing messaging helped
to ensure that HCPs would be reluctant to write Auvi-Q prescriptions once prominent PBMs started
giving preferential formulary placement to EpiPen. After observing the decline in Auvi-Q share in
the beginning of 2014 due to the exclusionary formulary restrictions noted above, one Mylan
regional sales manager relayed the news to his sales team:




                                                                          This concern about HCPs
interpreting lack of access as evidence of concerns about safety or efficacy was noted by Mylan in
its opposition to West Virginia excluding EpiPen from its Medicaid formulary, yet it had no qualms
about taking advantage of these effects when it stood to benefit from them.293

                5. Spillover effects from exclusives with government programs to commercial plans
144.       In order to generate additional spillover effects that increased EpiPen’s entrenched market
share in commercial plans and prevented Auvi-Q from getting established in the market, Mylan
sought to have Auvi-Q excluded from Medicaid and Medicare Part D formularies.294 This strategy
recognized that there are spillovers from government program coverage to commercial coverage:
to the extent that Auvi-Q was not available for Medicaid and Medicare enrollees, that would make
HCPs less likely to prescribe Auvi-Q for all their patients, and in particular for commercial patients.
As Tim Miller, a Mylan Vice President of Sales and Commercial Operations, explained


291   Korczynski Dep. at 81-82
                         Graham 30(b)(1) Dep. at 178-79

292 MYEP00450839.
293 Bresch Dep. Ex. 47 (Graham Affidavit at ¶12) (“Additionally, if EpiPen® is removed from the "preferred"
  category of the EAI therapeutic class on the West Virginia preferred drug list, I believe that some medical
  professionals, absent sufficient explanation to the contrary, will erroneously presume that its replacement
  in the "preferred" category, Auvi-Q®, is safer or more effective than EpiPen®. This presumption would
  result in substantial harm to Mylan Specialty's reputation and goodwill.”).
294 Because of the misclassification of the EpiPen, Mylan was able to further tilt the playing field in its favor

  when negotiating with government programs (as Auvi-Q was not misclassified), making it even easier for
  Mylan to obtain an exclusive position, generating further spillover effects to commercial plans.
  MYEP00082769

                                                                                                         Brown
  Dep. Ex. 19




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                                         As with its deceptive marketing tactics, Mylan once again
cited this spillover effect to commercial customers when opposing West Virginia’s attempt to get
EpiPen excluded from its Medicaid formulary, yet, once again, it had no qualms about taking
advantage of the effects when it stood to benefit from them.296 My empirical analysis of Auvi-Q’s
share across plans and states, as discussed in detail in the Appendix, demonstrates that there was in
fact a spillover effect from exclusion on Medicaid/Medicare formularies that reduced Auvi-Q’s share
on commercial plans in the same state.

145.    Two characteristics of the government programs made exclusivity a particularly effective
tool to foreclose Auvi-Q. First, patients enrolled in Medicaid and Medicare could not use co-pay
coupons to reduce their out-of-pocket cost; coupons are an illegal kickback in that context.297 Thus
those patients would bear the full cost of higher co-pays from Auvi-Q being in a disadvantaged
formulary position. As Mylan’s National Account Director wrote in an internal email,




                                                   8   He goes on to say,
                                                                                              In addition,
being excluded from Medicaid is particularly significant given that about half of Medicaid enrollees
are children.300 As Mylan recognized when designing and implementing its school program, young
anaphylaxis patients who are first trained and equipped with EpiPens are more likely to continue to
use EpiPens rather than competing products.

             6. Co-pay coupons
146.    In a further effort to expand the degree to which there is non-contestable demand, Mylan
began to use $0 co-pay coupons, which eliminated the cost to patients of buying EpiPen on the

295 MYEP00610781 at 782-83.
296 Bresch Dep. Ex. 47 (Graham Affidavit at ¶13) (“I further believe that EpiPen® will lose market share
  among other West Virginia users of EAIs as a result of changes to EpiPen's® status on the West Virginia
  preferred drug list.”).
297 Office of Inspector General, “Pharmaceutical Manufacturer Copayment Coupons,” Department of Health

  and Human Services (September 2014),
  https://oig.hhs.gov/fraud/docs/alertsandbulletins/2014/sab_copayment_coupons.pdf.
298 MYEP00624305.
299 Id.
300 See Medicaid.gov, “October 2018 Medicaid & CHIP Enrollment Data Highlights,”

  https://www.medicaid.gov/medicaid/program-information/medicaid-and-chip-enrollment-data/report-
  highlights/index.html.


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preferred formulary tier. The timing of the launch of this program was no coincidence – the
coupons were first made available in April 2013, a few months after the launch of Auvi-Q.301 Mylan
had not used $0 co-pay coupons for EpiPen previously.302 These coupons served to further
entrench EpiPen’s market share by increasing the cost to PBMs from rejecting an all-or-nothing
offer from Mylan. If the PBM refused to exclude Auvi-Q, and, as a result would not be able to offer
EpiPens, then customers who had been using Mylan’s $0 co-pay coupon would no longer be able to
get free (to the patient) EpiPens. As described by Mylan in its communication to its sales team




                                               Mylan’s strategy shows how the deployment of coupons
for the end consumer allows a manufacturer to defeat the PBM’s attempts to create price
competition with a rival treatment.

147.    In addition to further entrenching Mylan’s market share, the $0 co-pay coupon program
also served to raise Sanofi’s costs. These co-pay coupons put Sanofi at a cost disadvantage relative
to Mylan, given Mylan’s success in getting preferred formulary positioning for EpiPen. Sanofi could
(and eventually did) offer its own $0 co-pay coupon, but because Auvi-Q was often on a higher
formulary tier, the cost to Sanofi from the $0 coupon program was substantially higher per
customer than the cost to Mylan.304 Moreover, because of Mylan’s strategy of getting PBMs to agree
to exclude Auvi-Q, rather than just putting Auvi-Q on a less preferred tier, Sanofi was often not able
to get around the impact of formulary positioning with its own co-pay coupon.


301 Mylan, “Mylan Specialty L.P. Announces 25th Anniversary Celebration of EpiPen® (epinephrine) Auto-
  Injector” (April 25, 2013), http://newsroom.mylan.com/press-releases?item=122761; Graham 30(b)(1)
  Dep. at 185.                                                                            ; see Graham
  30(b)(6) Dep. at 245.
302 Mylan’s Second Amended Responses and Objections to Plaintiffs’ First Set of Coordinated RFAs, RFA

  Response No. 49 (Mylan admitting that in 2013 it “announced co-pay assistance programs for EpiPen
  products.”); Id. at No. 48 (Mylan unaware of whether it offered co-pay assistance prior to 2013); Graham
  30(b)(6) Dep. at 240 (“Q. Mr. Graham, I want to turn to Mylan’s co pay program. The zero dollar co-pay
  program, in particular, when did that begin? A. I think we established yesterday the document we looked at
  was early 2013.”).
303 MYEP00756222 at 223.
304 SAN-EPI-0376550; Whitaker Dep. at 108-09; Guenter Dep. at 156.




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             7. Exclusionary restrictions in the EpiPen4Schools program
148.    Mylan’s exclusionary strategy to further entrench EpiPen’s market share and raise Sanofi‘s
cost of countering Mylan’s exclusionary discounting is also reflected in Mylan’s EpiPen4Schools
program. That program offers two two-packs of EpiPens to qualifying schools, in an effort to ensure
that children have access to EAI devices in the event of a life-threatening allergic reaction.305 Part of
the motivation for launching the effort to get EpiPens in schools
                                             As with the co-pay coupon program, the timing of the
EpiPen4Schools program was no coincidence. Sanofi issued its press release announcing FDA
approval of Auvi-Q on August 13, 2012.307 The following day, Mylan rolled out the EpiPen4Schools
program.308 Mylan’s effort got a boost from passage of the School Access to Emergency Epinephrine
Act, which gives preferential federal funding to states that required or recommended that schools
stock EAI devices, which nearly every state now does.309 The EpiPen4Schools program also made
additional pens available at a discounted rate to schools, but to get the lowest rate, the school had
to sign a form certifying that it will not purchase any competitive EAI devices – including Auvi-Q –
during the next twelve months.310


305See Mylan’s description of the EpiPen4Schools program, available at https://www.epipen4schools.com/.
  Note that Mylan has similar programs with other places frequented by children. For example, Mylan and
  Walt Disney entered an agreement to make EpiPens available at Disney theme parks and cruise ships. See
  Mylan’s press release, “Mylan Signs Strategic Alliance Agreement with Walt Disney Parks and Resorts to
  Enhance Access to EpiPen® (epinephrine) Auto-Injectors,” Mylan.com (Nov. 7, 2014) available at
  http://investor.mylan.com/news-releases/news-release-details/mylan-signs-strategic-alliance-agreement-
  walt-disney-parks-and
306




                                                                              MYEP00454423
307 Sanofi, “Sanofi Announces FDA Approval for Auvi-Q™, First Voice-guided Epinephrine Auto-injector for
  Patients with Life-threatening Allergies” (Aug. 13, 2012), http://www.news.sanofi.us/press-
  releases?item=131480.
308 Mylan, “Mylan Specialty Offers Free EpiPen® (epinephrine) Auto-Injectors to Schools Nationwide” (Aug.

  14, 2012), http://newsroom.mylan.com/press-releases?item=122583. See also Graham 30(B)(6) Dep. at
  107.
309 See Jayne O’Donnell, “Family Matters: EpiPens Had High-Level Help Getting into Schools,” USA Today (Sept.

  21, 2016), http://www.usatoday.com/story/news/politics/2016/09/20/family-matters-epipens-had-help-
  getting-schools-manchin-bresch/90435218.
310 Full House Committee on Oversight and Government Reform, Hearing on Reviewing the Rising Price of

  EpiPens (Sept. 21, 2016), https://www.govinfo.gov/content/pkg/CHRG-114hhrg24914/pdf/CHRG-
  114hhrg24914.pdf, at 47. See also MYEP0090087 at 89
                                            ); Graham 30(b)(6) Dep. at 119-20



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result, Mylan was able to eliminate the competitive threat posed by Auvi-Q before it got off the
ground.

156.      That Mylan’s exclusionary course of conduct would work was no surprise to Mylan, as it
was well aware that Sanofi could not overcome Mylan’s exclusionary discounts with its own
discounts. A Mylan review of the EAI market landscape reports,




                                                  An internal Mylan email exchange


                                                          And, as noted above,




                                                                                         In short,
because of Mylan’s entrenched share, there is simply nothing that Sanofi could do to overcome the
exclusionary discounts offered by Mylan.

157.      Sanofi, for its part, after it began to recognize what Mylan was up to, did its own analysis of
what level of rebate it would take for a PBM to benefit financially by accepting Sanofi’s rebate offer
instead of Mylan’s, taking account of Mylan’s entrenched market share.326 The analysis and
conclusion is reproduced below.




323   MYEP00245085 at 117. See also MYEP00213251 at 255

324 MYEP00619261.
325 Foster Dep. Ex. 4.
326 PS0236464 at 471.




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the plan accepts the rebate offer, EpiPen will get a 100% share of EAI devices sold through the plan.
If the plan accepts the rebate offer, the total discount off list price for EAI devices will be 30% ⨉
$500 ⨉ 1000 = $150,000.

159.    Suppose that Sanofi attempts to offer its own discount contingent on exclusivity. If the offer
is accepted, assume that Auvi-Q will capture the entire contestable share of the market.329
However, EpiPen will retain the non-contestable share. If the contestable share is 50% of the
market (implying a non-contestable share of 50% - a share at the bottom of the range noted above),
Sanofi will sell 50% ⨉ 1000 = 500 prescriptions at its discounted price, while Mylan will sell the
remaining 500 prescriptions at full price. The plan will not accept Sanofi’s offer unless its total cost
for EAI devices stays the same or is lower than the cost it would incur from taking the EpiPen offer.
This requires the total discount on Auvi-Q to be at least $150,000.330 That requires a per pack
discount of $150,000 / 500 = $300 per unit, or 60% off the list price. Because of the entrenched
market share for EpiPen that Sanofi cannot obtain in the first year of business, Sanofi has to offer
double the discount (60% versus 30%) to compete for the plan’s business.

160.    The example above assumed that EpiPen would capture 100% of EAI demand by excluding
Auvi-Q. In practice, Auvi-Q would capture some share even if excluded; documents indicate that
Auvi-Q retained roughly 6% of EAI sales even after being excluded from formularies.331 Suppose
that EpiPen would capture 94% of the market, rather than 100%, if its 30% exclusionary rebate is
adopted by the plan, but other assumptions are the same and a plan qualifies for the large discount
at 94%. Under Mylan’s rebate, the total discount off list price for EAI devices will be 30% ⨉ $500 ⨉
94% ⨉ 1000 = $141,000 (since the remaining 6% of Auvi-Q sales are made at no discount.). To
produce an equivalent discount across the 500 packs of Auvi-Q sold under an exclusive offer from
Sanofi, the discount per unit would need to be $141,000 / 500 = $282, which is 56% off the $500
list price. This demonstrates that, when the formulary exclusion of Auvi-Q is less effective at
eliminating Auvi-Q sales, the burden on Sanofi to counteract the Mylan discount is not as large,
although it is still very much present. Conversely, the more effective the restriction is in reducing
Auvi-Q sales, the greater the burden on Sanofi and the more difficult to counteract the effect of the



329 In reality, Auvi-Q would not secure the entirety of the contestable share. Were this assumption relaxed, it
  would be even more difficult for Sanofi to overcome Mylan’s exclusionary rebate offers.
330 Matching the total discount typically would not be sufficient to win the plan’s business, since, as discussed

  earlier, there will be an administrative cost to the PBM of switching patients who had been using EpiPen
  over to Auvi-Q.
331 See, for example, PS0236464 at 467; SAN-EPI-0031115.




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contestable share of 50% is consistent with an entrenched market share of 50%. As discussed
above, the entrenched share for EpiPen is between 50% and 70%. If the entrenched share is 70%,
the corresponding contestable share is 30%. The third and fourth rows of Table 3 show that with a
30% contestable share, the EEB increases to 100% when the share with exclusion is 100%, and to
94% when EpiPen’s share with exclusion is 94%. Thus, at the high end of the range for EpiPen’s
entrenched market share, Sanofi would have to sell Auvi-Q at a price at or very close to zero (clearly
not covering its costs) before the plan would consider replacing Mylan’s exclusionary offer with an
offer from Sanofi.

163.      The remaining rows of Table 3 show the impact of changing the other determinant of the
EEB, which is the discount offered by Mylan. In many cases, the incremental discount for exclusivity
offered by Mylan was about          , but this discount does not account for the other benefits offered
by Mylan, including, most notably, price protection.334 Price protection typically capped the annual
price increase at       , whereas the list price normally increased by twice that much.335 Thus a
rebate, as assumed in the top four rows of the table, is a reasonable approximation of the total value
of rebates, administration fees, and price protection. Nevertheless, the remainder of the table
shows what the EEB would be if the exclusionary rebate was 20%. As one would expect, if Mylan
reduces its discount offer, then Sanofi need not offer as large a discount to have its offer accepted by
the plan. By contrast, if Mylan increased its discount offer, then Sanofi would need to offer an even
larger discount to have its offer accepted by the plan.

164.      These EEB calculations demonstrate that the exclusionary rebates used by Mylan could not
be effectively countered by Sanofi by offering similarly sized rebates. Rather, the conditional
structure of the rebates and the substantial non-contestable share for EpiPen required Sanofi to
offer much higher rebates just to try to forestall being excluded from PBM formularies.

165.      To see how this played out more concretely, consider, for example, the negotiations with
Express Scripts Holding Company (ESI) – the largest PBM organization in the United States, with
roughly 90 million covered lives during the period at issue.336 The terms that Mylan negotiated with



334As discussed earlier, the all-or-nothing rebate offered to Express Scripts for 2014 was about 20%. As a
  second example,
                              . MYEP00494011.


335   See, for example, MYEP00593648.
336   MYEP01143633 at slide 5.


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168.      As a second real-world example, consider Mylan’s negotiations with Aetna – a large national
health insurer that, in the period at issue here, negotiated formulary coverage for EAI products
directly with suppliers. Mylan and Aetna negotiated an agreement effective January 1, 2014 that
gave EpiPen exclusive coverage on the preferred brand tier. Unlike the prior agreement with Aetna,
this agreement




                                                 In other words, Mylan’s exclusionary rebates
coupled with its array of strategies to increase its entrenched share of the market meant that Sanofi
would have to offer a discount of       to counter Mylan’s discount of      to Aetna – or a discount
more than three times as high as that offered by Mylan.

169.      Notice that if Mylan wished to use price as a competitive weapon against the entrant –
something that would benefit consumers and would be a procompetitive response to competition –
it could easily have done so by offering a      discount without reference to Auvi-Q. Then Sanofi
would have determined what discount they wanted to offer in response, and competition on this
level playing field would generate both choice and low prices for consumers.

          B. MYLAN’S ANTICOMPETITIVE COURSE OF CONDUCT WAS SUCCESSFUL
170.      As discussed previously, Mylan’s overarching intent was to block competition from Auvi-Q,
in order to maintain EpiPen’s monopoly share and pricing. One aspect of Mylan’s conduct involved
strategies, such as EpiPen4Schools, the $0 co-pay coupon, and messaging to HCPs, that would
increase EpiPen’s entrenched market share. The other was to take advantage of the entrenched
market share in order to win formulary restrictions at individual PBMs. These wins not only
contributed to EpiPen’s overall sales, but also created spillover effects that further entrenched
EpiPen’s market share.


343MYEP00086244, Seventh Amendment to the Manufacturer’s Discount Agreement Between Aetna and
  Mylan [FULLY EXECUTED] (Jan. 1, 2014)


344   MYEP00086244.

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171.       While Mylan did not succeed at excluding Auvi-Q at every formulary, it did get exclusionary
restrictions in a large share of the overall market, which allowed Mylan to preserve its market
power and profits in the EAI market. When Auvi-Q was first introduced, many PBMs did not
manage the EAI class, while others had a normal practice of adding new products to their
formularies on a high co-pay tier.345 Thus, with many PBMs, Mylan’s first real opportunity to
exclude Auvi-Q was in the negotiations that took place throughout 2013 for 2014 formulary status.
In addition, in 2013, before many exclusionary contracts went into effect, Auvi-Q was performing
well – exceeding Mylan’s own projections of how well it would do, and eating into EpiPen’s profits
at a faster rate than expected.346 As a result, Mylan bolstered its efforts to secure exclusive
agreements with PBMs to put a stop to Auvi-Q’s growth.347 As described earlier, Mylan actively
tracked the progress of these negotiations in excluding Auvi-Q from formularies, and trumpeted the
growing share of covered lives whose formularies would not cover Auvi-Q in 2014.348


345   Minton Dep. at 278-79

                                                Cunico Dep. at 24-25




                                                                         Hall Dep. Ex. 7, Third Amendment
  to Mylan Contract dated Apr. 1, 2013 (MYEP0087486):


346   Bresch Dep. Ex. 41
                                                          Bresch Dep. at 382-83




347   Byrne Dep. Ex. 3 (PS0077861)


                   ; Jones Dep. Ex. 23
                                                     York 30(b)(1) Ex. 2


                                                                     Jordan 30(b)(1) Dep. Ex. 10
  (HUM004351) (Jordan writing,

348   Graham 30(b)(1) Dep. Ex. 18 at MYEP00194705
                                                                                     Arcara Dep. Ex. 18




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172.    Figure 10 shows the share of covered lives in formularies that had Auvi-Q preferred, non-
preferred, not covered, or not listed in the third quarter of 2013, 2014, and 2015.349 In 2013, Auvi-Q
was not covered in formularies representing about 29% of the covered population. That number
jumped to 51%, or more than half of the covered population, in 2014. Sanofi was able to reduce
that figure somewhat in 2015, but Auvi-Q was still not covered for over 40% of the population.

                           Figure 10: Formulary Status for Auvi-Q by Year




Notes: “Preferred” includes Generic and Preferred formulary statuses. “Non-Preferred” includes Covered and
Specialty formulary statuses. "Not Covered" includes formulary statuses designated as Not Covered and any
formulary status indicating Step Therapy or Prior Authorization ("PA/ST").
Source: MMIT Data



173.    Although Sanofi was able to procure better formulary coverage in 2015, both in terms of
getting covered by the formularies and moving onto a preferred tier, and net prices for the EpiPen
dropped for the first time (although they still remained above early 2013 levels),350 in many ways
the damage had already been done: Mylan successfully used its panoply of exclusionary strategies
to entrench its market share so that, even when Auvi-Q’s formulary status improved, it was difficult
to make meaningful inroads into the market. For example, HCPs had been trained not to prescribe
Auvi-Q in 2014 because of the callbacks those prescriptions would generate, and many did not


               Graham 30(b)(1) Dep. Ex. 5, slides 12-21

                          Graham 30(b)(1) Dep. Ex. 18, slide 3


349 There are several reasons to compare only the third quarter of each year, rather than the full year: the
  comparison is not impacted by the ramp-up period in the first half of 2013 following the entry of Auvi-Q in
  the beginning of year; it is also not impacted by the withdrawal of Auvi-Q in the fourth quarter of 2015; and
  it is unaffected by the seasonal variation in EAI demand over the course of the year.
350 See Figure 8.




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immediately change their prescribing behavior in 2015.351 Meanwhile, many schools that had been
deterred by exclusionary contracts from stocking Auvi-Q continued to buy EpiPen, as did their
students who opted to buy EpiPen because of availability at their schools.352 In short,
                                                                                   Auvi-Q never stood a
chance of succeeding in the market, even after Sanofi went to extreme lengths that resulted in some,
albeit still limited, favorable formulary positions.



IX.        MYLAN’S CONDUCT IS NOT COMPETITION ON THE MERITS
           A. EXPLOITING ENTRENCHED MARKET SHARE THROUGH EXCLUSIONARY REBATES
174.       The range of exclusionary strategies employed by Mylan were effective in putting up
artificial barriers to Auvi-Q market-wide. Mylan took actions that increased its entrenched share of
the EAI market, and used its entrenched share along with the enticement of rebates and price
protection to extract formulary restrictions at PBMs that made it increasingly difficult for Sanofi to
compete for customers across the U.S. That Mylan adopted this anticompetitive strategy of using its
monopoly power to foreclose Auvi-Q from the marketplace is particularly surprising given that its
senior executives


351   Korczynski Dep. Ex. 23, Slide 5
                                          Patel Dep. Ex. 19 at MYEP00551696




352   Hadley Dep. Ex. 22, Slide 5



                                                                        Zinn 30(b)(1) Dep. Ex. 5, Slide 34

                                                             Graham 30(b)(6) Dep. Ex. 15 at MYEP00454425


                              Foster Dep. Ex. 4



353   Graybill Dep. at 79



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175.    Despite this apparent agreement from Mylan that its actions do constitute violations of the
antitrust laws, I have nevertheless considered whether Mylan’s actions could be considered as pro-
competitive competition on the merits. For the reasons I now discuss, they cannot. Perhaps most
critically, the rebates offered to PBMs by Mylan cannot be viewed as competition on the merits
because, as shown above, Mylan’s choice of contract type leveraged its entrenched share to make it
prohibitively costly for Sanofi to offer pricing to PBMs that would overcome the financial benefit to
PBMs from agreeing to exclude Auvi-Q. As discussed by antitrust commentators and enforcers,
conditional rebates used by firms with monopoly power can function as a tax on the output of
smaller competitors.354 To understand why this is so, consider the following: Suppose that in some
market there was a substantial sales tax that customers had to pay on sales of an entrant, but not on
sales by incumbent firms. In order to make it worthwhile for a customer to buy the entrant’s
product, the entrant has to charge a commensurately lower price than the incumbent’s price, so
that the customer’s total cost of the entrant’s product is not higher than the customer’s total cost of
products of established firms. This is the mechanism of exclusion in the loyalty rebate used by
Mylan. Because the entrant is effectively forced to charge a lower price, it is disadvantaged relative
to established firms and does not compete on a level playing field.

176.    Of course, Mylan was free to lower price to its customers, and in that way benefit them, even
if that conduct harmed Sanofi, provided it did so in a way that did not tilt the market in its favor.
Mylan could have done so, but it chose not to. For example, Mylan could have offered larger
discounts on its product in an effort to compete without requiring exclusion of Auvi-Q. Had it done
so, the discount it offered on EpiPen purchases could be matched by Sanofi, or not, as dictated by
the normal forces of competition playing out in a competitive market. Moreover, such




  MYEP00232912 at 915 (Mylan Fair Competition Policy)




354 Joseph Farrell, Janis K. Pappalardo and Howard Shelanski, “Economics at the FTC: Mergers, Dominant-Firm
  Conduct, and Consumer Behavior,” 37 Review of Industrial Organization 263, 267-68 (2010); Joshua D.
  Wright, “Simple but Wrong or Complex but More Accurate? The Case for an Exclusive Dealing-Based
  Approach to Evaluating Loyalty Discounts,” Remarks at the Bates White 10th Annual Antitrust Conference
  (June 3, 2013) at 8 (n. 11), available at
  https://www.ftc.gov/sites/default/files/documents/public_statements/simple-wrong-or-complex-more-
  accurate-case-exclusive-dealing-based-approach-evaluating-loyalty/130603bateswhite.pdf; Scott Morton
  and Abrahamson (2017) at 786-87; Fiona M. Scott Morton, “Contracts that Reference Rivals,” 27 Antitrust
  72, 74 (2013).

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unconditioned discounts would have been attractive to a PBM regardless of EpiPen’s entrenched
market share. Had Mylan engaged in such a strategy, it would have been pro-competitive and not
exclusionary.

177.    However, because of Mylan’s exclusionary rebates, there is a cost to PBMs that want to give
their customers access to Auvi-Q – they lose the rebate offered by Mylan on all EpiPen sales. Just as
in the example above, this additional cost to buying Auvi-Q means that Sanofi must offer
considerably lower prices (by offering much higher rebates) just to make it worthwhile to the PBM
to even consider not excluding Auvi-Q. Because of EpiPen’s entrenched market share, the situation
is not symmetrical: there is a far smaller cost to PBMs if they forego an exclusionary offer from
Sanofi and include EpiPen on the formulary. The “tax” imposed by Mylan’s exclusionary rebates
dramatically tilts the playing field against Sanofi, preventing competition on the relative merits of
EpiPen and Auvi-Q. As indicated by the EEB calculations in the previous section, this tax impact on
Sanofi as a result of Mylan’s actions was substantial.

178.    As a result (and for all of the reasons discussed above), the actions of Mylan were plainly
not procompetitive – to the contrary, they were clearly anticompetitive. Moreover, if actions along
these lines were permitted, there is potential for significant harm to the competitive process in the
pharmaceutical industry. Any entrenched monopolist would be able to pursue a strategy like that
taken by Mylan here to ensure that innovative products that pose a meaningful challenge to their
monopoly position are never able to gain a foothold in the market.355 As a result, consumers would
be deprived of choice, the benefits of innovation, and the benefits of actual competition between
competing manufacturers.

        B. MYLAN’S CONDUCT DID NOT RESULT IN LOWER PRICES
179.    While the economics literature is filled with analyses of how price competition operates in
different markets and situations, there are several general properties of markets characterized by
price competition that are common throughout this literature. One is that if customers have better
opportunities to switch between products, that leads to more intense competition and lower




355 See, for example, Whitaker Dep. at 236-237 (“Q. And what's a new entrant with an innovative product
  supposed to do if they don't have a Lantus, faced with the [conduct like that taken by Mylan here]? A.
  They're in trouble. You take a little company, like the one that I lead today, if we come into the market and
  there's a product on the market that is – has an exclusive position and we have nothing – we have no
  leverage, so we would be dead even before we started.”).


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prices.356 If firms compete for sales by bidding in a bargaining environment, then when buyers have
more attractive alternatives, that puts buyers in a stronger bargaining position and leads to lower
bids and lower prices.357 In addition, prices are “strategic complements,” meaning that if one firm
lowers its price, other competitors generally have an incentive to lower their prices as well, while
higher prices for one firm generally leads competitors to raise their prices.358

180.    When Auvi-Q entered the market, it should have given buyers a strong alternative to
substitute for EpiPen. Under competition on the merits, that should have led to greater competition
and lower prices. All else equal, the ability of PBMs to give Auvi-Q a preferred formulary position
should increase the bargaining power of PBMs relative to Mylan and lead Mylan to offer lower net
prices. Finally, the downward pressure when Mylan lowers the price on EpiPen should lead Sanofi
to lower the price of Auvi-Q, and vice versa: under competition on the merits, lower prices for Auvi-
Q should induce lower prices for EpiPen.

181.    However, because of the exclusionary rebates and other exclusionary strategies employed
by Mylan, these benefits of price competition that should have been triggered by the entry of a
significant competitor like Auvi-Q did not materialize. Customers had fewer opportunities to switch
between EpiPen and Auvi-Q because of the actions Mylan undertook to limit formulary access to
Auvi-Q and to increase the stickiness of EpiPen’s installed base. Consequently, the entry of Auvi-Q
did not trigger increased price competition, and, as shown in Figure 8, Mylan was able to keep its
prices elevated above the level at the beginning of 2013 when Auvi-Q entered the market.

182.    When bargaining with PBMs, Mylan used its exclusionary rebates to limit the ability of
PBMs to threaten to switch to Auvi-Q. As just discussed, the exclusionary rebates effectively
imposed a tax on Auvi-Q, so that PBMs could not switch sales to Auvi-Q through their formularies
without losing substantial rebates on EpiPen. Thus, despite the presence of a strong alternative
product in the marketplace, PBMs could not exploit that alternative to increase their bargaining
power with Mylan. Across the market overall, Mylan was not forced to lower its net price due to
competition from Auvi-Q – net price never dropped below its 2013 level, despite the entry of Auvi-
Q.359




356 Jean Tirole, The Theory of Industrial Organization (MIT Press 1988) at 278-80.
357 Id. at 24-25.
358 Id. at 207-208, 326-27.
359 Figure 8; see also MYEP00483117 at slide 7




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183.
As just discussed, under competition on the merits, one would expect to see evidence that prices
function as strategic complements: when Auvi-Q’s price falls, EpiPen should have an incentive to
lower its prices as well.




          . Because of EpiPen’s entrenched market share, augmented by the range of strategies used
by Mylan to increase the stickiness of customer choices, Mylan often did not have to match to
Sanofi’s price reductions and lower its own prices. Once again, this is evidence that the EAI market
was not characterized by competition on the merits as a result of Mylan’s exclusionary strategies.

184.    The bottom line is that, while Mylan used the inducements of conditional discounts and
price protection to exclude Auvi-Q from formularies, because Mylan continued to raise its list price,
the net price it ultimately offered did not actually drop, as would be expected in a competitive
market, once a new innovative product – Auvi-Q – came onto the market. This is evidence that the
EAI market was not characterized by competition on the merits as a result of Mylan’s exclusionary
strategies.

        C. SACRIFICING PROFITS FOR EXCLUSIVE FORMULARY STATUS
185.    An additional indicator of exclusionary conduct that has been proposed by some
commentators is a “profit sacrifice” or “no economic sense” test.360 This test compares the profits
earned by the dominant firm under a non-exclusionary strategy with the profits earned under an
exclusionary strategy, and asks whether the exclusionary strategy is more profitable only because
of the exclusionary effect on rival firms. If a firm chooses a strategy that would be less profitable
without the additional exclusionary impact on rival firms, that suggests that the motivation for the
choice of strategy was exclusionary rather than based on pro-competitive considerations. Under
competition on the merits, with no exclusionary motive, firms should pursue their most profitable
strategies. While exclusionary conduct does not necessarily involve profit sacrifice, profit sacrifice
can be an indicator that the monopolist is engaged in exclusionary conduct.361


360 See, for example, A. Douglas Melamed, “Exclusive Dealing Agreements and Other Exclusionary Conduct—
  Are There Unifying Principles?” 73 Antitrust Law Journal 375 (2006); Gregory J. Werden, “Identifying
  Exclusionary Conduct under Section 2: The ‘No Economic Sense’ Test,” 73 Antitrust Law Journal 413 (2006).
361 Steven C. Salop, “Exclusionary Conduct, Effect on Consumers, and the Flawed Profit Sacrifice Standard,” 73

  Antitrust Law Journal 311 (2006) at 313 (Rejecting the profit sacrifice test as a general rule for exclusionary


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186.      The profit sacrifice test highlights one aspect of the implementation of the “competition on
the merits” standard, which is to look at whether the monopolist’s conduct is geared toward
winning that customer’s business, or whether there is a larger exclusionary agenda at play in which
the monopolist is no longer competing for each customer based on the relative merits of its
product, but is instead pursuing strategies that are intended to exclude competitors from the
market as a whole. Competing aggressively for an individual customer is generally pro-competitive,
but competing with a goal of not only winning a particular customer but also making it difficult or
impossible for entrants to compete for all customers can cross the line into anticompetitive
conduct.

187.      Mylan executives have testified




                                 However, the contemporaneous profit/loss modeling done by Mylan
when negotiating with at least Express Scripts (ESI) – the largest PBM – indicates that the contract
terms associated with formulary restrictions on competing products generated lower profits to
Mylan than a contract offer for equal access. In other words, Mylan’s own modeling shows that
Mylan lost money when ESI agreed to the exclusionary rebate offer. It is only by taking account of
the exclusionary effect on Auvi-Q because of spillover effects on the rest of Auvi-Q’s business that
Mylan was willing to accept this reduction in profits as a cost of their exclusionary strategy.

188.      Specifically, the contract negotiated between Mylan and Express Scripts in the summer of
2013




  conduct, while noting, “The profit-sacrifice test may be useful, for example, as one type of evidence of
  anticompetitive purpose.”).
362 Foster Dep. at 236-37.




363   MYEP01143633 Mylan Pricing Committee Review (June 12, 2013).


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              This willingness to accept lower revenues only makes sense for Mylan if it takes into
account the exclusionary effect that the closed formulary offer would have on Sanofi’s
competitiveness in the broader market.365

189.    To be sure, Mylan generally did not need to go so far as to lose profits (as compared to those
it would have earned with a non-exclusive offer for a 1 of 2 position) to secure an exclusive
position. Because of its ability to significantly tilt the playing field to its advantage, Mylan did not
need to adopt such a strategy, as even without such conduct, it was still able to leave PBMs with
little choice but to accept its exclusive offer.366



X.   EFFECTS OF MYLAN’S EXCLUSIONARY CONDUCT ON CONSUMERS AND
THE COMPETITIVE PROCESS

190.    Further evidence that Mylan’s overall course of conduct was anticompetitive is the harm
that resulted to consumers due to its actions. Consumers were made worse off as a result of
Mylan’s exclusionary conduct in at least three ways. First, many customers were effectively
deprived of the opportunity to choose an alternative to EpiPen that many viewed as a superior
option. Mylan’s own marketing research
                                                                            .367 Mylan’s market research also
found that,
                Yet the centerpiece of Mylan’s exclusionary strategy was to keep Auvi-Q off
formularies or to force it onto a formulary tier with higher co-pays. Either way, many customers
who would have preferred Auvi-Q under conditions of equal access were deterred from buying it
due to lack of availability or a higher out-of-pocket cost.369



364 See May Dep. at 132-133.
365 Note that Mylan typically reports net sales rather than net profits in its presentations. In this case, since
  the exclusive formulary offer would result in more units sold, and therefore higher costs to Mylan, the cost
  in net profit from implementing the exclusive formulary offer would be even larger than the cost in net
  sales.
366 See Barry Nalebuff, “Exclusionary Bundling,” 50 Antitrust Bulletin 321, 321, 327 (2005); Scott Morton and

  Abrahamson (2017) at 799.
367 See, for example, MYEP00093725 at 735


368MYEP00193044 at 063.
369See, for example, Clements Dep. at 35-36 (“Q. What kind of harm did you allegedly suffer because of
  defendant’s conduct? A. Lack of options available to me and incremental costs. Over the duration and the
  period.”); Sumner Dep. at 57 (Q. Okay. And I don’t mean to misstate you, but just to summarize then, the


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191.       Mylan not only blocked or raised the cost of access to Auvi-Q when the product was first
introduced, but actively worked to exclude Auvi-Q from formularies throughout the time Auvi-Q
was sold by Sanofi.370 This was most apparent in January of 2014, when the national Auvi-Q market
share fell precipitously by more than a third as formulary exclusions sought by Mylan went into
effect at the beginning of the year.371 By excluding patients that formerly had access to Auvi-Q,
Mylan created switching costs that harmed PBMs, HCPs, and patients. Evidence for these switching
costs was discussed previously; as noted before, Mylan itself has argued that there are significant
switching costs for patients that are forced to use a different EAI device from what they are familiar
with: “as distinct products with distinct user operating principles, switching a patient from one EAI
to another risks confusing ingrained behaviors in the product's administration and places the
patient at risk during emergency situations.”372

192.       An exclusionary strategy that imposes step therapy restrictions on competing products is all
the more costly to consumers because, as discussed above, and as recognized by industry
participants, EAI devices do not lend themselves to that therapeutic approach.373 Yet,



  harm that you believe you suffered was paying too much for EpiPens; is that correct? A. That’s – yeah, that’s
  a little bit simplified way of – it wasn’t just that I paid too much. It was that there was no other options like –
  because I would go to CVS, and I would ask, okay. When they say, well, it’s $400, and I would say, wow, is
  there something cheaper; is there like a generic or just another brand, and they would always just say, this
  is all we have. I had no other option.”); Bowersock Dep. at 57-58 (“[Defendants] took away my choice for my
  daughter to use the Adrenaclick or to use the AUVI-Q, because everybody is trained on the EpiPens, and my
  doctor’s office will only write for the EpiPens, because everybody is trained on the EpiPens. So when it
  comes down to saving my child’s life, he would rather prescribe what everybody is trained on and what
  everybody is used to versus something that not everybody is trained on and not everybody is used to.”);
  Wemple Dep. at 157


370   See, for example, Willing Dep. at 108-109

                                                              HUM001702 at 04



371   See MYEP00497152 at slides 1-2.

                                                  MYEP00487195 at slide 51.

                                   MYEP00487195 at slide 61.
372 Bresch Dep. Ex. 47 (Graham Affidavit at ¶16).
373 See SAN-EPI-0545367




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                                                                   Without first showing “failure” (for
a product where failure would be life threatening) customers would be unable to choose Auvi-Q.

193.      More generally, an exclusionary strategy for EAI devices is undesirable from a welfare
perspective because it deprives customers of a choice between differentiated products, in which
some patients or PBMs may prefer one product and some the other. In other words, this is not a
pharmaceutical class in which there are multiple equally effective products where excluding one or
more from a formulary will not have a significant detrimental effect on users. In fact, Mylan made
this point itself when objecting to the decision of the West Virginia Department of Health and
Human Resources to exclude EpiPen from the West Virginia Medicaid formulary: “Food Allergy
Research and Education (‘FARE’), the leading national organization supporting individuals with
food allergies, likewise contacted DHHR to state its position that ‘because these [EAI] devices
require unique training and have both technical and aesthetic differences, we support patients have
equal access to all of these devices.’”375 This is particularly true to the extent that excluding Auvi-Q
would eliminate a device that many people in the marketplace viewed as superior to the EpiPen.
For example, Mylan’s Senior Director of National and Regional Accounts,




              Nevertheless,



194.      A second component of the harm to consumers from Mylan’s exclusionary strategy against
Auvi-Q is that Mylan did not need to follow through on



374   See, for example, MYEP00604924

                                       MYEP00362912

                          MYEP00000909 at 919

375 Bresch Dep. Ex. 47 (Memorandum p. 5).
376 MYEP01068002.
377 See, for example, MYEP00723729 at 30




            MYEP00485119




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                                        By not letting Auvi-Q expand its footprint in the market, Mylan
was able to reduce its R&D expenditures and other costs associated with introducing an improved
version of the EpiPen to compete against Auvi-Q.379 This failure to innovate directly harmed
customers, who did not get the benefit of an improved EpiPen EAI device.

195.       Third, Mylan’s exclusionary strategy allowed it to raise net prices.




                                                                        PBMs also recognized that they
would have less bargaining leverage over prices with Auvi-Q out of the market.382 Consequently,
toward the end of 2015 through the first part of 2016,




                                                                                                       As
communicated to one payer (Cigna),




196.
                                     And, as discussed above, testimony from Mylan’s National Accounts


378   MYEP00219125 at 195.
379   See MYEP00000310 at 314


380 At the same time,                                                                            Foster
  Dep. at 76-78.
381 Korczynski Dep. at 314.
382 See Stein Dep. at 190




383   MYEP00167182 at 183.
384   CIGNA_01532. Mylan’s talking points for a meeting with Express Scripts


                                             MYEP00269481.
385   Willing Dep. at 243                                                             Foster Dep. at 378-79



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Director                                                     386   For example, in November 2015,


            7   A similar letter rescinding an offer for the Texas Medicaid program elicited this
commentary from the PBM, Magellan Health:




XI.        ESTIMATING THE ANTITRUST INJURY SUFFERED BY SANOFI
197.       Having concluded that Mylan has monopoly power and that it engaged in an
anticompetitive exclusionary course of conduct designed to maintain that monopoly power, I now
assess the degree to which Mylan’s anticompetitive behavior harmed Sanofi. While I elaborate on
the harm suffered by Sanofi below, to briefly summarize, that harm stems from the fact that, as a
result of Mylan’s anticompetitive behavior, Sanofi was unable to secure the substantial market
share that both it and Mylan forecasted it would. As noted above, Mylan was able to protect its
monopoly position by engaging in a two-part course of conduct that dramatically tilted the playing
field in its favor. It reinforced its significant entrenched market share through: (i) exploiting
spillover effects (both from commercial plans and Medicare/Medicaid plans); (ii) engaging in a
marketing campaign with HCPs to reinforce these spillover effects; (iii) engaging in a deceptive
marketing campaign; (iv) launching a co-pay coupon program at the time of Auvi-Q’s launch; and
(v) launching the EpiPen4Schools program, also right at the time of Auvi-Q’s launch. At the same
time, Mylan leveraged its substantial entrenched market share by offering rebates that were
contingent on excluding Auvi-Q that PBMs could not refuse, thereby leaving Sanofi with no
meaningful ability to secure a foothold in the market. As a result, rather than securing the
substantial market share that both Sanofi and Mylan believed it would if competition on the merits
were allowed to play out, Mylan instead was able to




386   Foster Dep. at 385



387   MYEP01228536.
388   EPI-TX-0000091.

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198.       Because it was not able to obtain the significant market share that it would have with a
more level playing field, Sanofi did not earn the substantial profits from the sale of Auvi-Q that
should have and would have been earned, but for Mylan’s conduct. In addition, faced with the
prospect of continued exclusionary conduct by Mylan, Sanofi chose not to reintroduce Auvi-Q to the
market after the product was voluntarily recalled, and instead returned the rights to the patent
holder, Kaléo. Were it not for Mylan’s exclusionary conduct, Sanofi would have relaunched the
product, and would have continued to earn substantial profits for years to come.

199.       In order to quantify the damages incurred by Sanofi as a result of Mylan’s anticompetitive
behavior, it is necessary to construct a “but-for” world – one in which Mylan, instead of relying on
its exclusionary strategy, competed on the merits. While it is always the case that constructing a
but-for world requires making certain assumptions and, by necessity, is an imperfect science, in this
case, we have information from a variety of sources that all points in the same direction, providing
me with confidence that the but-for world I set out below is both reasonable and reliable. First, we
have forecasts prepared by both Mylan and Sanofi of what such a world would look like. In the case
of Sanofi, this modeling was done over time, including right before Auvi-Q launched. Mylan did
such forecasting as well, albeit when it was still contemplating competing with Sanofi on the merits,
and before it adopted its exclusionary strategy. These two sets of forecasts are remarkably similar
– providing me with confidence that the but-for world I set out below is reasonable. These
forecasts are further reinforced by real world experience. In places where Mylan was not able to
take full advantage of its anticompetitive conduct, Auvi-Q’s share is right in line with what both
Mylan and Sanofi predicted, providing me with even more confidence in my but-for world.

200.       In what follows, I proceed to assess damages for two distinct time periods. In Section XI.A, I
set forth the damages for the period during which Sanofi sold Auvi-Q, up through the voluntary
recall of Auvi-Q. In Section XI.B, I set forth the damages for the 2017-2029 period – starting with
the point in time at which Sanofi would have relaunched Auvi-Q were it not for Mylan’s
anticompetitive conduct, and going through the first half of 2029 – when the Auvi-Q patent was set
to expire.389

           A. DAMAGES FOR 2013-2015
201.       While, as noted above, constructing a but-for world is necessarily an imperfect science, in
this case we have mutually reinforcing projections from both Mylan and Sanofi showing the


389   Harr 30(b)(1) Dep. at 293-94.

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expected impact of Auvi-Q in an EAI market free of Mylan’s anticompetitive behavior. In Mylan’s
projections from April, 2010, before it formulated its exclusionary strategy,


As of November, 2011 (before the series of meetings that crystallized the exclusionary strategy in
December, 2011)
                                                   These share projections




202.    That Auvi-Q would reach a market share of at least 30% three years after launch in a market
unencumbered by exclusionary conduct is corroborated by additional, real-world evidence. In
settings in which Auvi-Q and EpiPen competed on a relatively level playing field, Auvi-Q was able to
obtain a market share of 30% or more within three years after launch. The first piece of such
evidence is Auvi-Q’s share of the Canadian market. Sanofi, in addition to offering Auvi-Q in the
United States, also secured the rights to offer Auvi-Q in Canada under the brand name Allerject. The
other dominant EAI device in Canada is the same EpiPen that is offered by Mylan in the U.S.,
although in Canada EpiPen it is sold by Pfizer. Figure 11 shows the EAI revenue shares of Allerject
(Auvi-Q) in Canada from January 2013 through the time of the voluntary recall.




390 MYEP01209503.
391 MYEP00088189 at 246, 248; MYEP00152753 at 800, 802.
392 SAN-EPI-0171591 at 593.




393Pfizer Canada documents show Allerject with a         share in September, 2015.
  PFECAN_EPIPEN_AT00000168.

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         Figure 11: EAI Market Shares of Allerject (Auvi-Q) by Prescription Units in Canada




Notes: EAI products include Allerject, EpiPen, and Twinject.
Sources: SAN-EPI-0003187, QuintilesIMS Canada Geographic Prescription Monitor (GPM); Rocheleau Dep. at
81:5-84:5.



203.       While one must be careful when looking to other countries to assess what a market would
look like in the United States, for the limited purpose of assessing the market share that Auvi-Q
would have obtained in the United States absent Mylan’s conduct, it is my view that it is reasonable
to look to the Canadian experience. In my view, Canada serves as a good guidepost for assessing
market shares because, as noted above, the key players – Auvi-Q and EpiPen – are the same in both
markets and neither Auvi-Q nor EpiPen substantially benefited from exclusionary conduct or other
actions that would give one or the other an unwarranted competitive advantage. 394 Of course, there
are differences between the U.S. and Canadian markets that make it difficult to draw conclusions
regarding other aspects of the EAI market. For example, pharmaceutical prices are vastly different



394   Rocheleau Dep. at 74-75; 195-96.

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in the two countries, and there are a host of differences in governing laws regarding the marketing
efforts of pharmaceutical firms.395 As a result, I look to the Canadian experience only for the limited
purpose of assessing Auvi-Q’s market share in the but-for world.

204.       In addition, to the Canadian experience, there is also real world U.S.-based evidence of how
Auvi-Q would have performed in the but-for world. Specifically, there are two formularies on which
Auvi-Q secured equal treatment to EpiPen, and for which there is reason to believe that the
spillover effects were not as strong as they were in other parts of the country. First, I look to the
market shares obtained by Auvi-Q on the Horizon Blue Cross Blue Shield formulary. As a relatively
large formulary in New Jersey, there is reason to believe that the spillover effects associated with
exclusion from other formularies would not be as strong here as they were in other places.396 In
Figure 12, I show the market share for Auvi-Q at Horizon BCBS up to the time of the voluntary
recall. As is shown there, Auvi-Q was able to reach a market share of about 34% in 2015 on the
commercial formulary.




395   See, for example, Rocheleau Dep. at 276-78.
396   Jan Dep. at 28.

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                        Figure 12: Auvi-Q Shares by Prescription Volume in

                          Horizon BCBS of New Jersey Plans (Commercial)




Notes: Horizon Commercial plans are defined as plans in the “Horizon BCBS of New Jersey” formulary or the
“Horizon BCBS of New Jersey Advantage” formulary, which are commercial channels according to MMIT.
Shares are based on the total prescriptions (TRx) filled of the EAI product. EAI products include EpiPen, Auvi-
Q, EpiPen Authorized Generic, Adrenaclick, Adrenaclick Authorized Generic, and Twinject. EAIs includes
regular (0.3MG/0.3ML), junior or other dosages (0.15MG/0.15ML; 0.1MG/0.1ML), and two-packs as well as
single packs. EAI products are identified by product names and NDC numbers.
Sources: IQVIA Xponent Plantrak; MMIT Data; Sanofi Bridge Files; see Appendix Part B notes


205.    As a second piece of U.S.-based real-world evidence of how Auvi-Q would perform but-for
Mylan’s conduct, I examined the market share Auvi-Q was able to obtain on the University of
Michigan formulary. Like with Horizon, this formulary gave Auvi-Q and EpiPen equal treatment
and, because it is a formulary that is used by a university population, with access to a university
hospital, there is reason to believe that the spill-over effects would not be as strong as they were at
other formularies. In Figure 13, I plot out the market share of Auvi-Q on this formulary over time.
As is shown, by 2015, Auvi-Q obtained a share of 36%, fully consistent with the share obtained in
Canada and the share obtained at Horizon BCBS.



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  Figure 13: Auvi-Q Shares by Prescription Volume in the University of Michigan Formulary




Notes: University of Michigan formulary plans are identified with “University of Michigan” in the plan names
in IQVIA data. Shares are based on the total prescriptions (TRx) filled of the EAI product. EAI products
include EpiPen, Auvi-Q, EpiPen Authorized Generic, Adrenaclick, Adrenaclick Authorized Generic, and
Twinject. EAIs includes regular (0.3MG/0.3ML), junior or other dosages (0.15MG/0.15ML; 0.1MG/0.1ML),
and two-packs as well as single packs. EAI products are identified by product names and NDC numbers.
Sources: IQVIA Xponent Plantrak; MMIT Data; Sanofi Bridge Files; see Appendix Part B notes



206.    Given all of the above-discussed consistent evidence of how Auvi-Q would have performed
but-for Mylan’s conduct, I have adopted the market shares contained in Sanofi’s pre-launch forecast
as the shares that Auvi-Q would obtain in the but-for world. As noted, these shares are consistent
with Mylan’s own forecast, as well as the real world experience in Canada, Horizon BCBS, and the
University of Michigan. To demonstrate the similarity of these forecasts and real-world
experiences, and to contrast them with the actual overall experience of Auvi-Q when hampered by
Mylan’s anticompetitive exclusionary conduct, in Figure 14, I show the various market shares over
time. As this Figure makes clear, all of the available evidence supports the market shares that I
have adopted in the but-for world – a market share that differs significantly from that obtained by
Auvi-Q in the face of Mylan’s conduct.


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               Figure 14: Auvi-Q Shares by Prescription Volume, Actual and Forecasts




Notes:
The U.S., Michigan, and Horizon BCBS NJ shares for commercial plans are shown. "Canada” includes all sales
in the Canadian dataset. EAI products in the U.S. include EpiPen, Auvi-Q, EpiPen Authorized Generic,
Adrenaclick, Adrenaclick Authorized Generic, and Twinject, of various dosages and two-packs as well as
single packs. EAI products from IQVIA data are identified by product names, NDC numbers, and MMIT
classifications. EAI products for Canada include Allerject, EpiPen, and Twinject. Sanofi’s and Mylan’s pre-
launch forecasts are adjusted to start mid-year in 2013. Analysis of the U.S. includes U.S. territories.
Sources:
IQVIA Xponent Plantrak; MMIT Data; Sanofi Bridge Files; see Appendix Part B notes; SAN-EPI-0003187
(QuintilesIMS Canada Geographic Prescription Monitor (GPM)); Rocheleau Dep. at 81:5-84:5; SAN-EPI-
0171591 at 593 (Sanofi Forecast for Auvi-Q from Table 2); MYEP01209505 at slide 13 (Mylan Forecast for
"Intelliject" [Auvi-Q] from Base Case Scenario)



207.       While, due to the voluntary recall, there is no real world evidence demonstrating what Auvi-
Qs market share would have been four years after launch, the available evidence demonstrates that
the 40% market share that I have adopted is reasonable. As already noted, Sanofi at launch
projected that Auvi-Q’s share would be            in 2016,                                 by the end of




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2017.397 Mylan’s own forecast
                              Pfizer Canada, for its part, also projected that Allerject would have
captured about a          share of the Canadian market.399 Mr. Fairest – the former CEO of Sanofi’s
Canada affiliate – testified that Allerject was on pace to secure a            market share by 2015.400
Meanwhile, as noted above, Sanofi was able to capture about a 34% share on the commercial plans
at Horizon BCBS and a share of 36% at University of Michigan, despite the impact of other
exclusionary strategies adopted by Mylan, including exploiting spillover effects from other
commercial plans and government payers, deceptive messaging to HCPs, and restrictions through
the EpiPen4Schools program. Had Sanofi been able to compete without those other distortions to
competition on the merits, it likely would have obtained an even greater share on these formularies.

208.     Having identified the market share that Auvi-Q would have obtained in the absence of
Mylan’s conduct, the next step in quantifying damages is to assess the size of the overall but-for
market. For this, I once again rely on Sanofi’s pre-launch forecast, which accounted for Sanofi’s
assessment of how competition on the merits would play out between competing EAI products,
taking account of the price increases that EpiPen took – consistent with its past practice – prior to
the launch of Auvi-Q.401 This is the only forecast that I am aware of that accounts for marketplace
developments up to the time of Auvi-Qs launch, but is not otherwise tainted by Mylan’s
exclusionary strategy. As a result, I adopt this forecast for purposes of assessing the overall size of
the but-for market.

209.     The final step in calculating the profits that Sanofi would have earned but-for Mylan’s
conduct is to identify Sanofi’s costs in the but-for world. Looking to Sanofi’s actual costs would
yield overstated damages, as, had Sanofi’s market share grown consistent with expectations, its
costs would have grown as well. To estimate Sanofi’s costs in the but-for world, I use the fixed and
variable cost estimates from Sanofi’s projections – those that correspond to the market share levels
that I have adopted. Since the Sanofi model reports only full year results for 2015, I impute what
the revenues and costs would have been through October of 2015 prior to the voluntary recall of


397 SAN-EPI-0171591 at 593.
398 MYEP01209503.
399 Rocheleau Dep. at 143-44; PFECAN_EPIPEN_AT00000489. Note that Allerject had more than a               share
  of prescriptions written by Allergists, who tend to lead the market. Rocheleau Dep. at 147.
400 Fairest Dep. at 24-26. As Mr. Fairest explained,


401The overall size of the EAI market implied by the Sanofi projections is in line with the size of the actual EAI
  market in 2013 and 2014, the period before Sanofi was forced to take extreme measures just to secure some
  degree of access for Auvi-Q.

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Auvi-Q. Putting these three pieces together – the Auvi-Q market share, the overall size of the
market, and Sanofi’s costs – allows me to calculate the but-for profits that Sanofi would have earned
through the date of the voluntary recall of Auvi-Q. These lost profits amount to                       .

210.    In the actual world, instead of obtaining these expected profits of                     , Sanofi in fact
                  on Auvi-Q sales. This                             profit number accounts for, among other
things: (i) the increased costs Sanofi incurred for additional co-pay assistance where Auvi-Q was
placed at a disadvantage relative to the coverage tier for the EpiPen; (ii) increased costs required to
rebut Mylan’s misleading statements about Auvi-Q’s safety and efficacy; (iii) additional rebates that
Sanofi was forced to give to Third Party Payors just to secure access to formularies; and (iv) the
increased costs Sanofi incurred from having to buy back Auvi-Q units that would have been sold but
for Mylan’s anticompetitive conduct. The one cost that is not incorporated into this
        in profits is the cost that Sanofi incurred in 2015 when it provided points on a different
product –          – just to get Auvi-Q taken off of the ESI exclusion list. This cost, which would have
never been incurred but-for Mylan’s conduct, amounted to approximately                              When
combined with the                                      , the total loss profits Sanofi incurred during the
2013-2015 period amount to

211.    The difference between the but-for profits                        and what Sanofi actually earned
on sales of Auvi-Q in this period                              or                , are the damages Sanofi
incurred during this period as a result of Mylan’s conduct. In present value terms, this
in damages translates into                   403



        B. DAMAGES FOR 2017-2029
212.    The Auvi-Q voluntary recall occurred in October, 2015. In February, 2016, Sanofi returned
the Auvi-Q rights to Kaléo, which reintroduced Auvi-Q to the market in February, 2017. During this
period Mylan began selling a generic version of EpiPen, and shortly thereafter, Teva introduced its
own EpiPen generic in 2018. Since Sanofi’s decision to return the rights for Auvi-Q was a direct
result of its expectation that Mylan would continue its exclusionary conduct, that conduct resulted



402




                             . See SAN-EPI_A-0059425; SAN-EPI-0002512 at 515; SAN-EPI-0422838.
403For this conversion, I use a discount rate of - the rate that Sanofi uses in its financial projections. SAN-
  EPI-0014223 at slide 3.

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in further damage to Sanofi, as, because of Mylan’s conduct, Sanofi received no profits from the
reintroduction of Auvi-Q. If instead Sanofi had retained the Auvi-Q rights and reintroduced Auvi-Q
to the market, it would have received profits on those sales.

213.       As an initial matter, it is clear that Sanofi would have reintroduced Auvi-Q to the market had
Mylan not engaged in its anticompetitive conduct. As Sanofi witnesses have made clear, Sanofi was
convinced that had it relaunched the product, Mylan would have engaged in the same
anticompetitive activity, hampering Sanofi’s ability to compete and obtain the market share that it
would secure but for Mylan’s conduct.404 As discussed above, the burden imposed by the
exclusionary contracts Mylan entered into acted as a tax on Sanofi’s pricing, forcing Sanofi to offer
rebates well above what Mylan offered, and making participation in the EAI market insufficiently
profitable. In short, because of Mylan’s conduct, Auvi-Q would never have surpassed the
profitability hurdle that Sanofi sets for its products.405 Rather than continue to fight Mylan on a
drastically tilted playing field, Sanofi instead determined that it was in its best interest to return the
rights to Kaléo.

214.       Of course, were it not for Mylan’s conduct, Sanofi would have earned significant profits
during the 2013-2015 period, along the lines calculated above, and it would have had every
incentive to relaunch Auvi-Q provided that was a viable option. Indeed, even with its conduct,
Mylan still anticipated that Sanofi would relaunch Auvi-Q. When asked directly whether Mylan




404   See Barry 30(b)(6) Dep. at 37-38 (“Q. Why was the decision made to return the rights to Auvi-Q to Kaleo?




                                                         Barry 30(b)(6) Dep. at 44

                                                                                                  Guenter
  Dep. at 326-27

                                                  Guenter Dep. at 333


405   See id.; see also Guenter Dep. at 329


                                          Guenter Dep. at 335



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                                                                                      She went on to
explain that



215.    The available evidence demonstrates that relaunching Auvi-Q was clearly viable. Perhaps
most compelling is the fact that Kaléo, despite its smaller size and its need to develop a sales team
and incur substantial entry costs, nevertheless actually relaunched the product in early 2017. It is
difficult to see how, if the proper financial incentive were there (and it would have been but for
Mylan’s conduct), Sanofi, with a marketing team already in place, would not also be able to relaunch
the product. Moreover, it is my understanding that the concerns that gave rise to the recall were
relatively minor and were easily addressed.408 Once again, that Kaléo in fact relaunched the
product demonstrates the ease with which these hurdles could be surmounted.

216.    Having concluded that, but for Mylan’s conduct, Sanofi would have relaunched Auvi-Q, the
next step is assessing the level of profits that Sanofi would have earned in the but-for world. To
answer this question, a number of variables come into play. Specifically, calculation of the post-
recall damages requires assessing when that reintroduction would have occurred, what Auvi-Q’s
unit sales would have been in each year, and what the market pricing following Auvi-Q re-entry
would be. Before turning to these questions, I first address a gating issue: the role that generic
versions of the EpiPen would play in the but-for world.

217.    As noted, during the post-recall period, two different generic versions of the EpiPen were
launched. First, there was the introduction of Mylan’s own generic version of EpiPen in December,
2016, followed by the November, 2018 launch of the Teva generic.409 While generic competition


406 Willing Dep. at 233.
407 Willing Dep. at 233.
408 Conversation with Dr. Phillip Huang. See also Barry 30(b)(6) Dep. at 44




                                           SAN-EPI-0052798, at slides 3-4

409Mylan, “Mylan Launches the First Generic for EpiPen® (epinephrine injection, USP) Auto-Injector as an
  Authorized Generic” (Dec. 16, 2016), http://newsroom.mylan.com/2016-12-16-Mylan-Launches-the-First-
  Generic-for-EpiPen-epinephrine-injection-USP-Auto-Injector-as-an-Authorized-Generic; Teva, “Teva’s
  Generic Version of EpiPen® (Epinephrine Injection, USP) Auto-Injector 0.3 mg Now Available in Limited
  Quantity in the United States” (Nov. 27, 2018),


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generally has a dramatic impact on sales of the branded version of the same product, that is often
not the case for other branded products in the same class of drugs. Both effects are seen in the EAI
market: introduction of the EpiPen authorized generic led to dramatic share shifts from branded
EpiPen to Mylan’s generic EpiPen. However, prior to the introduction of the EpiPen authorized
generic, competition from the Adrenaclick authorized generic (a generic version of a different EAI
product in the same market) had minimal impact on branded EpiPen sales.

218.


                                                                                          The
forecast projects




                                                                         The budget presentation
includes a slide that


                                            412


219.      These assessments by Mylan of the impact of EpiPen generics on Auvi-Q are fully in line
with the forecast that Mylan prepared prior to engaging in its anticompetitive course of conduct. As
noted above, in the “base case” version of that forecast – one that assumes no entry by a generic
EpiPen –


                                                              In short, Mylan projected that the
entry of a generic version of the EpiPen would have no impact whatsoever on Auvi-Q sales.




  http://ir.tevapharm.com/phoenix.zhtml?c=73925&p=irol-newsArticle&ID=2378366 (accessed Dec. 19,
  2018).
410 MYEP00350217 at 221.
411 MYEP00392152 at slide 5.
412 MYEP00392152 at slide 6; see also Bresch Dep. at 367-68 (




                          .
413   MYEP01209503.


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220.   Years later, Mylan projected the impact of both generic competition and Auvi-Q re-entry in
its 2017 Budget Presentation.414 Those projections reflect the introduction of Mylan’s authorized
generic EpiPen at the end of 2016 and the anticipated relaunch of Auvi-Q in June 2017. Two things
are notable about the forecasted shares through the end of 2017. First,




221.   To assess Auvi-Qs unit sales in the but-for world, I look to this same 2017 Budget
Presentation just discussed. As noted,




222.




Accordingly, I assume that Auvi-Q would have achieved unit sales corresponding to a 30% share of
2016 EAI unit sales after three years and a 40% share of 2016 EAI unit sales after four years,
following the same trends discussed above.

223.   The 2017 Budget Presentation also indicates that




414MYEP01362570                                                                             at slide
  51.
415




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       Teva’s generic was also introduced at a WAC price that matches the EpiPen generic price.416
Accordingly, I assume that the generic competition will not change the pricing for Auvi-Q, and that
following a ramp up period, Sanofi would have earned the same margin on Auvi-Q sales as in its
initial forecast for 2016.

224.    These above-discussed forecasts from Mylan and Sanofi motivate the following approach to
estimating the but-for profits that Sanofi would have earned from the reintroduction of Auvi-Q:

                a. Sanofi would have re-introduced Auvi-Q in early 2017, which was when Kaléo
                   reintroduced Auvi-Q. Given that Sanofi already had a marketing team in place,
                   and would not have had to incur certain of the costs incurred by Kaléo
                   associated with the relaunch, my assumption here is conservative, as it is quite
                   plausible that Sanofi would have relaunched Auvi-Q months before Kaléo was
                   able to do so.
                b. After a ramp-up period, Auvi-Q would have sold 40% of the projected EAI units
                   in Sanofi’s forecast for 2016.
                c. In my base case scenario, I have used a ramp up period of four years – consistent
                   with the projections for Auvi-Q’s growth at launch. As an alternative, I consider
                   an accelerated ramp-up period of two years, which reflects the faster Auvi-Q
                   growth rate after reintroduction in Mylan’s January 2017 forecast, and also
                   reflects the faster growth rate exhibited by Auvi-Q in 2013 in Horizon BCBS,
                   University of Michigan, and Canada when Auvi-Q received equal formulary
                   placement with EpiPen.
                d. Unit demand for Auvi-Q grows at a 0.7% annual rate, which is consistent with
                   U.S. population growth. This growth assumption is conservative in that it does
                   not attempt to account for any growth in the share of the population that is at
                   risk for anaphylaxis or for any increases in the overall awareness of anaphylaxis.
                e. The pricing of Auvi-Q remains constant. As an alternative, I also compute but-for
                   profits assuming prices grow at 3% per year.417
                f.   Sanofi earns profits until the expiration of the Auvi-Q patent at the end of the
                     first half of 2029.418
                g. As an alternative variation, I also calculate but for profits under a scenario in
                   which Sanofi charges a

416 Teva Press Release, “Teva’s Generic Version of EpiPen® (Epinephrine Injection, USP) Auto-Injector 0.3 mg
  Now Available in Limited Quantity in the United States” (Nov. 27, 2018), available at
  http://ir.tevapharm.com/phoenix.zhtml?c=73925&p=irol-newsArticle&ID=2378366 (accessed Dec. 19,
  2018); CNBC, “Teva prices EpiPen generic at $300, same price as Mylan generic,” Nov. 27, 2018, available at
  https://www.cnbc.com/2018/11/27/teva-epipen-generic.html.
417 Sanofi’s original financial projections for Auvi-Q included a 3% annual price increase. SAN-EPI-0766016

  at 024.
418 See SAN-EPI-0413166 at 168.


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       C. TOTAL DAMAGES
226.   The total damages suffered by Sanofi as a result of Mylan’s exclusionary conduct are the
present value of the sum of the actual damages incurred during the 2013-2015 period and the net
present value of lost profits from retaining and reintroducing Auvi-Q. The total damages in my base
case currently are              . When the alternative scenarios I have considered are accounted
for, total damages range from                                  .




                                                      ________________________________________________

                                                                         Fiona Scott Morton

                                                                          February 4, 2019




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APPENDIX
        A. SUMMARY
227.    I investigate the impact of past prescribing volumes in states and the availability of Auvi-Q
on insurance plan formularies on current Auvi-Q prescriptions on insurance plans. This Appendix
explains the methodology and results. I combine data on prescription volumes of EAIs by plan with
data on formulary statuses and restrictions on EAIs by plan, over a time period from January 2013
to October 2015. Applying a regression analysis to the data, I estimate the role of past state-level
Auvi-Q prescription volume shares of EAIs (Auvi-Q spillovers) and plan-level formulary statuses on
current plan-level Auvi-Q prescription volume shares.

        B. DATA
228.    Prescription volume data (“sales data”) in the U.S. comes from IQVIA Xponent Plantrak
(“Xponent”). Xponent provides broad coverage of prescriptions dispensed to the patient at retail,
mail order, and long-term care pharmacies, by time period, location, product (NDC), and payer.421
Payers include specific commercial plans, Medicare plans, Medicaid plans (State Medicaid and
Managed Medicaid), and cash.422 Xponent sales are available in prescription volumes; I use total
prescriptions dispensed (“TRx”), which includes new and refill prescriptions dispensed.


421 IQVIA, “Research Support,” https://www.iqvia.com/institute/research-support (accessed Feb. 4, 2019);
  Phi Publications, http://www.phipublications.com/About_Data.html (accessed Feb. 4, 2019).
422 I identify payer types by plan names and method of payment provided in Xponent data and by linking that

  dataset to MMIT data, which provides payer information. See Aspe.hhs.gov, "Medicaid Program Names,"
  https://aspe.hhs.gov/dataset/medicaid-program-names (accessed January 25, 2019);
  Cahealthadovcates.org, "MEDI-CAL (For People with Medicare)," https://cahealthadvocates.org/low-
  income-help/medi-cal-for-people-with-medicare/ (accessed February 3, 2019); Careoregonadvantage.org,
  "Care Oregon Advantage," https://www.careoregonadvantage.org/docs/default-source/2018-member-
  material/coa_star_2018_summary_of_benefits.pdf?sfvrsn=2 (accessed February 3, 2019); Hhs.texas.gov,
  "STAR Medicaid Managed Care Program," https://hhs.texas.gov/services/health/medicaid-
  chip/programs/star-medicaid-managed-care-program (accessed February 3, 2019); ICarehealthplan.org,
  "iCare Medicare Plan," https://www.icarehealthplan.org/Plans/MedicareSNP.aspx (accessed February 3,
  2019); Medicaid.gov, "Children's Health Insurance Program (CHIP),"
  https://www.medicaid.gov/chip/index.html (accessed February 3, 2019); Medicaid.gov.ohio.gov,
  "Programs for Children, Families and Pregnant Women," https://www.medicaid.ohio.gov/FOR-
  OHIOANS/Programs/Children-Families-and-Women (accessed February 3, 2019); Medicare.gov, "Drug
  coverage (Part D)," https://www.medicare.gov/drug-coverage-part-d (accessed February 3, 2019);
  Medicare.gov, "Private Fee for Service Plans (PFFS)," https://www.medicare.gov/sign-up-change-
  plans/types-of-medicare-health-plans/private-fee-for-service-pffs-plans (accessed February 3, 2019);
  Medicare.gov, "Special Needs Plans (SNP)," https://www.medicare.gov/sign-up-change-plans/types-of-
  medicare-health-plans/special-needs-plans-snp (accessed February 3, 2019); Optimahealth.com, "Optima
  Medicare HMO - Plan Information," https://www.optimahealth.com/plans/medicare/coverage/plan-


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229.    I examine Xponent sales data on epinephrine auto injector (EAI) prescriptions. From
January 2013 to October 2015 (when Auvi-Q was launched to the time of its recall), EAIs in the data
include EpiPens (2-Paks, Jr 2-Paks), Auvi-Q, Adrenaclick and Adrenaclick AG, and Twinject.423

230.    MMIT data provides the formulary status and restrictions for specific EAI products over
time, as well as the number of plan lives by state. I use Sanofi’s monthly bridge files to link IQVIA
sales data with MMIT formulary information for each EAI product. The bridge files provide a
mapping between IQVIA’s plan identifiers and MMIT’s plan identifiers and are available starting in
March 2014. For plans in January 2013-February 2014, I apply the earliest available crosswalk
(March 2014).424 About 61% of all IQVIA plans match with MMIT formulary information from
January 2013 to October 2015.425




  information (accessed February 3, 2019); Q1medicare.com, "2019 Medicare Advantage Plan Benefit Details
  for the Medi-Pak Advantage (HMO)," https://q1medicare.com/MedicareAdvantage-PartC-
  MedicareHealthPlanBenefits.php?state=AR&source=2016MAText&ZIP=&countyCode=5131&contractId=H
  9699&planId=004&segmentId=1&plan=Medi-
  Pak%20Advantage%20(HMO)&utm_source=partd&utm_medium=matext&utm_campaign=detailsicon
  (accessed February 3, 2019); Q1medicare.com, "What is Medicare PDP and an MAPD,"
  https://q1medicare.com/q1group/MedicareAdvantagePartDQA/FAQ.php?faq=What-is-a-Medicare-PDP-
  and-an-MAPD-&faq_id=616&category_id=146 (accessed February 3, 2019).
423 I identify EAIs by NDC numbers and product names in the IQVIA data for the U.S. I also use MMIT data,

  which provide product names corresponding to NDC numbers for branded EAIs. For identifying generic
  EAIs from NDC numbers, see Bioportal.bioontology.org, "NDA020800 0.15 Epinephrine 1 MG/ML Auto
  Injector," http://bioportal.bioontology.org/ontologies/RXNORM?p=classes&conceptid=1870225 (accessed
  February 3, 2019); Bioportal.bioontology.org, "NDA020800 0.3 ML Epinephrine 1 MG/ML Auto-Injector,"
  http://bioportal.bioontology.org/ontologies/RXNORM?p=classes&conceptid=1870230 (accessed February
  2, 2019); Dailymed.nlm.nih.gov, https://dailymed.nlm.nih.gov/dailymed/drugInfo.cfm?setid=9a010290-
  186a-4182-a6bd-c6ae75b3cbeb (accessed February 3, 2019); Drugs.com, "Generic Adrenaclick
  Availability," https://www.drugs.com/availability/generic-adrenaclick.html (accessed February 3, 2019);
  Hidesigns.com, "North Dakota Medicaid Generics Preferred List,"
  http://hidesigns.com/assets/files/ndmedicaid/2017/North_Dakota_Authorized_Generics_Preferred_List_1
  0102017.pdf (accessed February 3, 2019); Mckesson.com, "Generic EpiPen®; EPIsnap®; Adrenaclick®;
  Auvi-Q®; Epinephrinesnap-v®; EpiPen 2-Pak®; EpiPen Jr 2-Pak®; EPIsnap® Alpha- and Beta-Adrenergic
  Agonist Epinephrine 0.15 mg Injection Auto-Injector 0.15 mL,"
  https://mms.mckesson.com/product/1053683/Impax-Pharmaceuticals-115169549 (accessed February 3,
  2019).
424 A single MMIT plan may map to multiple IQVIA plans and vice versa. To resolve the many-to-many

  matches, I do the following. First, I compute the national lives for the Org ID. Where one MMIT plan (“Org
  ID”) maps to multiple IMS Plan IDs, I allocate the Org ID’s national lives to each Org ID – Plan ID pair based
  on the relative proportions of EAI sales for each matched Plan ID candidate out of the total EAI
  prescriptions across all matching Plan IDs. Then for each IQVIA Plan ID, I assign formulary characteristics of
  the matched MMIT Org ID with the largest number of allocated plan lives. The crosswalks are at the national
  level, the sales are at the state level, and the plans are assigned at the state level.
425 Calculation on file.




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         C. MODEL
231.     To statistically test for the Auvi-Q share effect of formulary tier designations, plan
restrictions, and spillovers, I estimate the following regression model:

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                   + <* =$>?#0?$5%,',( + <3 8+9$:=$>?#0?$5%,',(
                   + <@ A-?.-$#$5%,',( + <B A-?C>?$5%,',( + D4>0$,,":$->%,',(
                   + 9E4F + ?"?$' + G/$( + H%,',(

where an observation is a plan i (and PBM p), state s, and year-month t.

232.     The dependent variable, AuviQShare, is the Auvi-Q share of total EAI prescription volume for
a plan by state and time period (year-month).

233.     On the right hand side, AuviQSpillover is the statewide Auvi-Q prescription share of all EAIs,
lagged by one month, and split by Commercial and Medicare-Medicaid channels.

234.     Regarding formulary preferences, EpiPenPreferred and AuviQPreferred are dummy variables
to indicate if EpiPen is on a preferred tier to Auvi-Q or if Auvi-Q is preferred to EpiPen, based on
MMIT’s standardized formulary tier rankings for each plan.426 AuviQPreferred equals one if the plan
has EpiPen in its “Covered” tier and Auvi-Q in the “Generic (Preferred),” “Generic,” or “Preferred”
tier, and neither brand is restricted (similar definition for EpiPenPreferred). Plans where Auvi-Q
and EpiPen have equal status comprise the reference (omitted) category. AuviQEqual equals one if
both brands are “Generic (Preferred),” “Generic,” “Preferred,” Covered,” “Not Listed,” “Not Covered,”
or both are restricted. Thus the formulary dummy variables indicate the change in predicted Auvi-Q
share due to differences in Auvi-Q’s and EpiPen’s formulary placement relative to both brands
having equal formulary status.

235.     Restrictions are captured by indicator variables AuviQRestricted and EpiPenRestricted.
AuviQRestricted equals one if the plan has a step edit or prior authorization on Auvi-Q in any tier,
and EpiPen in the “Generic (Preferred),” “Generic,” “Preferred,” or “Covered” tier (similar definition
for EpiPenRestricted).


426The tier categories are: Generic (Preferred), Generic, Preferred, Covered, Specialty, Not Listed, Unknown,
  Not Covered.

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236.    Similarly, AuviQNotListed equals one if the plan has Auvi-Q in its “Not Listed” tier and
EpiPen is in the “Generic (Preferred),” “Generic,” “Preferred,” or “Covered” tier. AuviQNotCovered
equals one if the plan has Auvi-Q in its “Not Covered” tier and EpiPen in “Generic (Preferred),”
“Generic,” “Preferred,” or “Covered” tiers.

237.    Miscellaneous is a dummy that equals one if all the above formulary tier dummies equal
zero, capturing all other combinations of formulary preference and restriction status of EAIs.427
Time denotes fixed effects by year-month. As an alternative, I also model time fixed effects using
year and month separately. State denotes fixed effects for states. PBM denotes fixed effects for
PBMs.

238.    Observations with cash methods of payment are excluded from the regressions as they do
not have any insurance plan information. However, their sales are included in the denominator
while constructing the spillover variables.

239.    I analyze effects on commercial plans only. The regression model is weighted by covered
lives in each plan.428 As an alternative, I consider an estimate that uses EAI prescription volume to
weight across plans. The final regression sample includes approximately 84% of all commercial
MMIT lives in any month between January 2013 and October 2015. Summary statistics for the
variables in the model are shown in Table A.1.




427 In case EpiPen and Auvi-Q are both restricted and have equal status, then only the dummy variable Auvi-
  QEqual equals one. In case both EAIs have equal status and only one EAI is restricted, then only the
  restriction dummy equals one.
428 After matching the sales and formulary information datasets, I extend the methodology to estimate the

  number of covered lives by plan and state. Within each period, I calculate the total allocated lives for each
  IQVIA Plan ID. I sum the Plan ID’s EAI sales across all states where it had sales, and I further allocate the
  lives to each state according to the proportion of sales for each state out of the Plan ID’s national sales.

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                                       Table A.1: Summary Statistics

                                    Commercial Plans, Jan. 2013 – Oct. 2015


       Variables                                   Obs      Mean     Std. Dev. Min      Max
       Auvi-Q Share                                 453,211   0.0807    0.1251   0.0000   1.0000
       Lagged Auvi-Q Spillover (Commercial)         443,980   0.0483    0.0272   0.0000   0.1800
       Lagged Auvi-Q Spillover (Medicare/Medicaid)  443,980   0.0078    0.0113   0.0000   0.1836
       EpiPen Preferred                             453,211   0.3389    0.4733   0.0000   1.0000
       Auvi-Q Preferred                             453,211   0.0073    0.0853   0.0000   1.0000
       Auvi-Q Equal                                 453,211   0.2176    0.4126   0.0000   1.0000
       EpiPen Restricted                            453,211   0.0135    0.1153   0.0000   1.0000
       Auvi-Q Restricted                            453,211   0.0801    0.2714   0.0000   1.0000
       Auvi-Q Not Listed                            453,211   0.1572    0.3640   0.0000   1.0000
       Auvi-Q Not Covered                           453,211   0.1561    0.3629   0.0000   1.0000
       Miscellaneous                                453,211   0.0293    0.1686   0.0000   1.0000


        Notes:
 [1]    Observations are weighted by total plan lives. Observations are by plan and period (month).
 [2]    Plans with missing formulary information and plans with missing EAI prescription volume data are
        excluded. Auvi-Q sales are assumed to be zero if Auvi-Q’s TRx is missing and total EAI volume for the
        month and plan is nonzero.

        Sources:
 [a]    IQVIA Xponent Plantrak
 [b]    MMIT Data
 [c]    Sanofi Bridge Files
 [d]    See Appendix Part B notes


        D. RESULTS
240.    Table A.2 shows the estimates of state-level Auvi-Q spillovers, split by Commercial and
Medicare/Medicaid channels, on plan-level Auvi-Q shares for commercial plans between January
2013 and October 2015.

241.    As shown in the main specification (Column (1)) with observations weighted by total plan
lives, a 10 percentage point increase in the lagged Auvi-Q Commercial spillovers in the state
predicts a 5.8 percentage point increase in plan Auvi-Q shares. Similarly, a 10 percentage point
increase in lagged Auvi-Q Medicare/Medicaid spillovers predicts a 3.5 percentage point increase in
plan Auvi-Q shares. Column (2) estimates the same model, except that it controls separately for
year and month instead of using combined year by month fixed effects. Both the commercial and
Medicare/Medicaid spillover effects are higher using this alternative specification.



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242.    Columns (3) and (4) present the same two specifications as columns (1) and (2), but differ
only in that observations are weighted by total plan EAI prescriptions. The estimated commercial
spillover effect is somewhat larger: a 10 percentage point increase in the lagged Auvi-Q Commercial
spillovers in the state predicts between a 7.9 and 9.4 percentage point increase in plan Auvi-Q
shares. Meanwhile, a 10 percentage point increase in lagged Auvi-Q Medicare/Medicaid spillovers
predicts a 2.5 to 2.7 percentage point increase in plan Auvi-Q shares using the alternative weighting
methodology. In all four variations considered, the estimated effect for both commercial and
Medicare/Medicaid spillover effects is positive and statistically significant.

243.    Looking at the formulary status variables in Column (1), EpiPen being preferred to Auvi-Q
on the formulary decreases the estimated Auvi-Q share by 1.3 percentage points relative to when
EpiPen and Auvi-Q have the same formulary status. When Auvi-Q is restricted (i.e., subject to step
therapy or prior authorization), the estimated Auvi-Q share decreases by 4 percentage points. And
when Auvi-Q is not covered by the formulary at all, the estimated Auvi-Q share decreases by more
than 5 percentage points. These effects vary somewhat across the different specifications, but are
statistically significant in all of them, and indicate that greater restrictions on Auvi-Q lead to larger
and larger reductions in Auvi-Q’s share of plan prescriptions.

244.    Overall, the results indicate that the past prescribing habits of doctors throughout the state
and the formulary positioning of EpiPen and Auvi-Q impact the current Auvi-Q share of EAI
prescriptions on insurance plans. The results demonstrate that in states where Mylan was able to
restrict access to Auvi-Q at the leading PBMs in the state, the Auvi-Q share fell on average across
PBMs in the state.




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                 Table A.2: Effect of State Auvi-Q Spillovers on Plan Auvi-Q Shares

                                  Commercial Plans, Jan 2013 – Oct 2015

Dependent Variable: Auvi-Q Share                     (1)              (2)              (3)              (4)
Explanatory Variables

Lagged Auvi-Q Spillover (Commercial)              0.582***          0.836***        0.790***          0.937***
                                                   (0.0850)         (0.0682)         (0.0508)         (0.0489)
Lagged Auvi-Q Spillover (Medicare/Medicaid)       0.350***          0.368***        0.252***          0.273***
                                                    (0.100)          (0.103)         (0.0931)         (0.0764)
EpiPen Preferred                                 -0.0127***       -0.0111***       -0.0109***       -0.0105***
                                                  (0.00379)        (0.00363)        (0.00356)        (0.00346)
Auvi-Q Preferred                                   0.168***         0.168***        0.184***          0.184***
                                                   (0.0306)         (0.0305)         (0.0342)         (0.0341)
EpiPen Restricted                                   0.00775          0.0102         -0.0124**        -0.0109**
                                                   (0.0151)         (0.0151)        (0.00521)        (0.00518)
Auvi-Q Restricted                                -0.0405***       -0.0400***       -0.0417***       -0.0415***
                                                  (0.00514)        (0.00512)        (0.00579)        (0.00573)
Auvi-Q Not Covered                               -0.0526***       -0.0504***       -0.0681***       -0.0675***
                                                  (0.00637)        (0.00644)        (0.00418)        (0.00419)
Auvi-Q Not Listed                                -0.0156***       -0.0208***       -0.0168***       -0.0217***
                                                  (0.00555)        (0.00492)        (0.00469)        (0.00420)
Miscellaneous                                     0.0233***        0.0235***         0.00650          0.00681
                                                  (0.00571)        (0.00581)        (0.00403)        (0.00409)

Observations                                      443,980        443,980       488,946        488,946
R-squared                                          0.140          0.136         0.223          0.217
Time Fixed Effects                             Year by Month Year and Month Year by Month Year and Month
PBM Fixed Effects                                    Yes           Yes            Yes           Yes
State Fixed Effects                                  Yes           Yes            Yes           Yes

        Notes:
[1]     Observations are weighted either by total plan lives (in Columns (1) and (2)) or EAI prescriptions (RX)
        (Columns (3) and (4)).
[2]     Standard errors (in parentheses) are clustered at the state-level. *** p<0.01, ** p<0.05, * p<0.1
[3]     Plans with missing formulary information and plans with missing EAI prescription volume data are
        excluded. Auvi-Q sales are assumed to be zero if Auvi-Q is missing and total EAI volume for the month
        and plan are nonzero.

        Sources:
[a]     IQVIA Xponent Plantrak
[b]     MMIT Data
[c]     Sanofi Bridge Files
[d]     See Appendix Part B notes




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   1994–1997           Assistant Professor of Strategic Management, Graduate School of Business,
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   Awards
   2016           Yale School of Management Alumni Association Elective Teaching Award: one of
                  two teaching prizes awarded at Yale SOM for the academic year 2015–16
   2014           HEMA/KPPI Distinguished Visitor, Kellogg GSM, Northwestern University

   2011            Health Care Research Award, National Institute for Health Care Management
                  for “The Effect of Medicare Part D on Pharmaceutical Prices and Utilization.” With
                  Mark Duggan.
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   2011           National Science Foundation Research Grant 1064341 for “The Industrial
                  Organization of the Biologics Industry: Theory, Empirics and Policy.”

   2011           Excellence in Refereeing Award 2011, American Economic Review

   2010           Excellence in Refereeing Award 2010, American Economic Review

   2007           Yale School of Management Alumni Association Teaching Award, the only teaching
                  prize awarded at Yale School of Management for the academic year 2006–2007

   2007           Green Award, Journal of Marketing Research, for the paper “How the Internet
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   2005–2008      National Science Foundation Research Grant 0518858 for “The Effect of
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                  Maryland.
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                  Car Shopping on Prices and Discrimination.” With Florian Zettelmeyer, UC-
                  Berkeley. http://www.nsf.gov/awardsearch/showAward.do?AwardNumber=0111885

   1998–2002      National Science Foundation Research Grant 9810178 for “Studies of
                  Competition.”
                  http://www.nsf.gov/awardsearch/showAward.do?AwardNumber=9810178
   1995           Distinguished Teaching Commendation: One of three “second prizes” given by
                  Stanford MBA students for excellence in teaching during the academic year 1994-
                  95
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   1993–1994       Program on the Pharmaceutical Industry, MIT, grant for full tuition and stipend


   Courses taught
   Competition Economics and Policy: Elective MBA course covering topics in competition enforce-
   ment such as cartels, horizontal mergers, monopolization, vertical restraints, exclusive dealing,
   MFNs, predatory pricing, and IP. The law is taught but the focus is on the economics and manage-
   rial implications.

   Competitive Strategy: Elective MBA course covering topics in I.O. such as price and quantity
   competition, entry, and antitrust, as well as strategy concepts such as industry analysis, competitive
   advantage, and sustainability

   The Competitor Perspective: One element of the core curriculum for first-year MBAs that provides
   introductory analysis of competition using tools from economics, marketing, accounting, and politics


   PhD students supervised (institution, year; first placement)
   Andrea Coscelli (Stanford GSB, 1998; University College London)

   Brian Viard (University of Chicago GSB, 2000; Stanford GSB)

   Paris Cleanthous (Yale, 2003; NYU Stern)

   Juan Esteban Carranza (Yale, 2004; Wisconsin-Madison)

   Henry Schneider (Yale, 2006; Cornell Johnson School)

   Fabian Duarte (Yale, 2010; RAND)


   Memberships and professional service
   American Economic Association

   NBER, Research Associate, Industrial Organization

   First Western Bancorp Inc. (now Sky Bank, Bowling Green, Ohio), Board of Directors (1998–1999)

   StreamSage.com, Advisory Board (2000–2004)

   Economic Policy, Panel (2002–2004)

   Review of Industrial Organization, Editorial Board (2002–2004)

   The Journal of Industrial Economics, Associate Editor (2003–2006)

   International Journal of Industrial Organization, Co-Editor (2005–2008)

   BE Journal of Economics Analysis and Policy, Editor (2006–2010)

   American Economic Association Committee on the Status of Women in the Economics Profession,
   Board (2007-2009)
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   Journal of Economic Perspectives, Associate Editor (2007–2010)

   Scientific Committee, Center for European Economic Research (ZEW) ICT conference (2010)

   Program Committee, American Economic Association Meetings (2010)

   Scientific Committee, FTC microeconomics conference (2010)

   American Economic Review, Board of Editors (2011–2013)

   Research Advisory Board, CEFAGE, Portugal, member (2013- )

   Wharton Business Economics and Public Policy Department, External Review Committee (2016)

   AEA Committee on Government Relations (2017-2019)


   Invited research presentations
   Dartmouth Econ, MIT Econ, Harvard Econ, Harvard Business School, Harvard School of Public
   Health, Boston University, Yale Econ, Yale Law, SUNY Stony Brook Econ, Columbia Econ,
   Columbia Business School, NYU Stern, U. Penn Wharton School, Univ. of Maryland Econ,
   Department of Justice, Federal Trade Commission, Univ. of Delaware Econ, Duke Econ, Univ. of
   Virginia Econ, Carnegie Mellon Heinz School, Northwestern Econ, Northwestern Kellogg GSM,
   Chicago Econ, Chicago GSB, Purdue Econ, Univ. of Michigan Business School, Washington Univ.
   St. Louis Olin School, Iowa State Econ, University of Tennessee Knoxville, Univ. of Rochester
   Business School, Cornell Econ, Univ. of Texas at Austin, Univ. of Arizona, Stanford GSB, UC
   Berkeley Econ, UC Berkeley Haas School, UCLA Econ, RAND, Univ. of Toronto Econ (Canada),
   Univ. of British Columbia (Canada), Victoria University (Canada), HEC Montreal (Canada), Queens
   University (Canada), Univ. of Munich (Germany), Univ. of Linz (Austria), DG Competition (Belgium),
   London School of Economics (England), Office of Fair Trading (England), Oxford University
   (England), Cambridge University (England), University of Warwick (England), Imperial College
   (England), UCL (England), Edinburgh University (Scotland), Stirling University (Scotland), European
   University Institute (Italy), IDEI Toulouse (France), University of Auckland (New Zealand)


   Conferences (presenter or discussant)
   Bates White healthcare conference: 2018

   Kaiser pharmaceutical pricing conference: 2018

   Brookings Institute conference: pharmaceutical competition 2017, patient cost-sharing: 2018

   MACCI conference, Mannheim, Germany 2018

   Highland Health Economics Conference: 2017 (organizer)

   Law, Competition & Markets Paris conference (Columbia University): 2017

   EUI: Disruptive Innovation and Competition Policy: 2017
   University of East Anglia, Centre for Competition Policy, pharmaceutical conference: 2017

   Academic and Practitioner Symposium on Mutual Funds and ETFs (Darden): 2017
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   5th BRICS International Competition Conference (Brazil) 2017
   Unlocking the Promise of Antitrust Enforcement, American University (2017)
   Competition, Concentration and Antitrust conference, Stigler Center, Chicago Booth GSB: 2017 (key-
   note)
   American Antitrust Institute Airline roundtable: 2016
   Center for Equitable Growth antitrust conference: 2016
   ICN Chief Economist Workshop at UBC: 2016
   University of Montreal summer IO conference: 2016
   Searle International Competition Economist meeting: 2016
   Yale Conference on Problems with Global Antitrust Enforcement: 2016 (organizer)
   FTC Auto Distribution workshop: 2016
   Yale Conference on Healthcare Consolidation: 2015 (organizer)
   CRESSE summer conference: 2015
   FTC/DOJ Healthcare Conference: 2015
   Silicon Flatirons conference, University of Colorado Law School: 2015, 2017
   Utah Winter Business Economics Conference: 2014, 2017
   NBER Economics of Health Insurance Exchanges: 2014
   NBER Digitization Summer Institute: 2014
   NBER Innovation Summer Institute: 2014, 2015
   FTC/DOJ Conditional Pricing Practices: 2014
   IDEI Toulouse TIGER Health conference: 2014
   Northwestern Healthcare Markets Conference: 2014
   Competition Policy Lecture, University of Toronto Rotman School, 2014
   Kaiser Permanente Healthcare and IO conference: 2013 (organizer)
   Barcelona GSE Summer Forum: 2013
   ChIPs Women in IP Summit, 2013
   Conference on Healthcare Reform, Baker Institute, Rice University, 2013
   Landsdowne Lecture, University of Victoria, Canada, 2013
   EARIE: 2012, 2013

   ABA Spring Antitrust meeting: 2011, 2012, 2013
   Milton Friedman Healthcare Conference, University of Chicago: 2011
   Northwestern Law School Searle Antitrust Economics and Competition Policy: 2011 keynote, 2012
   keynote, 2013 . 2014, 2015, 2016
   Yale Marketing IO conference: 2011

   FTC Microeconomics Conference: 2010 keynote

   NBER Public Economics: spring meeting 2009
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   ASHE conference: 2008

   NBER conference on intellectual property: 2006

   UCL Behavioral IO conference, England: 2006

   CEPR Applied IO conference: 2006

   WZB Institute Behavioral IO conference, Berlin, Germany: 2005

   Univ. of British Columbia IO conference: 2004

   IDEI (Toulouse) pharmaceutical and healthcare conference: 2008

   IDEI (Toulouse) e-commerce conference: 2001, 2003 (co-author presented), 2005

   NBER conference on innovation policy: 2005

   NBER conference on IO of healthcare: 1998

   NBER conference on non-profits: 2002
   NBER e-commerce group conferences: 2000, 2001

   NBER IO Winter Meetings: 1995, 1996, 2000, 2004

   NBER IO Summer Institute: 1998, 2001 (organizer and presenter), 2003, 2007 (organizer), 2008,
   2010, 2013 (organizer)

   American Economics Assn. Meetings: 2001, 2002, 2004, 2005, 2007, 2008, 2010

   Economic Policy Conference: 2002 spring and fall, 2003 fall, 2004 fall

   Harvard Business School Strategy Conference: 1999, 2004

   Stanford Strategy Conference: 1996, 1997 (organizer), 1999, 2000

   Boston University healthcare I.O. conference: 1995, 1999, 2004


   Other invited speaking engagements
   SIEPR, 2018

   DG Competition, series on effects-based analysis of unilateral conduct, 2017

   Scotchmer Lecture, Toulouse IDEI, 2017

   EC Roundtable, Regulatory Environment for Online Platforms, 2015

   Digital Forum, IDEI, Paris, France, 2015

   Inaugural NEJM Exchange debate, 2015

   Competition Policy Lecture, University of Toronto Rotman School, 2014

   Landsdowne Lecture, University of Victoria, Canada, 2013

   Conference on Healthcare Reform, Baker Institute, Rice University, 2013

   ChIPs Women in IP Summit, 2013
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   Refereed publications
   Review of Economic Studies, Quarterly Journal of Economics, The RAND Journal of Economics,
   The Journal of Industrial Economics, Journal of Economics & Management Strategy, Journal of
   Health Economics, Review of Industrial Organization, International Journal of Industrial
   Organization, American Economic Review, National Science Foundation, Journal of Law and
   Economics, Journal of Political Economy, Journal of Law, Economics, and Organization, Marketing
   Science, Management Science, Strategic Management Journal, Review of Economics and
   Statistics, Journal of Econometrics, Econometrica, European Economic Review, Berkeley Electronic
   Journals, The American Journal of Managed Care, Contemporary Economic Policy.


   Government testimony
   House Committee on the Judiciary, Subcommittee on Courts, Intellectual Property, and the Internet,
   Hearing on “International Trade Commission (ITC) Patent Litigation,” April 2016

   House Oversight and Government Reform Committee Hearing, “The Medicare Drug Benefit: Are
   Private Insurers Getting Good Discounts for the Taxpayer?,” July 2008

   Senate Finance Committee Hearing, “Prescription Drug Pricing and Negotiation: An Overview and
   Economic Perspectives for the Medicare Prescription Drug Benefit,” January 2007

   FTC hearings, “Possible Anticompetitive Efforts to Restrict Competition on the Internet,” Auto Panel,
   October 2002


   Major media
   New York Times “The Company Behind Many Surprise Emergency Room Bills” 24 July 2017
   Pro-Market blog, Stigler Center, University of Chicago “The Trump Tax” Dec 7, 2016
   New York Times op-ed “A Monopoly Donald Trump Can Pop” Dec 7, 2016
   New York Times “Senator calls for inquiry into surprise medical bills” Dec 3, 2016
   New York Times “Surprise! Insurance paid the ER but not the doctor” Nov 16, 2016 Upshot
   New York Times, “Discipline for Airlines, Pain for Fliers” June 12, 2015
   New York Times, “Seeking More Bookings, Airlines Limit Sites…” June 9, 2015
   The New Yorker, “Shut up and deal” James Surowiecki, April 21, 2014
   Planet Money, Episode 438: Mavericks, Monopolies and Beer: Feb 23, 2013

   Planet Money, Why Buying a Car Never Changes: Feb 19, 2013

   Various antitrust publications: 2011–2012

   Marginal Revolution blog, March 31, 2010

   The Wall Street Journal, January 7, 2010, A2

   The New York Times, April 24, 2003: G:8: col 3
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   Charles River Associates                                                                      Page 11



   BusinessWeek, May 13, 2002: 3782: p. 32

   CNN TV News, January 2002

   The New York Times, December 6, 2001: C:2: col 1

   The Wall Street Journal, January 6, 1999: B1

   “The Problems of Price Controls” Regulation: 24(1) 50-54. 2001

   “Why economics has been fruitful for strategy” Financial Times, Mastering Strategy Series, 26-31,
   1999.

   “Strategic complements and substitutes” Financial Times, Mastering Strategy Series, 57-64, 1999


   Testimony in Litigated Matters
   Retained on behalf of Apple, Inc., and deposed in In re: Qualcomm Litigation, Case No. 3:17-CV-
   00108-GPC-MDD (consolidated with Case No. 3:17-CV-01010-GPC-MDD) deposed October 26,
   2018.

   Retained on behalf of Apple Inc., submitted expert report, expert reply report and supplemental
   expert report, deposed and testified at trial In the Matter of Certain Mobile Electronic Devices and
   Radio Frequency and Processing Components Thereof (II), before the U.S. International Trade
   Commission (2018), 337-TA-1093. Deposed July 31, 2018. ITC hearing testimony September 21,
   2018.

   Retained on behalf of the US Federal Trade Commission, submitted expert reports, and deposed In
   the Matter of Otto Bock HealthCare North America, Inc., U.S. Federal Trade Commission, Docket.
   No. 9378. Deposed June 15, 2018. Testified August 29-30, 2018.
   Retained on behalf of ASUS Computer International and ASUStek Computer Incorporated,
   submitted expert reports and deposed in ASUS Computer International and ASUStek Computer Inc.
   v. Interdigital, Inc., Interdigital Communications, Inc., Interdigital Technology Corp., IPR Licensing,
   Inc., and Interdigital Patent Holdings, Inc., United States District Court, Northern District Of
   California, San Jose Division, Case No. 15-cv-1716 BLF. Deposed July 9, 2018.

   Retained on behalf of Apple Inc., submitted expert report and expert reply report, deposed and
   testified at trial In the Matter of Certain Mobile Electronic Devices and Radio Frequency and
   Processing Components Thereof, before the U.S. International Trade Commission (2018), 337-TA-
   1065. Deposed April 5, 2018. ITC hearing testimony June 25, 2018.

   Retained on behalf of Tesla, submitted expert report and expert reply report, and deposed in the
   matter of Tesla Motors, Inc. v. Ruth Johnson, in her official capacity of Secretary of State and Chief
   Motor Vehicle Administrator, Bill Shuette, in his official capacity as Attorney General, and Rick
   Snyder, in his official capacity as Governor. U.S. District Court, Western District of Michigan, Case
   No. 1:16-CV-01158-JTN-ESC (2017-2018). Deposed June 2018.
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   Retained on behalf of Honda Motor Co., Ltd., Honda North America, Inc., American Honda Motor
   Co., Inc., Honda of America Mfg., Inc., Honda Manufacturing of Alabama, LLC, and Honda R&D
   Americas, Inc., submitted expert report and direct witness statement, and deposed In the Matter of
   Certain Thermoplastic-Encapsulated Electric Motors, Components Thereof, and Products and
   Vehicles Containing Same II, International Trade Commission, Inv. No. 337-TA-1073 (2017-2018).

   Retained on behalf of Arista Networks Inc., submitted expert report and deposed in Arista Networks
   Inc. v. Cisco Systems Inc., U.S. District Court for the Northern District of California, Case No. 5:16-
   cv-00923 (2017-2018).

   Retained on behalf of Capital One Financial Corporation, submitted expert reports and declaration,
   and deposed in Intellectual Ventures I LLC, et al., v. Capital One Financial Corp., et al., v.
   Intellectual Ventures Management, LLC, Invention Investment Fund I, L.P., and Invention
   Investment Fund II, LLC, U.S. District Court for the District of Maryland, Southern District, Case No.
   8:14-CV-00111-PWG (2017).

   Retained on behalf of Microsoft Corporation, deposed in the matter of Microsoft Corporation et al v.
   Evolved Wireless LLC, U.S. District Court, District of Delaware, Case No. 1:15-cv-00547-UNA
   (2017).
   Retained on behalf of SK hynix, deposed and testified at trial In the Matter of Certain Memory Mod-
   ules and Components Thereof, and Products Containing Same, International Trade Commission,
   Inv. No. 337-TA-1023 (2017).
   Retained on behalf of Tesla, submitted expert report, and testified in Tesla Motors, Inc.’s application
   for New Motor Vehicle Dealer License before the Arizona Department of Transportation Executive
   Hearing Office (July 2016).
   Retained on behalf of Tesla, submitted expert reports, and testified in formal evidentiary hearing
   pursuant to VA. Code §§ 46.2-1572(4) and 46.2-1573, before the Department of Motor Vehicles for
   the Commonwealth of Virginia (June 2016).
   Retained on behalf of Tesla, submitted expert report, and testified in Tesla Motors, Inc.’s application
   for Motor Vehicle Dealer License before the North Carolina Wake County Division of Motor Vehi-
   cles, Hearing Section (May 2016).
   House Committee on the Judiciary, Subcommittee on Courts, Intellectual Property, and the Internet,
   Hearing on “International Trade Commission (ITC) Patent Litigation” (April 2016).
   Retained by Charter Communications, filed multiple statements with the FCC related to its proposed
   acquisition of Time Warner Cable and Bright House Networks (2015).
   Retained on behalf of Tesla, submitted witness declaration, and testified in Tesla Motors Utah, Inc.
   vs. Motor Vehicle Enforcement Division of the Utah State Tax Commission, in a matter before the
   Utah State Tax Commission (August 2015).
   Retained on behalf of Tesla and testified in Georgia Automobile Dealers Association vs. Tesla Mo-
   tors, Inc., in a matter before the Georgia Office of State Administrative Hearings (February 2015).
   Retained on behalf of Microsoft Corporation and submitted expert report in Surfcast, Inc. v. Mi-
   crosoft Corporation, U.S. District Court for the District of Maine, Case No. 2:12-CV-00333-JDL
   (June 2014).
   Retained on behalf of Amgen, submitted expert report, and deposed in United States of America et
   al. ex rel. Kassie Westmoreland v. Amgen Inc. et al., U.S. District Court of Massachusetts, Civil Ac-
   tion No. 06-10972-WGY (2011).
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   Retained on behalf of Johnson & Johnson and submitted expert report in Commonwealth of Penn-
   sylvania v. TAP Pharmaceutical Products, Inc., et al., Commonwealth Court of Pennsylvania, No.
   212 M.D. 2004 (2010).
   Retained on behalf of BMS, submitted expert report, and testified at trial in Commonwealth of Penn-
   sylvania v. TAP Pharmaceutical Products, Inc., et al., Commonwealth Court of Pennsylvania, No.
   212 M.D. 2004 (2010).
   Retained on behalf of Chrysler Group LLC, submitted expert report, and testified in selected
   arbitration hearings in re Arbitrations Pursuant to Section 747 of H.R. 3288 between Chrysler Group
   LLC (New Chrysler) and “Covered Dealerships,” American Arbitration Association (2010).

   Retained on behalf of Johnson & Johnson and deposed in State of Wisconsin v. Abbott
   Laboratories, Inc., et al., Circuit Court for Dane County, Wisconsin, 04 CV 1709 (2009).

   Retained on behalf of AstraZeneca and testified at trial in Commonwealth of Kentucky v. Alpharma
   USPD, Inc., et al., Franklin Circuit Court–Div. I, Kentucky, Civil Action No. 04-CI-1487 (2009).

   Retained on behalf of Sandoz and testified at trial in Commonwealth of Kentucky v. Alpharma
   USPD, Inc., et al., Franklin Circuit Court–Div. I, Kentucky, Civil Action No. 04-CI-1487 (2009).

   Retained on behalf of Boehringher Ingelheim, submitted expert report, and deposed in United
   States of America ex rel. Ven-A-Care of the Florida Keys et al. v. Boehrinhger Ingelheim Corp. et
   al., US District Court of Massachusetts, Civil Action No. 00-10698-MEL (2009).

   Retained on behalf of Sandoz, deposed, and testified at trial in State of Alabama v. Abbott
   Laboratories, Inc., et al., Circuit Court of Montgomery County, Alabama, CV-2005-219 (2009).
   Retained on behalf of Pfizer, deposed, and testified at trial in State of Wisconsin v. Abbott
   Laboratories, Inc., et al., Circuit Court for Dane County, Wisconsin, 04 CV 1709 (2009).

   Retained on behalf of Bristol-Myers Squibb and deposed in State of Alabama v. Abbott
   Laboratories, Inc., et al., Circuit Court of Montgomery County, Alabama, CV-2005-219 (2008).

   Retained on behalf of GlaxoSmithKline and Novartis, deposed, and testified at trial in State of
   Alabama v. Abbott Laboratories, Inc., et al., Circuit Court of Montgomery County, Alabama, CV-
   2005-219 (2008).
   Prepared and delivered educational materials for the Court and examined at hearing in
   Commonwealth of Massachusetts v. Mylan Laboratories, Inc., Ivax Corporation, Warrick
   Pharmaceutical Corporation, Watson Pharmaceuticals, Inc., Schein Pharmaceutical, Inc., Teva
   Pharmaceuticals USA, Inc., Par Pharmaceutical, Inc., Purepac Pharmaceutical Co., and Roxane
   Laboratories, Inc., US District Court of Massachusetts, Civil Action No. 03-11865-PBS (2008).

   Retained on behalf of defendants, submitted expert report, deposed, and testified at trial in
   Commonwealth of Massachusetts v. Mylan Laboratories, Inc., Ivax Corporation, Warrick
   Pharmaceutical Corporation, Watson Pharmaceuticals, Inc., Schein Pharmaceutical, Inc., Teva
   Pharmaceuticals USA, Inc., Par Pharmaceutical, Inc., Purepac Pharmaceutical Co., and Roxane
   Laboratories, Inc., US District Court of Massachusetts, Civil Action No. 03-11865-PBS (2008, 2010).

   Retained on behalf of AstraZeneca, deposed, and testified at trial in State of Alabama v. Abbott
   Laboratories, Inc., et al., Circuit Court of Montgomery County, Alabama, CV-2005-219 (2008).
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   Retained on behalf of MedStar Health and submitted expert report in In re Hypodermic Products
   Antitrust Litigation, MDL No. 1730, US District Court of the District of New Jersey, 05-CV-1602
   (2007).

   Retained on behalf of Schering-Plough, submitted expert report, and deposed in In re Schering-
   Plough Corporation Securities Litigation, US District Court of the District of New Jersey, 01-CV-
   0829 (2007).

   Retained on behalf of Pfizer, submitted expert report, and deposed in In re Neurontin Marketing
   Sales Practices, and Products Liability Litigation, US District Court of Massachusetts, MDL No MDL
   1629 (2007).

   Submitted expert report on behalf of fast-track defendants in In re Pharmaceutical Industry Average
   Wholesale Price Litigation, US District Court of Massachusetts, MDL No. 1456, 01-CV-012257-PBS
   (2006).

   Retained on behalf of Teva USA and submitted expert report in IP damages litigation Abbott
   Laboratories v. Andrx Pharmaceuticals Inc., and Teva Pharmaceuticals USA, Inc. and Roxane
   Laboratories Inc., US District Court for the Northern District of Illinois Eastern Division, No. 05 C
   1490 (2005).


   Other Submissions in Litigated Matters
   Prepared and delivered educational materials for the Court in In re Pharmaceutical Industry
   Average Wholesale Price Litigation, US District Court of Massachusetts, MDL No. 1456, 01-CV-
   012257-PBS (2004).
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                                       EXHIBIT 2

                        LIST OF MATERIALS CONSIDERED

 I.   Publications and Academic Articles

         1. A. Douglas Melamed, “Exclusive Dealing Agreements and Other Exclusionary
            Conduct—Are There Unifying Principles,” 73 Antitrust Law Journal 375 (2006)

         2. Alfred I. Neugut, Anita T. Ghatak, and Rachel L. Miller, “Anaphylaxis in the
            United States: An Investigation Into Its Epidemiology,” 161 Archives of Internal
            Medicine 15 (2001)

         3. “Anaphylaxis and Insect Stings and Bites,” 318 Journal of the American Medical
            Association 86 (2017)

         4. B. Douglas Bernheim and Randal Heeb, “Framework for the economic analysis of
            exclusionary conduct,” in R. D. Blair & D. D. Sokol (Eds.), The Oxford
            Handbook of International Antitrust Economics, Oxford: Oxford University Press
            (2014)

         5. Barry Nalebuff, “Exclusionary Bundling,” 50 Antitrust Bulletin 321 (2005)

         6. David B. Ridley, “Payments, Promotion and the Purple Pill,” 24 Health
            Economics 86 (2015)

         7. Ernst R. Berndt, Thomas G. McGuire, and Joseph P. Newhouse, “A Primer on the
            Economics of Prescription Pharmaceutical Pricing in Health Insurance Markets,”
            (National Bureau of Economic Research Working Paper No. 16879) (2011)

         8. F. Estelle R. Simons, MD, “Anaphylaxis, Killer Allergy: Long-term Management
            in the Community,” Journal Allergy and Clinical Immunology, 367 (2006)

         9. F. Estelle R. Simons, “Anaphylaxis: Recent Advances in Assessment and
            Treatment,” 124 Journal of Allergy and Clinical Immunology 625 (2009).

         10. Fiona M. Scott Morton, “Contracts that Reference Rivals,” in Antitrust
             Economics for Lawyers, 2017 Edition, (LexisNexis Antitrust Law & Strategy
             Series) (2017)

         11. Fiona M. Scott Morton, “Contracts that Reference Rivals,” 27 Antitrust 72 (2013)

         12. Fiona M. Scott Morton and Zachary Abrahamson, “A Unifying Analytical
             Framework for Loyalty Rebates,” 81 Antitrust Law Journal 777 (2017)

         13. Fiona Scott Morton and Margaret Kyle, “Markets for Pharmaceutical Products,”
             in Handbook of Health Economics, Volume 2, (Mark Pauly, Thomas McGuire,
             and Pedro Barros, eds., Elsevier Science Publishers) (2012).
Case 2:17-md-02785-DDC-TJJ Document 1692-44 Filed 06/28/19 Page 156 of 184




        14. Frank Limbrock, “Pecuniary and Non-Pecuniary Incentives in Prescription
            Pharmaceuticals: The Case of Statins,” 11 B.E. Journal of Economic Analysis &
            Policy (Advances) (2011)

        15. George A. Hay, “Market Power in Antitrust,” 60 Antitrust Law Journal 807
            (1991)

        16. Gregory J. Werden, “The 1982 Merger Guidelines and the Ascent of the
            Hypothetical Monopolist Paradigm,” 71 Antitrust Law Journal 253 (2003)

        17. Gregory J. Werden, “Identifying Exclusionary Conduct under Section 2: The ‘No
            Economic Sense’ Test,” 73 Antitrust Law Journal 413 (2006)

        18. Jean Tirole, The Theory of Industrial Organization, Cambridge, Mass: MIT Press
            (1988)

        19. Jonathan B. Baker, “Market Definition: An Analytical Overview,” 74 Antitrust
            Law Journal 129 (2007)

        20. Jonathan B. Baker, “Exclusion as a Core Competition Concern,” 78 Antitrust Law
            Journal 527 (2013)

        21. Jonathan B. Baker and Timothy F. Bresnahan, “Economic Evidence in Antitrust:
            Defining Markets and Measuring Market Power,” in Handbook of Antitrust
            Economics (Paolo Buccirossi ed., The MIT Press) (2008)

        22. Jonathan M. Jacobson and Daniel P. Weick, “Contracts That Reference Rivals as
            an Antitrust Category,” The Antitrust Source (2012)

        23. Joseph A. DiMasi and Henry G. Grabowski, “The Cost of Biopharmaceutical
            R&D: Is Biotech Different?” 28 Managerial and Decision Sciences 469 (2007).

        24. Joseph Farrell, Janis K. Pappalardo and Howard Shelanski, “Economics at the
            FTC: Mergers, Dominant-Firm Conduct, and Consumer Behavior,” 37 Review of
            Industrial Organization 263 (2010)

        25. Joshua A. Boyce, et al., “Guidelines for the Diagnosis and Management of Food
            Allergy in the United States: Report of the NIAID-Sponsored Expert Panel,” 126
            Journal of Allergy and Clinical Immunology S1 (2010).

        26. Joshua D. Wright, “Simple but Wrong or Complex but More Accurate? The Case
            for an Exclusive Dealing-Based Approach to Evaluating Loyalty Discounts,”
            Remarks at the Bates White 10th Annual Antitrust Conference (June 3, 2013),
            available at www.ftc.gov/sites/default/files/documents/ statements/-or-complex-
            more-accurate-case-exclusive-dealing-based-approach-evaluating-
            loyalty/130603bateswhite.pdf.




                                           2
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        27. Judith Hellerstein, “The Importance of the Physician in the Generic versus Trade-
            name Prescription Decision,” 29 RAND Journal of Economics 108 (1998)

        28. Larry S. Posner and Carlos A. Camargo, Jr, “Update on the Usage and Safety of
            Epinephrine Auto-Injectors, 2017,” 9 Drug, Healthcare and Patient Safety 9
            (2017)

        29. Marc-André Gagnon and Joel Lexchin, “The Cost of Pushing Pills: A New
            Estimate of Pharmaceutical Promotion Expenditures in the United States,” 5
            PLoS Medicine 29 (2008).

        30. Margaret Kyle, “Pharmaceutical Price Controls and Entry Strategies,” 89 Review
            of Economics and Statistics 88 (2007).

        31. Michael L. Katz, “Vertical Contractual Relations,” in Handbook of Industrial
            Organization, Volume I, (Richard Schmalensee and Robert D. Willig, eds.,
            Elsevier Science Publishers) (1989)

        32. Nicholas Economides, “Loyalty/Requirement Rebates and the Antitrust
            Modernization Commission: What is the Appropriate Liability Standard?,” 54
            Antitrust Bulletin 259 (2009)

        33. Patrick DeGraba, “Naked Exclusion by a Dominant Supplier: Exclusive
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II.   Depositions: (30(b)(1) & 30(b)(6))

         1. Deposition of Joseph Anderson (with Exhibits)

         2. Deposition of Michael Arcara (with Exhibits)

         3. Deposition of James Ayers (with Exhibits)

         4. Deposition of Patrick Barry (with Exhibits)

         5. Deposition of Jim Borneman (with Exhibits)

         6. Deposition of Carly Bowersock

         7. Deposition of Heather Bresch (with Exhibits)

         8. Deposition of Michael Brodeur (with Exhibits)

         9. Deposition of Douglas Brown (with Exhibits)


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        10. Deposition of Patrick Bryne (with Exhibits)

        11. Deposition of Shannon Clements

        12. Deposition of Robert Coury (with Exhibits)

        13. Deposition of Louanne Cunico (with Exhibits)

        14. Deposition of Joseph Denney (with Exhibits)

        15. Deposition of Bryan Downey (with Exhibits)

        16. Deposition of Robert Eaton (with Exhibits)

        17. Deposition of Lida Etemad (with Exhibits)

        18. Deposition of Jon Fairest (with Exhibits)

        19. Deposition of Bruce Foster (with Exhibits)

        20. Deposition of Roger Graham (with Exhibits)

        21. Deposition of Ron Graybill (with Exhibits)

        22. Deposition of Peter Guenter (with Exhibits)

        23. Deposition of Thomas Hadley (with Exhibits)

        24. Deposition of Jason Hall (with Exhibits)

        25. Deposition of Tom Handel (with Exhibits)

        26. Deposition of Lorine Harr (with Exhibits)

        27. Deposition of Phil Huang (with Exhibits)

        28. Deposition of Herve Hubert (with Exhibits)

        29. Deposition of Saira Jan (with Exhibits)

        30. Deposition of Patrick Jones (with Exhibits)

        31. Deposition of Harry Jordan (with Exhibits)

        32. Deposition of Adam Kautzner (with Exhibits)

        33. Deposition of Sherry Korczynski (with Exhibits)

        34. Deposition of Deborah Kronberg (with Exhibits)



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        35. Deposition of Sandy Loreaux (with Exhibits)

        36. Deposition of Jeff May (with Exhibits)

        37. Deposition of Barbara Minton (with Exhibits)

        38. Deposition of Jez Moulding (with Exhibits)

        39. Deposition of James Parker (with Exhibits)

        40. Deposition of Suzanne Paszkiewicz (with Exhibits)

        41. Deposition of Pranay Patel (with Exhibits)

        42. Deposition of Sylvain Rocheleau (with Exhibits)

        43. Deposition of Kent Rogers (with Exhibits)

        44. Deposition of Macy Shia (with Exhibits)

        45. Deposition of Carrie Siragusa (with Exhibits)

        46. Deposition of Bethanie Stein (with Exhibits)

        47. Deposition of April Sumner

        48. Deposition of Scott Sussman (with Exhibits)

        49. Deposition of Lisa Templeton (with Exhibits)

        50. Deposition of Harry Vargo (with Exhibits)

        51. Deposition of Christopher Viehbacher (with Exhibits)

        52. Deposition of Keith Wade (with Exhibits)

        53. Deposition of Donna Wemple

        54. Deposition of Anne Whitaker (with Exhibits)

        55. Deposition of Jeff White (with Exhibits)

        56. Deposition of Spencer Williamson (with Exhibits)

        57. Deposition of Nicole Willing (with Exhibits)

        58. Deposition of Justin Works (with Exhibits)

        59. Deposition of Jay York (with Exhibits)



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          60. Deposition of Patrick Zinn (with Exhibits)

III.   Interviews

          1. Call with Dr. Phillip Huang, 1/28/2019

          2. Call with Bryan Downey, 1/30/2019

IV.    Cases and Court Filings

          1. Complaint, 2:17-cv-2452 (4/24/2017)

          2. Answer, Affirmative Defenses, and Counterclaims of Mylan Inc. and Mylan
             Specialty, Inc., 17-md-2785-DDC-TJJ (1/16/2018)

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          5. King Pharmaceuticals, Inc. and Meridian Medical Technologies, Inc. v. Intelliject,
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          6. LePage’s Inc. v. 3M, 324 F.3d 141 (3d Cir. 2003)

          7. ZF Meritor, LLC v. Eaton Corp., 696 F.3d 254 (3d Cir. 2012)

          8. United States v. Grinnell Corp., 384 U.S. 563 (1966)

          9. Mylan Defendants’ Responses And Objections To All Plaintiffs’ First Set of
             Coordinated Requests For Admission, 17-md-2785-DDC-TJJ (1/4/2018)

          10. Mylan Defendants’ Second Amended Responses and Objections to Plaintiffs’
              First Set of Coordinated Requests For Admission, 17-md-2785-DDC-TJJ
              (4/30/2018)

          11. Mylan Defendants’ Responses And Objections To All Plaintiffs’ First Set of
              Coordinated Interrogatories, 17-md-2785-DDC-TJJ (1/4/2018)

          12. Mylan Defendants’ Responses And Objections To All Plaintiffs’ First Set of
              Coordinated Requests For Production of Documents, 17-md-2785-DDC-TJJ
              (1/4/2018)

          13. Mylan Defendants’ Second Amended Responses And Objections To Class
              Plaintiffs’ First Set of Interrogatories, 17-md-2785-DDC-TJJ (3/22/2018)




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        14. Mylan Defendants’ Second Amended Responses And Objections To Class
            Plaintiffs’ First Set of Requests For Production of Documents, 17-md-2785-DDC-
            TJJ (3/22/2018)

        15. Mylan Defendants’ Second Amended Responses And Objections To All
            Plaintiffs’ First Set of Coordinated Interrogatories, 17-md-2785-DDC-TJJ
            (3/22/2018)

        16. Mylan Defendants’ Second Amended Responses And Objections To Class
            Plaintiffs’ First Set of Requests For Production of Documents, 17-md-2785-DDC-
            TJJ (3/22/2018)

        17. Mylan Defendants’ Second Amended Responses And Objections To All
            Plaintiffs’ First Set of Coordinated Interrogatories, 17-md-2785-DDC-TJJ
            (3/22/2018)

        18. Exhibit 1 to Mylan Defendants’ Second Amended Responses And Objections To
            All Plaintiffs’ First Set of Coordinated Interrogatories, 17-md-2785-DDC-TJJ

        19. Exhibit 2 to Mylan Defendants’ Second Amended Responses And Objections To
            All Plaintiffs’ First Set of Coordinated Interrogatories, 17-md-2785-DDC-TJJ

        20. Exhibit 3 Mylan Defendants’ Second Amended Responses And Objections To All
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V.    Data

        1. IQVIA National Sales Perspectives Data

        2. IQVIA Xponent Plantrak

        3. MMIT Data

        4. Sanofi Bridge Files

        5. Mylan Transactional Data

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VI.   Other Documents

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       Aetna00000653                      Aetna00006112                    AG00000001

       Aetna00001223                      Aetna00006487                    AG00000800



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     AHCA0076775                DH0061145                  EPI_WELLCARE_00003126

     AHCA0078330                DH0063462                  EPI_WELLCARE_00003687

     AHCA0079462                DH0071872                  EPI_WELLCARE_00003776

     ANTH-EPI 00012             DH0079609                  EPI_WELLCARE_00003777

     ANTH-EPI 00048             DH0113035                  EPI_WELLCARE_00003840

     ANTH-EPI 00053             DH0123504                  EPI_WELLCARE_00003844

     ANTH-EPI 00716             DH0128009                  EPI_WELLCARE_00003845

     ARCARA_00020               DH0132623                  EPI_WELLCARE_00019700

     BIO-KS00249135             DH0132624                  EPI_WELLCARE_00020485

     BIO-KS00249141             DH0134776                  EPI_WELLCARE_00020758

     BIO-KS00350614             DH0138707                  EPI_WELLCARE_00020759

     BIO-KS00356099             DH0163711                  EPI_WELLCARE_00020820

     CIGNA_00467                DH0179622                  EPI_WELLCARE_00020891

     CIGNA_01461                DH0179624                  EPI_WELLCARE_00022209

     CIGNA_01462                EAI 00013370               EPI_WELLCARE_00022211

     CIGNA_01532                EAI 00013396               EPI_WELLCARE_00023602

     CVSCM_EPI_000000365        EAI 00023634               EPI_WELLCARE_00023603

     CVSCM_EPI_000010575        EAI 00033027               EPI_WELLCARE_00023690

     DENNJOS_10659_00010955     EAI 00033037               EPI_WELLCARE_00023692

     DH0003234                  EAI 00041402               EPI_WELLCARE_00023694

     DH0004192                  EAI 00041888               EPI_WELLCARE_00023703

     DH0034881                  EAI 00052716               EPI_WELLCARE_00023710

     DH0042842                  EAI 00078988               EPI_WELLCARE_00023724

     DH0043266                  EAI 00081482               EPI_WELLCARE_00023768

     DH0043654                  EAI 00081821               EPI_WELLCARE_00023770

     DH0044772                  EAI 00111263               EPI_WELLCARE_00023814

     DH0045511                  EAI 00165018               EPI_WELLCARE_00024171

     DH0045512                  EAI 00168889               EPI_WELLCARE_00024219

     DH0045819                  EAI 00168892               EPI_WELLCARE_00024972

     DH0050165                  EAI 00188649               EPI_WELLCARE_00025056

     DH0051496                  EAI 00190751               EPI_WELLCARE_00025138

     DH0051655                  EAI 00212627               EPI_WELLCARE_00025186

     DH0056085                  EPI_WELLCARE_00000537      EPI_WELLCARE_00025189

     DH0058163                  EPI_WELLCARE_00001533      EPI_WELLCARE_00026038

     DH0059508                  EPI_WELLCARE_00002226      EPI_WELLCARE_00026039




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     EPI_WELLCARE_00026071      ES_0000162                 ES_0001032

     EPI_WELLCARE_00027105      ES_0000163                 ES_0001041

     EPI_WELLCARE_00027106      ES_0000164                 ES_0001111

     EPI_WELLCARE_00028173      ES_0000165                 ES_0001182

     EPI-TX-0000091             ES_0000166                 ES_0001308

     ES_00000001                ES_0000167                 ES_0001737

     ES_00000003                ES_0000168                 ES_0003189

     ES_00000005                ES_0000169                 ES_0003514

     ES_00000007                ES_0000170                 ES_0003630

     ES_00000009                ES_0000171                 ES_0003785

     ES_0000053                 ES_0000172                 ES_0004549

     ES_0000068                 ES_0000173                 ES_0004550

     ES_0000073                 ES_0000174                 ES_0004551

     ES_0000097                 ES_0000175                 ES_0005044

     ES_0000107                 ES_0000176                 ES_0005045

     ES_0000114                 ES_0000177                 ES_0005046

     ES_0000117                 ES_0000178                 ES_0006558

     ES_0000124                 ES_0000179                 ES_0007097

     ES_0000128                 ES_0000180                 ES_0007154

     ES_0000131                 ES_0000181                 ES_0007228

     ES_0000137                 ES_0000182                 ES_0007904

     ES_0000138                 ES_0000183                 ES_0008785

     ES_0000139                 ES_0000184                 ES_0009511

     ES_0000140                 ES_0000185                 ES_0010103

     ES_0000141                 ES_0000186                 ES_0010269

     ES_0000142                 ES_0000201                 ES_0010292

     ES_0000143                 ES_0000793                 ES_0010293

     ES_0000144                 ES_0000796                 ES_0010294

     ES_0000145                 ES_0000797                 ES_0010414

     ES_0000146                 ES_0000900                 FLSTATE00000001

     ES_0000147                 ES_0000901                 Horizon00000157

     ES_0000148                 ES_0000902                 Horizon00005339

     ES_0000149                 ES_0001011                 Horizon00009478

     ES_0000160                 ES_0001030                 Horizon00010707

     ES_0000161                 ES_0001031                 Horizon00013404




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     Horizon00013407            MedImpact_0002569          MedImpact_00290

     Horizon00013566            MedImpact_0002664          MedImpact_00296

     Horizon00013567            MedImpact_0003078          MedImpact_00303

     HUM001702                  MedImpact_0003087          MedImpact_0051486

     HUM004251                  MedImpact_00037            MedImpact_0051487

     HUM004280                  MedImpact_0003929          MedImpact_0051490

     HUM004351                  MedImpact_0004031          MedImpact_0051491

     HUM006208                  MedImpact_0004033          MedImpact_0051492

     Humana004351               MedImpact_0004035          MedImpact_0051493

     MAG000003297               MedImpact_0004040          MedImpact_0051494

     MAG000003299               MedImpact_00044            MedImpact_0051496

     MAG000003310               MedImpact_0005291          MedImpact_0051517

     MAG000003330               MedImpact_0007128          MedImpact_0052231

     MAG000003345               MedImpact_00077            MedImpact_0052233

     MAG000003355               MedImpact_0007791          MedImpact_0052577

     MAG000003387               MedImpact_0007809          MedImpact_0052577

     MAG000003416               MedImpact_0008050          MedImpact_0052579

     MAG000003418               MedImpact_0008173          MedImpact_0053285

     MAG000004203               MedImpact_0008228          MedImpact_0053294

     MAG000004220               MedImpact_00084            MedImpact_0073068

     MAG000004375               MedImpact_00096            MedImpact_0073071

     MAG000004376               MedImpact_00118            MedImpact_0086054

     MAG000004859               MedImpact_00121            MedImpact_0096553

     MAG000004890               MedImpact_00126            MedImpact_01061

     MAG000025119               MedImpact_00133            MedImpact_01079

     MAG000025192               MedImpact_00164            MedImpact_01087

     MAG000025200               MedImpact_00170            MedImpact_01108

     MAG000025278               MedImpact_0018067          MedImpact_01109

     MAG000041604               MedImpact_0018068          MedImpact_01154

     MAG000041619               MedImpact_00188            MedImpact_01182

     MAG000041635               MedImpact_00194            MedImpact_01202

     MAG000041651               MedImpact_00225            MedImpact_01204

     MDHM 000216                MedImpact_00230            MedImpact_01280

     MedImpact_00003            MedImpact_00242            MedImpact_01313

     MedImpact_0002525          MedImpact_00269            MedImpact_01325




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     MedImpact_01370            MYEP00000786               MYEP00001143

     MYEP00000310               MYEP00000798               MYEP00001172

     MYEP00000460               MYEP00000803               MYEP00001175

     MYEP00000471               MYEP00000808               MYEP00002244

     MYEP00000501               MYEP00000815               MYEP00009883

     MYEP00000524               MYEP00000823               MYEP00062009

     MYEP00000530               MYEP00000831               MYEP00069005

     MYEP00000538               MYEP00000832               MYEP00069046

     MYEP00000560               MYEP00000840               MYEP00069234

     MYEP00000564               MYEP00000848               MYEP00070006

     MYEP00000569               MYEP00000854               MYEP00070544

     MYEP00000587               MYEP00000860               MYEP00072539

     MYEP00000589               MYEP00000863               MYEP00072668

     MYEP00000597               MYEP00000879               MYEP00074543

     MYEP00000607               MYEP00000881               MYEP00075609

     MYEP00000608               MYEP00000886               MYEP00076967

     MYEP00000610               MYEP00000900               MYEP00077236

     MYEP00000614               MYEP00000909               MYEP00077517

     MYEP00000615               MYEP00000926               MYEP00078895

     MYEP00000617               MYEP00000930               MYEP00080824

     MYEP00000619               MYEP00000934               MYEP00080825

     MYEP00000622               MYEP00000935               MYEP00081290

     MYEP00000626               MYEP00000950               MYEP00081468

     MYEP00000638               MYEP00000957               MYEP00081718

     MYEP00000643               MYEP00000978               MYEP00081870

     MYEP00000654               MYEP00000996               MYEP00082062

     MYEP00000661               MYEP00001010               MYEP00082087

     MYEP00000684               MYEP00001052               MYEP00082595

     MYEP00000713               MYEP00001063               MYEP00082614

     MYEP00000721               MYEP00001084               MYEP00082769

     MYEP00000733               MYEP00001093               MYEP00082878

     MYEP00000736               MYEP00001101               MYEP00083087

     MYEP00000745               MYEP00001107               MYEP00083362

     MYEP00000761               MYEP00001115               MYEP00083385

     MYEP00000777               MYEP00001125               MYEP00084697




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     MYEP00084727               MYEP00118416               MYEP00214363

     MYEP00085784               MYEP00118416               MYEP00219125

     MYEP00086231               MYEP00119241               MYEP00219824

     MYEP00086239               MYEP00119242               MYEP00219825

     MYEP00086241               MYEP00131333               MYEP00219828

     MYEP00086244               MYEP00138915               MYEP00221968

     MYEP00086249               MYEP00140812               MYEP00230296

     MYEP00086253               MYEP00142246               MYEP00232140

     MYEP00086274               MYEP00148833               MYEP00232912

     MYEP00086279               MYEP00152753               MYEP00238940

     MYEP00086281               MYEP00156316               MYEP00239355

     MYEP00086346               MYEP00162485               MYEP00240463

     MYEP00086552               MYEP00164337               MYEP00240464

     MYEP00086663               MYEP00166109               MYEP00240597

     MYEP00086682               MYEP00167182               MYEP0024409

     MYEP00087247               MYEP00179225               MYEP00244178

     MYEP00087486               MYEP00179226               MYEP00244409

     MYEP00087537               MYEP00179228               MYEP00244410

     MYEP00087845               MYEP00179229               MYEP00245085

     MYEP00088189               MYEP00179233               MYEP00249596

     MYEP00088195               MYEP00179234               MYEP00251958

     MYEP00088229               MYEP00181560               MYEP00252271

     MYEP00093048               MYEP00181571               MYEP00252719

     MYEP00093725               MYEP00187104               MYEP00253140

     MYEP00093726               MYEP00193044               MYEP00253551

     MYEP00093856               MYEP00193064               MYEP00253553

     MYEP00093939               MYEP00194704               MYEP00253554

     MYEP00095226               MYEP00194705               MYEP00254218

     MYEP00099883               MYEP00194707               MYEP00254516

     MYEP00100131               MYEP00195932               MYEP00255011

     MYEP00100132               MYEP00211014               MYEP00255523

     MYEP00100155               MYEP00213251               MYEP00255632

     MYEP00100156               MYEP00213255               MYEP00255842

     MYEP00102412               MYEP00213368               MYEP00256126

     MYEP00114633               MYEP00214360               MYEP00256560




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     MYEP00256575               MYEP00275501               MYEP00350217

     MYEP00256946               MYEP00275852               MYEP00359953

     MYEP00257151               MYEP00277786               MYEP00359962

     MYEP00257619               MYEP00277843               MYEP00359963

     MYEP00259074               MYEP00278898               MYEP00360252

     MYEP00262009               MYEP00282496               MYEP00362445

     MYEP00262566               MYEP00290263               MYEP00362912

     MYEP00262836               MYEP00291022               MYEP00367121

     MYEP00263012               MYEP00291027               MYEP00367123

     MYEP00263202               MYEP00304630               MYEP00367124

     MYEP00263203               MYEP00304665               MYEP00373869

     MYEP00264661               MYEP00304687               MYEP00375569

     MYEP00264796               MYEP00304697               MYEP00375573

     MYEP00264797               MYEP00304792               MYEP00377967

     MYEP00266841               MYEP00305194               MYEP00380899

     MYEP00266842               MYEP00305229               MYEP00380901

     MYEP00269481               MYEP00305287               MYEP00392152

     MYEP00269584               MYEP00305511               MYEP00402298

     MYEP00269619               MYEP00305714               MYEP00411336

     MYEP00269674               MYEP00311114               MYEP00412405

     MYEP00269725               MYEP00318523               MYEP00435396

     MYEP00270253               MYEP00319112               MYEP00444119

     MYEP00270320               MYEP00319114               MYEP00450125

     MYEP00270382               MYEP00319118               MYEP00450839

     MYEP00270989               MYEP00319120               MYEP00451143

     MYEP00271151               MYEP00319124               MYEP00452610

     MYEP00271392               MYEP00323333               MYEP00454423

     MYEP00271602               MYEP00323916               MYEP00454425

     MYEP00271605               MYEP00323918               MYEP00459230

     MYEP00271963               MYEP00323919               MYEP00459611

     MYEP00272091               MYEP00332420               MYEP00463728

     MYEP00272133               MYEP00332421               MYEP00464046

     MYEP00272327               MYEP00332615               MYEP00464048

     MYEP00272447               MYEP00335224               MYEP00464049

     MYEP00272773               MYEP00346694               MYEP00464050




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     MYEP00464051               MYEP00492577               MYEP00510041

     MYEP00464052               MYEP00492579               MYEP00512001

     MYEP00464351               MYEP00492647               MYEP00514288

     MYEP00464746               MYEP00492933               MYEP00514631

     MYEP00465506               MYEP00493543               MYEP00516034

     MYEP00470294               MYEP00494011               MYEP00518501

     MYEP00470314               MYEP00494092               MYEP00518706

     MYEP00474075               MYEP00495121               MYEP00520927

     MYEP00481178               MYEP00495211               MYEP00520928

     MYEP00482235               MYEP00495644               MYEP00521573

     MYEP00483117               MYEP00496155               MYEP00521574

     MYEP00483989               MYEP00496156               MYEP00524463

     MYEP00484069               MYEP00496306               MYEP00524748

     MYEP00484108               MYEP00496308               MYEP00524755

     MYEP00484371               MYEP00497152               MYEP00524757

     MYEP00484374               MYEP00497350               MYEP00526897

     MYEP00484439               MYEP00497353               MYEP00527235

     MYEP00485119               MYEP00497355               MYEP00527586

     MYEP00485436               MYEP00498944               MYEP00527618

     MYEP00487179               MYEP00498945               MYEP00527619

     MYEP00487195               MYEP00498946               MYEP00528339

     MYEP00487733               MYEP00500612               MYEP00530641

     MYEP00488727               MYEP00502424               MYEP00531043

     MYEP00490080               MYEP00502425               MYEP00531069

     MYEP00490084               MYEP00505630               MYEP00531390

     MYEP00490398               MYEP00505632               MYEP00531457

     MYEP00490399               MYEP00505633               MYEP00531461

     MYEP00490801               MYEP00505634               MYEP00537813

     MYEP00491256               MYEP00506708               MYEP00538211

     MYEP00491274               MYEP00506721               MYEP00542223

     MYEP00491445               MYEP00506724               MYEP00542398

     MYEP00491729               MYEP00506846               MYEP00546242

     MYEP00491860               MYEP00506848               MYEP00548252

     MYEP00491883               MYEP00507063               MYEP00551696

     MYEP00491914               MYEP00507064               MYEP00552684




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     MYEP00552687               MYEP00619261               MYEP00672498

     MYEP00552688               MYEP00620009               MYEP00679529

     MYEP00589964               MYEP00620182               MYEP00679530

     MYEP00590566               MYEP00620393               MYEP00686782

     MYEP00593230               MYEP00620574               MYEP00686907

     MYEP00593648               MYEP00620576               MYEP00687914

     MYEP00593658               MYEP00620596               MYEP00695134

     MYEP00595578               MYEP00623587               MYEP00703463

     MYEP00598471               MYEP00623607               MYEP00705783

     MYEP00598528               MYEP00624286               MYEP00705815

     MYEP00602163               MYEP00624305               MYEP00706114

     MYEP00602480               MYEP00624314               MYEP00707277

     MYEP00603166               MYEP00629079               MYEP00707350

     MYEP00603647               MYEP00632206               MYEP00715127

     MYEP00603858               MYEP00632209               MYEP00716128

     MYEP00604253               MYEP00632266               MYEP00718184

     MYEP00604317               MYEP00632267               MYEP00718192

     MYEP00604738               MYEP00634346               MYEP00718428

     MYEP00604924               MYEP00634404               MYEP00718928

     MYEP00606497               MYEP00634406               MYEP00718929

     MYEP00607117               MYEP00634978               MYEP00719312

     MYEP00610781               MYEP00635356               MYEP00720241

     MYEP00611195               MYEP00635370               MYEP00720503

     MYEP00611547               MYEP00642486               MYEP00721012

     MYEP00611586               MYEP00645799               MYEP00722433

     MYEP00611946               MYEP00645800               MYEP00722465

     MYEP00612567               MYEP00648545               MYEP00723355

     MYEP00613820               MYEP00648746               MYEP00723398

     MYEP00616383               MYEP00649933               MYEP00723628

     MYEP00616447               MYEP00650326               MYEP00723720

     MYEP00617150               MYEP00650327               MYEP00723729

     MYEP00619088               MYEP00661478               MYEP00723817

     MYEP00619089               MYEP00661480               MYEP00723818

     MYEP00619091               MYEP00667337               MYEP00725415

     MYEP00619093               MYEP00672221               MYEP00726921




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     MYEP00734988               MYEP00888770               MYEP01122935

     MYEP00740408               MYEP00889331               MYEP01122970

     MYEP00742372               MYEP00889398               MYEP01123062

     MYEP00744315               MYEP00889859               MYEP01123084

     MYEP00744357               MYEP00890293               MYEP01123110

     MYEP00752986               MYEP00891072               MYEP01123112

     MYEP00754241               MYEP00891130               MYEP01123115

     MYEP00754467               MYEP00891350               MYEP01123120

     MYEP00756177               MYEP00892458               MYEP01123121

     MYEP00756222               MYEP00892874               MYEP01123123

     MYEP00756744               MYEP00892918               MYEP01123124

     MYEP00770367               MYEP00893148               MYEP01123129

     MYEP00771803               MYEP00893652               MYEP01123343

     MYEP00800183               MYEP00894924               MYEP01123345

     MYEP00805131               MYEP0090087                MYEP01123347

     MYEP00806721               MYEP00909763               MYEP01123609

     MYEP00808541               MYEP01032076               MYEP01123611

     MYEP00814368               MYEP01032657               MYEP01123615

     MYEP00814369               MYEP01033504               MYEP01123617

     MYEP00817895               MYEP01033592               MYEP01123654

     MYEP00819591               MYEP01036547               MYEP01123665

     MYEP00819656               MYEP01036548               MYEP01123666

     MYEP00821042               MYEP01038419               MYEP01123762

     MYEP00823293               MYEP01040995               MYEP01123774

     MYEP00823670               MYEP01041784               MYEP01131507

     MYEP00823925               MYEP01041788               MYEP01134753

     MYEP00824750               MYEP01046464               MYEP01134757

     MYEP00825394               MYEP01050280               MYEP01136177

     MYEP00835717               MYEP01050302               MYEP01136203

     MYEP00855746               MYEP01068002               MYEP01136800

     MYEP00087486               MYEP01099685               MYEP01136803

     MYEP00882371               MYEP01101884               MYEP01136804

     MYEP00887472               MYEP01101885               MYEP01136807

     MYEP00888019               MYEP01101887               MYEP01137113

     MYEP00888409               MYEP01122061               MYEP01137188




                                     25
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     MYEP01142063               MYEP01207987               MYEP01344678

     MYEP01142066               MYEP01207989               MYEP01357951

     MYEP01143632               MYEP01208377               MYEP01361499

     MYEP01143633               MYEP01209503               MYEP01361844

     MYEP01143723               MYEP01209505               MYEP01361846

     MYEP01143725               MYEP01228274               MYEP01362490

     MYEP01143739               MYEP01228277               MYEP01362491

     MYEP01143740               MYEP01228518               MYEP01362492

     MYEP01150974               MYEP01228536               MYEP01362570

     MYEP01165600               MYEP01228538               MYEP01362752

     MYEP01165601               MYEP01229349               MYEP030

     MYEP01167133               MYEP01229784               MYEP030A

     MYEP01167134               MYEP01229799               MYEP1228538

     MYEP01167591               MYEP01235305               PFE_EPI PEN_AT00546952

     MYEP01190206               MYEP01239068               PFE_EPIPEN_00011059

     MYEP01193655               MYEP01241630               PFE_EPIPEN_AT00007925

     MYEP01198247               MYEP01241632               PFE_EPIPEN_AT00011059

     MYEP01202288               MYEP01243683               PFE_EPIPEN_AT00011449

     MYEP01202289               MYEP01246195               PFE_EPIPEN_AT00011457

     MYEP01202293               MYEP01247580               PFE_EPIPEN_AT00011505

     MYEP01202296               MYEP01250453               PFE_EPIPEN_AT00011577

     MYEP01202298               MYEP01265317               PFE_EPIPEN_AT00114553

     MYEP01202325               MYEP01278441               PFE_EPIPEN_AT00540538

     MYEP01202327               MYEP01278443               PFE_EPIPEN_AT00540545

     MYEP01202330               MYEP01311275               PFE_EPIPEN_AT00540546

     MYEP01202331               MYEP01311279               PFE_EPIPEN_AT00540547

     MYEP01202334               MYEP01325857               PFE_EPIPEN_AT00546952

     MYEP01202338               MYEP01327704               PFE_EPIPEN_AT00611245

     MYEP01202343               MYEP01328315               PFE_EPIPEN_AT00648955

     MYEP01202345               MYEP01335482               PFE_EPIPEN_AT00686219

     MYEP01202346               MYEP01336372               PFE_EPIPEN_AT00788970

     MYEP01202348               MYEP01337504               PFE_EPIPEN_AT00788971

     MYEP01202350               MYEP01337540               PFE_EPIPEN_AT00788976

     MYEP01202351               MYEP01337598               PFECAN_EPIPEN_AT00000001

     MYEP01206017               MYEP01337634               PFECAN_EPIPEN_AT00000002




                                     26
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     PFECAN_EPIPEN_AT0000       PHP 0002406                SAN-EPI_A-0059398

     0168                       PHP 0002422                SAN-EPI_A-0059425

     PFECAN_EPIPEN_AT0000       PHP 0002423                SAN-EPI_A-0061178

     0489                       PHP 0002428                SAN-EPI_A-0064272

     PHP 0000557                PHP 0002436                SAN-EPI_A-0090274

     PHP 0000705                PHP 0002437                SAN-EPI_A-0096396

     PHP 0000881                PHP 0002458                SAN-EPI_A-0100025

     PHP 0001012                PHP 0002550                SAN-EPI_A-0124006

     PHP 0001013                PRIME_0008366              SAN-EPI_A-0196676

     PHP 0001014                PS0077861                  SAN-EPI_A-0206851

     PHP 0001018                PS0077863                  SAN-EPI_A-0206853

     PHP 0001063                PS0102961                  SAN-EPI_A-0245862

     PHP 0001064                PS0108647                  SAN-EPI-0000145

     PHP 0001065                PS0108650                  SAN-EPI-0000691

     PHP 0001105                PS0108654                  SAN-EPI-0000796

     PHP 0001117                PS0155563                  SAN-EPI-0001046

     PHP 0001143                PS0236464                  SAN-EPI-0002384

     PHP 0001157                SAN-EPI_A-0000560          SAN-EPI-0002512

     PHP 0001219                SAN-EPI_A-0010328          SAN-EPI-0002613

     PHP 0001220                SAN-EPI_A-0010882          SAN-EPI-0002670

     PHP 0001221                SAN-EPI_A-0029197          SAN-EPI-0003187

     PHP 0001223                SAN-EPI_A-0033902          SAN-EPI-0003427

     PHP 0001229                SAN-EPI_A-0034282          SAN-EPI-0005309

     PHP 0001237                SAN-EPI_A-0035816          SAN-EPI-0005314

     PHP 0001249                SAN-EPI_A-0035889          SAN-EPI-0005660

     PHP 0001498                SAN-EPI_A-0036222          SAN-EPI-0013253

     PHP 0001668                SAN-EPI_A-0036261          SAN-EPI-0013610

     PHP 0001720                SAN-EPI_A-0040426          SAN-EPI-0014220

     PHP 0001724                SAN-EPI_A-0040967          SAN-EPI-0014223

     PHP 0001730                SAN-EPI_A-0041389          SAN-EPI-0014326

     PHP 0001763                SAN-EPI_A-0048592          SAN-EPI-0027970

     PHP 0001886                SAN-EPI_A-0049690          SAN-EPI-0031115

     PHP 0001964                SAN-EPI_A-0049691          SAN-EPI-0031477

     PHP 0002104                SAN-EPI_A-0051496          SAN-EPI-0032523

     PHP 0002365                SAN-EPI_A-0056919          SAN-EPI-0032712




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     SAN-EPI-0040567            SAN-EPI-0123680            SAN-EPI-0248891

     SAN-EPI-0042319            SAN-EPI-0124482            SAN-EPI-0249779

     SAN-EPI-0052798            SAN-EPI-0124487            SAN-EPI-0255535

     SAN-EPI-0054512            SAN-EPI-0124713            SAN-EPI-0259191

     SAN-EPI-0055543            SAN-EPI-0126081            SAN-EPI-0260490

     SAN-EPI-0057236            SAN-EPI-0127127            SAN-EPI-0261903

     SAN-EPI-0057353            SAN-EPI-0129408            SAN-EPI-0263655

     SAN-EPI-0059267            SAN-EPI-0129684            SAN-EPI-0266011

     SAN-EPI-0059347            SAN-EPI-0129890            SAN-EPI-0266176

     SAN-EPI-0059519            SAN-EPI-0130132            SAN-EPI-0267938

     SAN-EPI-0062137            SAN-EPI-0130212            SAN-EPI-0269194

     SAN-EPI-0068289            SAN-EPI-0130689            SAN-EPI-0269253

     SAN-EPI-0068297            SAN-EPI-0130702            SAN-EPI-0289592

     SAN-EPI-0068391            SAN-EPI-0131207            SAN-EPI-0305905

     SAN-EPI-0069855            SAN-EPI-0131467            SAN-EPI-0326334

     SAN-EPI-0070736            SAN-EPI-0131652            SAN-EPI-0326335

     SAN-EPI-0070867            SAN-EPI-0131775            SAN-EPI-0341833

     SAN-EPI-0071138            SAN-EPI-0132111            SAN-EPI-0358959

     SAN-EPI-0072586            SAN-EPI-0133737            SAN-EPI-0358961

     SAN-EPI-0072606            SAN-EPI-0136770            SAN-EPI-0359076

     SAN-EPI-0072996            SAN-EPI-0140476            SAN-EPI-0360806

     SAN-EPI-0072997            SAN-EPI-0143504            SAN-EPI-0360807

     SAN-EPI-0075694            SAN-EPI-0144689            SAN-EPI-0361664

     SAN-EPI-0075949            SAN-EPI-0144945            SAN-EPI-0361815

     SAN-EPI-0076342            SAN-EPI-0146099            SAN-EPI-0361841

     SAN-EPI-0076349            SAN-EPI-0147056            SAN-EPI-0361947

     SAN-EPI-0076694            SAN-EPI-0171591            SAN-EPI-0363626

     SAN-EPI-0077152            SAN-EPI-0172294            SAN-EPI-0363658

     SAN-EPI-0077733            SAN-EPI-0189814            SAN-EPI-0363715

     SAN-EPI-0077942            SAN-EPI-0189816            SAN-EPI-0365300

     SAN-EPI-0109515            SAN-EPI-0201304            SAN-EPI-0365696

     SAN-EPI-0110052            SAN-EPI-0206530            SAN-EPI-0365699

     SAN-EPI-0119672            SAN-EPI-0213852            SAN-EPI-0365702

     SAN-EPI-0120693            SAN-EPI-0216183            SAN-EPI-0365705

     SAN-EPI-0122919            SAN-EPI-0222108            SAN-EPI-0365804




                                     28
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     SAN-EPI-0366176            SAN-EPI-0418783            SAN-EPI-0661280

     SAN-EPI-0366220            SAN-EPI-0419514            SAN-EPI-0661281

     SAN-EPI-0366235            SAN-EPI-0422838            SAN-EPI-0661940

     SAN-EPI-0366262            SAN-EPI-0431568            SAN-EPI-0686767

     SAN-EPI-0366448            SAN-EPI-0432714            SAN-EPI-0705846

     SAN-EPI-0366997            SAN-EPI-0442836            SAN-EPI-0723055

     SAN-EPI-0367037            SAN-EPI-0444395            SAN-EPI-0744572

     SAN-EPI-0373242            SAN-EPI-0444925            SAN-EPI-0744574

     SAN-EPI-0373283            SAN-EPI-0445960            SAN-EPI-0748471

     SAN-EPI-0373294            SAN-EPI-0446009            SAN-EPI-0748965

     SAN-EPI-0373362            SAN-EPI-0447445            SAN-EPI-0763936

     SAN-EPI-0373675            SAN-EPI-0452157            SAN-EPI-0764473

     SAN-EPI-0376550            SAN-EPI-0456576            SAN-EPI-0764474

     SAN-EPI-0377374            SAN-EPI-0481588            SAN-EPI-0764678

     SAN-EPI-0377375            SAN-EPI-0488139            SAN-EPI-0764689

     SAN-EPI-0377887            SAN-EPI-0493326            SAN-EPI-0764703

     SAN-EPI-0399852            SAN-EPI-0493327            SAN-EPI-0764776

     SAN-EPI-0402979            SAN-EPI-0493376            SAN-EPI-0764964

     SAN-EPI-0408542            SAN-EPI-0493377            SAN-EPI-0765087

     SAN-EPI-0408650            SAN-EPI-0494930            SAN-EPI-0765109

     SAN-EPI-0410032            SAN-EPI-0494932            SAN-EPI-0765117

     SAN-EPI-0410059            SAN-EPI-0498708            SAN-EPI-0765308

     SAN-EPI-0410072            SAN-EPI-0502478            SAN-EPI-0766016

     SAN-EPI-0410387            SAN-EPI-0502480            SAN-EPI-0766251

     SAN-EPI-0412201            SAN-EPI-0505657            SAN-EPI-0767261

     SAN-EPI-0413111            SAN-EPI-0525843            SAN-EPI-0767278

     SAN-EPI-0413153            SAN-EPI-0544993            SAN-EPI-0770810

     SAN-EPI-0413166            SAN-EPI-0545325            SAN-EPI-0770855

     SAN-EPI-0415806            SAN-EPI-0545367            SAN-EPI-0770857

     SAN-EPI-0416002            SAN-EPI-0545883            SAN-EPI-0770923

     SAN-EPI-0416012            SAN-EPI-0545891            SAN-EPI-0770933

     SAN-EPI-0416027            SAN-EPI-0547907            SAN-EPI-0771005

     SAN-EPI-0416102            SAN-EPI-0549289            SAN-EPI-0771041

     SAN-EPI-0416168            SAN-EPI-0596594            SAN-EPI-0771098

     SAN-EPI-0416308            SAN-EPI-0661265            SAN-EPI-0818066




                                     29
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     SAN-EPI-0819967            SAN-EPI-1093989            SAN-EPI-1166768

     SAN-EPI-0819968            SAN-EPI-1093991            SAN-EPI-1166769

     SAN-EPI-0849163            SAN-EPI-1093992            SAN-EPI-1166771

     SAN-EPI-0889161            SAN-EPI-1099426            SAN-EPI-1234024

     SAN-EPI-0936634            SAN-EPI-1099572            SAN-EPI-1234026

     SAN-EPI-0936636            SAN-EPI-1109909            SANOFI0_10659_00001111

     SAN-EPI-0936641            SAN-EPI-1166400            Teva_Epi_000001

     SAN-EPI-0936644            SAN-EPI-1166401            Teva_Epi_000092

     SAN-EPI-0954135            SAN-EPI-1166402            Teva-Epi_002003

     SAN-EPI-1091319            SAN-EPI-1166767            TXSTATE_00000065




                                     30
